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               IN THE UNITED STATES BANKRUPTCY
               COURT FOR THE NORTHERN DISTRICT
                   OF TEXAS DALLAS DIVISION


                                              §
   In re:                                     §          Chapter 11
                                              §
   ZIPS CAR WASH, LLC, et al.                 §          Case No. 25-80069-11 (MVL)
                                              §
   Debtors                                    §
                                              §



                   SCHEDULES OF ASSETS AND LIABILITIES FOR
                              Zips Car Wash, LLC
                                CASE NO. 25-80069-11 (MVL)




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Proposed Co-Counsel for the Debtors and Debtors in               Proposed Co-Counsel for the Debtors and Debtors in
Possession                                                       Possession

                                 IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE NORTHERN DISTRICT OF TEXAS
                                             DALLAS DIVISION

                                                                         )
          In re:                                                         )     Chapter 11
                                                                         )
          ZIPS CAR WASH, LLC, et al.,1                                   )     Case No. 25-80069 (MVL)
                                                                         )
                                   Debtors.                              )     (Jointly Administered)
                                                                         )




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            The Debtors in these chapter 11 cases, along with the last four digits of the Debtors’ federal tax identification
            numbers, are Zips Car Wash, LLC (3045); Express Car Wash Holdings, LLC (6223); Zips 2900 Wade Hampton,
            LLC (N/A); Zips 3107 N. Pleasantburg, LLC (N/A); Zips 6050 Wade Hampton, LLC (N/A); Zips Operating
            Holdings, LLC (2161); Zips Portfolio I, LLC (9999); Zips Portfolio II, LLC (1864); Zips Portfolio III, LLC (N/A)
            and Zips Portfolio IV, LLC (N/A). The location of Debtors’ principal place of business and the Debtors’ service
            address in these chapter 11 cases is 8400 Belleview Drive, Suite 210, Plano, Texas 75024.



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                           GLOBAL NOTES AND
               STATEMENT OF LIMITATIONS, METHODOLOGY,
          AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES
     OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        The Schedules of Assets and Liabilities (collectively, the “Schedules”) and the Statements of
Financial Affairs (collectively, the “Statements,” and, together with the Schedules, the “Schedules
and Statements”), filed by the above-captioned debtors and debtors in possession (collectively,
the “Debtors”) in the United States Bankruptcy Court for the Northern District of Texas
(the “Bankruptcy Court”), were prepared, pursuant to section 521 of title 11 of the United States
Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”) and rule 1007 of the Federal Rules of
Bankruptcy Procedure (the “Bankruptcy Rules”), by management of the Debtors, with the assistance
of the Debtors’ advisors. The Schedules and Statements are unaudited.

       These Global Notes and Statement of Limitations, Methodology, and Disclaimers Regarding
the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs (these “Global
Notes”) are incorporated by reference in, and comprise an integral part of, each of the Debtors’
Schedules and Statements, and should be referred to and considered in connection with any review
of the Schedules and Statements. The Global Notes are in addition to the specific notes set forth
below with respect to particular Schedules and Statements (the “Specific Notes” and, together with
the Global Notes, the “Notes”). The Notes should be referred to, and referenced in connection with,
any review of the Schedules and Statements.

        The Schedules and Statements have been signed by Kevin Nystrom, Chief Transformation
Officer of the Debtors. In reviewing the Schedules and Statements, Mr. Nystrom relied upon the
efforts, statements, and representations of the Debtors’ other personnel and advisors. Mr. Nystrom
has not (and could not have) personally verified the accuracy of each such statement and
representation, including, but not limited to, statements and representations concerning amounts owed
to creditors, classification of such amounts, and respective creditor addresses.

        In preparing the Schedules and Statements, the Debtors relied on financial data derived from
their books and records that was available at the time of such preparation. Although the Debtors have
made commercially reasonable efforts to ensure the accuracy and completeness of the Schedules and
Statements, subsequent information or discovery may result in material changes to the Schedules and
Statements. As a result, inadvertent errors or omissions may exist. For the avoidance of doubt, the
Debtors reserve all of their rights to amend and supplement the Schedules and Statements as may be
necessary or appropriate. Because the Schedules and Statements contain unaudited information,
which is subject to further review, verification, and potential adjustment, there can be no assurance
that the Schedules and Statements are complete. The Schedules and Statements should not be relied
upon by any persons for information relating to current or future financial condition, events, or
performance of any of the Debtors or their affiliates. There can be no assurance that such information
is complete, and the Schedules and Statement may be subject to revision.

        The Debtors and their directors, managers, officers, agents, attorneys, and advisors do not
guarantee or warrant the accuracy or completeness of the data that is provided herein and shall not be
liable for any loss or injury arising out of or caused in whole or in part by the acts, errors, or omissions,
whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,


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communicating, or delivering the information contained herein or in the Schedules and Statements.
In no event shall the Debtors or their directors, managers, officers, agents, attorneys, and advisors be
liable to any third party for any direct, indirect, incidental, consequential, or special damages
(including, but not limited to, damages arising from the disallowance of a potential claim against the
Debtors or damages to business reputation, lost business, or lost profits), whether foreseeable or not
and however caused, even if the Debtors or their directors, managers, officers, agents, attorneys, and
advisors are advised of the possibility of such damages.

        Subsequent receipt of information or an audit may result in material changes in financial data
requiring amendment of the Schedules and Statements. Accordingly, the Schedules and Statements
remain subject to further review and verification by the Debtors. The Debtors reserve the right to
amend the Schedules and Statements from time to time as may be necessary or appropriate; provided
that the Debtors and their directors, managers, officers, agents, attorneys, and advisors expressly do
not undertake any obligation to update, modify, revise, or recategorize the information provided
herein, or to notify any third party should the information be updated, modified, revised, or
recategorized, except as required by applicable law or order of the Bankruptcy Court.

        Disclosure of information in one or more Schedules, one or more Statements, or one or more
exhibits or attachments to the Schedules or Statements, even if incorrectly placed, shall be deemed to
be disclosed in the correct Schedules, Statements, exhibits, or attachments.

                           Global Notes and Overview of Methodology

1.     Description of the Cases. On February 5, 2025 (the “Petition Date”), each Debtor filed a
       voluntary petition for relief under chapter 11 of the Bankruptcy Code in the Bankruptcy Court.
       These chapter 11 cases have been consolidated for procedural purposes only and are being
       jointly administered pursuant to Bankruptcy Rule 1015(b) [Docket No. 49]. These chapter 11
       cases are being jointly administered under Case No. 25-80069 (MVL). The Debtors are
       operating their businesses and managing their properties as debtors in possession pursuant to
       sections 1107(a) and 1108 of the Bankruptcy Code. On February 21, 2025, the United States
       Trustee for the Northern District of Texas appointed an official committee of unsecured
       creditors pursuant to section 1102 of the Bankruptcy Code [Docket No. 125]. No request for
       the appointment of a trustee or examiner has been made in these chapter 11 cases.
       Notwithstanding the joint administration of the Debtors’ cases for procedural purposes, each
       Debtor has filed its own Schedules and Statements.

2.     Global Notes Control. These Global Notes pertain to and comprise an integral part of each
       of the Debtors’ Schedules and Statements and should be referenced in connection with any
       review thereof. In the event that the Schedules and Statements differ from the Global Notes,
       the Global Notes shall control.

3.     “As Of” Information Date. To the best of the Debtors’ knowledge and except as otherwise
       noted herein, the asset information provided herein represents the asset data of the Debtors as
       of November 30, 2024, and the liability information herein represents the liability data of the
       Debtors as of the Petition Date. Amounts ultimately realized may vary from net book value
       (or the applicable value ascribed herein) and such variance may be material. Accordingly, the
       Debtors reserve all of their rights to amend or adjust the value of each asset set forth herein.


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     In addition, the amounts showing for total liabilities exclude items identified as “unknown,”
     “disputed,” “contingent,” “unliquidated,” or “undetermined,” and thus, ultimate liabilities
     may differ materially from those stated in the Schedules and Statements.

4.   Reservations and Limitations. Commercially reasonable efforts have been made to prepare
     and file complete and accurate Schedules and Statements; however, as noted above,
     inadvertent errors or omissions may exist. The Debtors reserve all rights to amend and
     supplement, or otherwise modify, the Schedules and Statements from time to time, in all
     respects, as may be necessary or appropriate but do not undertake any obligation to do so
     (except to the extent required by applicable law), including the right to amend, supplement,
     or otherwise modify the Schedules and Statements with respect to any claim description,
     designation, or Debtor against which the claim is asserted; dispute or otherwise offset or
     defend against any claim reflected in the Schedules and Statements as to amount, liability,
     priority, status or classification; subsequently designate any claim as “disputed,” “contingent,”
     or “unliquidated”; or object to the extent, validity, enforceability, priority, or avoidability of
     any claim, in each case, regardless of whether such claim is designated in the Schedules and
     Statements as “disputed,” “contingent,” or “unliquidated.” Any failure to designate a claim
     in the Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
     constitute an admission by the Debtors that such claims or amount is not “disputed,”
     “contingent,” or “unliquidated.” Listing a claim does not constitute an admission of (a) a
     liability or (b) amounts due or owed, if any, in each case, by the Debtor against which the
     claim is listed or against any of the Debtors. Nothing contained in the Schedules and
     Statements or Global Notes shall constitute a waiver of any of the Debtors’ rights or an
     admission of any kind with respect to these chapter 11 cases, including, but not limited to, any
     rights or claims of the Debtors against any third party or issues involving substantive
     consolidation, equitable subordination, or defenses or causes of action arising under the
     provisions of chapter 5 of the Bankruptcy Code or any other relevant applicable bankruptcy
     or non-bankruptcy laws to recover assets or avoid transfers. Any specific reservation of rights
     contained elsewhere in the Global Notes does not limit in any respect the general reservation
     of rights contained in this paragraph. Notwithstanding the foregoing, the Debtors shall not be
     required to update the Schedules and Statements.

     a.     No Admission. Nothing contained in the Schedules and Statements is intended as, or
            should be construed as, an admission or stipulation of the validity of any claim against
            the Debtors, any assertion made therein or herein, or a waiver of the Debtors’ rights to
            dispute any claim or assert any cause of action or defense against any party.

     b.     Recharacterization. Notwithstanding that the Debtors have made commercially
            reasonable efforts to correctly characterize, classify, categorize, and designate the
            claims, assets, executory contracts, unexpired leases, and other items reported in the
            Schedules and Statements, the Debtors nonetheless may have improperly
            characterized, classified, categorized, designated, or omitted certain items due to the
            complexity and size of the Debtors’ businesses. Accordingly, the Debtors reserve all
            rights to recharacterize, reclassify, recategorize, or redesignate items reported in the
            Schedules and Statements at a later time as necessary or appropriate, including,
            without limitation, whether contracts or leases listed herein were deemed executory or



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           unexpired as of the Petition Date and remain executory and unexpired on a postpetition
           basis.

     c.    Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
           Schedule E/F as “priority” or “unsecured,” or (iii) a contract or lease on Schedule G
           as “executory” or “unexpired” does not constitute an admission by the Debtors of the
           legal rights of the claimant or contract counterparty or a waiver of the Debtors’ rights
           to recharacterize or reclassify such claim or contract pursuant to a schedule
           amendment, claim objection, or otherwise. Moreover, although the Debtors may have
           scheduled claims of various creditors as secured claims for informational purposes, no
           current valuation of the Debtors’ assets in which such creditors may have a security
           interest has been undertaken. Except as provided in an order of the Court, including,
           without limitation, the Interim Order (I) Authorizing the Debtors to Obtain
           Postpetition Financing Pursuant to Section 364 of the Bankruptcy Code,
           (II) Authorizing the Use of Cash Collateral Pursuant to Section 363 of the Bankruptcy
           Code, (III) Granting Adequate Protection to the Prepetition Term Loan Secured
           Parties Pursuant to Sections 361, 362, 363, and 364 of the Bankruptcy Code,
           (IV) Granting Liens and Superpriority Claims, (V) Modifying the Automatic Stay, and
           (VI) Scheduling a Final Hearing [Docket No. 85], the Debtors reserve all rights to
           dispute and challenge the secured nature or amount of any such creditor’s claims, the
           characterization of the structure of any transaction, and any document or instrument
           related to such creditor’s claims.

     d.    Claims Description. Any failure to designate a claim in the Schedules and Statements
           as “contingent,” “unliquidated,” or “disputed” does not constitute an admission by the
           Debtors that such claim or amount is not “contingent,” “unliquidated,” or “disputed.”
           The Debtors reserve all of their rights to dispute, or to assert offsets or defenses to, any
           claim reflected on their Schedules or Statements on any grounds, including, but not
           limited to, amount, liability, priority, status, or classification, or to otherwise
           subsequently designate any claim as “contingent,” “unliquidated,” or “disputed.”
           Moreover, the Debtors reserve all of their rights to amend the Schedules and
           Statements as necessary and appropriate, including but not limited to, with respect to
           claim descriptions and designations. Listing a claim does not constitute an admission
           of liability by the Debtor against whom the claim is listed or by any of the other
           Debtors.

     e.    Estimates and Assumptions. To prepare and file the Schedules and Statements in
           accordance with the deadline ordered by the Bankruptcy Court in these chapter 11
           cases, management was required to make reasonable estimates and assumptions that
           affected the reported amounts of these assets and liabilities, the amount of contingent
           assets and contingent liabilities, and the reported amounts of revenues and expenses
           as of the Petition Date. Actual results could differ from such estimates. The Debtors
           reserve all rights to amend the reported amounts of assets and liabilities to reflect
           changes in those estimates or assumptions.

     f.    Fiscal Year. Each Debtor’s fiscal year ends on December 31. Unless otherwise
           indicated, all references to “annual,” “annually,” “year,” “years,” or an otherwise


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           similar length of time are presumed to refer to a period of time ending December 31
           of the referenced period or periods.

     g.    Causes of Action. Despite their commercially reasonable efforts to identify all known
           assets, the Debtors may not have listed all of their causes of action or potential causes
           of action against third parties as assets in the Schedules and Statements, including,
           without limitation, avoidance actions arising under chapter 5 of the Bankruptcy Code
           and actions under other relevant bankruptcy and non-bankruptcy laws to recover
           assets. The Debtors reserve all of their rights with respect to any cause of action
           (including avoidance actions), controversy, right of setoff, cross claim, counterclaim,
           or recoupment, and any claim on contracts or for breaches of duties imposed by law
           or in equity, demand, right, action, lien, indemnity, guaranty, suit, obligation, liability,
           damage, judgment, account, defense, power, privilege, license, and franchise of any
           kind or character whatsoever, known, unknown, fixed or contingent, matured or
           unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or
           undisputed, secured or unsecured, assertable directly or derivatively, whether arising
           before, on, or after the Petition Date, in contract, in tort, at law, in equity, or otherwise.
           Causes of action also include: (i) all rights of setoff, counterclaim, or recoupment and
           claims under contracts or for breaches of duties imposed by law or in equity; (ii) any
           claim based on or relating to, or in any manner arising from, in whole or in part, tort,
           breach of contract, breach of fiduciary duty, violation of local, state, federal, or foreign
           law, or breach of any duty imposed by law or in equity, including, without limitation,
           securities laws, negligence, and gross negligence; (iii) the right to object to or
           otherwise contest claims or interests; (iv) claims pursuant to sections 362 or chapter 5
           of the Bankruptcy Code; (v) such claims and defenses as fraud, mistake, duress, and
           usury and any other defenses set forth in section 558 of the Bankruptcy Code; and
           (vi) any avoidance actions arising under chapter 5 of the Bankruptcy Code or under
           similar local, state, federal, or foreign statutes and common law, including, without
           limitation, fraudulent transfer laws, and neither these Global Notes nor the Schedules
           and Statements shall be deemed a waiver of any claims or causes of action or in any
           way prejudice or impair the assertion of such claims or causes of action.

     h.    Intellectual Property Rights. Exclusion of certain intellectual property on the
           Schedules and Statements shall not be construed to be an admission that such
           intellectual property rights have been abandoned, have been terminated, or otherwise
           have expired by their terms, or have been assigned or otherwise transferred pursuant
           to a sale, acquisition, or other transaction. Conversely, inclusion of certain intellectual
           property on the Schedules and Statements shall not be construed to be an admission
           that such intellectual property rights have not been abandoned, have not been
           terminated, or otherwise have not expired by their terms, or have not been assigned or
           otherwise transferred pursuant to a sale, acquisition, or other transaction. The Debtors
           have made every effort to attribute intellectual property to the rightful Debtor owner;
           however, in some instances, intellectual property owned by one Debtor may, in fact,
           be owned by another. Accordingly, the Debtors reserve all of their rights with respect
           to the legal status of any and all intellectual property rights.




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        i.      Insiders. In the circumstance where the Schedules and Statements require information
                regarding “insiders,” the Debtors have included information with respect to the
                individuals and entities whom the Debtors believe would be included in the definition
                of “insider” set forth in section 101(31) of the Bankruptcy Code during the relevant
                time periods. Such individuals may no longer serve in such capacities.

                The listing or omission of a party as an insider for purposes of the Schedules and
                Statements is for informational purposes and is not intended to be, nor should it be,
                construed as an admission of any fact, right, claim, or defense, and all such rights,
                claims, and defenses are hereby expressly reserved. Parties listed as “insiders” have
                been included for informational purposes only, and such information may not be used
                for the purposes of determining: (a) control of the Debtors; (b) the extent of which
                any party exercised management responsibilities or functions; (c) corporate decision
                making authority over the Debtors; (d) whether the Debtors or any such insider could
                successfully argue that such party is not an “insider” under applicable law, including,
                without limitation, the Bankruptcy Code and federal securities laws, or with respect to
                any theories of liability; or (e) any other purpose. Furthermore, certain of the
                individuals or entities identified as insiders may not have been insiders for the entirety
                of the twelve-month period before the Petition Date. Nevertheless, the Debtors have
                included such individuals or entities herein out of an abundance of caution, and the
                Debtors reserve all rights with respect thereto.

5.      Methodology.

     a. Basis of Presentation. Information contained in the Schedules and Statements has been
        derived from the Debtors’ books and records and historical financial statements. For financial
        reporting purposes, prior to the Petition Date, the Debtors ordinarily prepared consolidated
        financial statements. These Schedules and Statements do not purport to represent financial
        statements prepared in accordance with accounting principles generally accepted in the United
        States of America (“U.S. GAAP”) or any other generally accepted accounting principles of
        foreign jurisdictions, as applicable, nor are they intended to fully reconcile to the financial
        statements prepared by the Debtors. Unlike the consolidated financial statements, the
        Schedules and Statements reflect the assets and liabilities of each separate Debtor, except
        where otherwise indicated. Accordingly, the totals listed in the Schedules will likely differ,
        at times materially, from the consolidated financial reports prepared by the Debtors for
        financial reporting purposes or otherwise.

        In addition, the Schedules and Statements contain unaudited information that is subject to
        further review and potential adjustment and reflect the Debtors’ commercially reasonable
        efforts to report the assets and liabilities of each Debtor on an unconsolidated basis. Moreover,
        given, among other things, the uncertainty surrounding the collection and ownership of certain
        assets and the valuation and nature of certain liabilities, to the extent that a Debtor shows more
        assets than liabilities, this is not an admission that the Debtor was solvent as of the Petition
        Date or at any time prior to the Petition Date. Likewise, to the extent a Debtor shows more
        liabilities than assets, this is not an admission that the Debtor was insolvent at the Petition
        Date or any time prior to the Petition Date.



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      b. Confidential or Sensitive Information. There may be instances in which the Debtors
         deemed it necessary and appropriate to redact certain information due to the nature of an
         agreement between a Debtor and a third party, concerns about the confidential or
         commercially sensitive nature of certain information, or concerns for the privacy of an
         individual. The alterations are limited to only what is necessary to protect the Debtor or third
         party and are consistent with the relief granted under the Creditor Matrix Order.2

      c. Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments may
         properly be disclosed in multiple parts of the Statements and Schedules. To the extent these
         disclosures would be duplicative, the Debtors have determined to only list such assets,
         liabilities, and prepetition payments once.

      d. Umbrella or Master Agreements. Contracts and leases listed in the Schedules and
         Statements may be umbrella or master agreements that cover relationships with some or all of
         the Debtors. Where relevant, such agreements have been listed in the Schedules and
         Statements only of the Debtor that signed the original umbrella or master agreement. Other
         Debtors, however, may be liable together with such Debtor on account of such agreements
         and the Debtors reserve all rights to amend the Schedules and Statements to reflect changes
         regarding the liability of the Debtors with respect to such agreements, if appropriate.
         Additionally, by listing an umbrella or master agreement in these Schedules and Statements,
         the Debtors make no representation as to the severability of such agreements and their related
         contracts and leases, including any subleases, and the Debtors reserve any and all rights with
         respect to any arguments or claims it may have in regard to the severability of such
         agreements.

      e. Executory Contracts. Although the Debtors made diligent efforts to attribute an executory
         contract to its rightful Debtor, in certain instances, the Debtors may have inadvertently failed
         to do so. Accordingly, the Debtors reserve all of their rights with respect to the named parties
         of any and all executory contracts, including the right to amend Schedule G.

          Unless otherwise specified on Schedule G, each executory contract listed thereon shall include
          all exhibits, schedules, riders, modifications, declarations, amendments, supplements,
          attachments, restatements, or other agreements made directly or indirectly between the parties
          thereto. The Debtors expressly reserve their rights to challenge whether such related materials
          constitute an executory contract, a single contract or agreement, or multiple, severable, or
          separate contracts. The contracts, agreements, and leases listed on Schedule G may have
          expired or may have been modified, amended, or supplemented from time to time by various
          amendments, restatements, waivers, estoppel certificates, letters, memoranda, and other
          documents, instruments, and agreements that may not be listed therein despite the Debtors’
          use of diligent efforts to identify such documents. In addition, although the Debtors have

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      Order (I) Authorizing the Debtors to (A) File a Consolidated List of Creditors in Lieu of Submitting a Separate
      Mailing Matrix for Each Debtor, (B) File a Consolidated List of the 30 Largest Unsecured Creditors, (C) Serve
      Certain Parties in Interest by Email, (D) Redact or Withhold Certain Confidential Information of Customers, and
      (E) Redact Certain Personally Identifiable Information of Individuals, (II) Approving the Form and Manner of
      Notifying Creditors of the Commencement of the Debtors’ Chapter 11 Cases, and (III) Granting Related Relief
      [Docket No. 66] (the “Creditor Matrix Order”).



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     made diligent attempts to properly identify executory contracts and unexpired leases, the
     inclusion of a contract or lease on Schedule G does not constitute an admission as to the
     executory or unexpired nature (or non-executory or expired nature) of the contract or lease, or
     an admission as to the existence or validity of any claims held by any counterparty to such
     contract or lease. Certain information, such as the contact information of the counterparty,
     may not be included where such information could not be obtained using commercially
     reasonable efforts. The Debtors do not make, and specifically disclaim, any representation or
     warranty as to the completeness or accuracy of the information set forth on Schedule G.

  f. Unexpired Leases. The Debtors have not included in the Schedules and Statements the future
     obligations of any capital or operating leases. To the extent that there was an amount
     outstanding as of the Petition Date, the creditor has been included on Schedule E/F.

  g. Valuation. It would be prohibitively expensive, unduly burdensome, and an inefficient use
     of estate assets for the Debtors to obtain current market valuations of all of their assets.
     Accordingly, unless otherwise indicated, net book values of the Debtors’ assets as of
     November 30, 2024, are reflected on the Schedules and Statements. Exceptions to this include
     operating cash and certain other assets. Operating cash is presented at bank balances as of
     close of business February 5, 2025. Certain other assets, such as other intangible assets, are
     listed at undetermined amounts, as the net book values may differ materially from fair market
     values. Amounts ultimately realized may vary from net book value (or whatever value was
     ascribed) and such variance may be material. Accordingly, the Debtors reserve all of their
     rights to amend or adjust the value of each asset set forth herein. In addition, the amounts
     shown for total liabilities exclude items identified as “unknown” or “undetermined,” and, thus,
     ultimate liabilities may differ materially from those stated in the Schedules and Statements.
     Also, assets that have been fully depreciated or that were expensed for accounting purposes
     either do not appear in these Schedules and Statements or are listed with a zero-dollar value,
     as such assets have no net book value. The omission of an asset from the Schedules and
     Statements does not constitute a representation regarding the ownership of such asset, and any
     such omission does not constitute a waiver of any rights of the Debtors with respect to such
     asset. Given, among other things, the current market valuation of certain assets and the
     valuation and nature of certain liabilities, nothing in the Debtors’ Schedules and Statements
     shall be, or shall be deemed to be, an admission that any Debtor was solvent or insolvent as
     of the Petition Date.

  h. Property and Equipment. Unless otherwise indicated, owned equipment is stated at net
     book value. The Debtors may lease furniture, fixtures, and equipment from certain third-party
     lessors. Any such leases are set forth in the Schedules and Statements. Nothing in the
     Schedules and Statements is, or shall be construed as, an admission as to the determination as
     to the legal status of any lease, including whether any lease is a true lease or a financing
     arrangement, and the Debtors reserve all of their rights with respect thereto.

  i. Contingent Assets. The Debtors believe that they may possess certain claims and causes of
     action against various parties. Additionally, the Debtors may possess contingent claims in the
     form of various avoidance actions they could commence under the provisions of chapter 5 of
     the Bankruptcy Code and other relevant non-bankruptcy laws. The Debtors are continuing to
     review potential causes of action, and accordingly, despite reasonable efforts, may not have


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          set forth all of their causes of action against third parties as assets in the Schedules and
          Statements. The Debtors reserve all of their rights with respect to any claims, causes of action,
          or avoidance actions they may have, and nothing contained in these Global Notes or the
          Schedules and Statements shall be deemed a waiver of any such claims, avoidance actions, or
          causes of action or in any way prejudice or impair the assertion of such claims.

      j. Undetermined Amounts. Claim amounts that could not be quantified by the Debtors are
         scheduled as “Undetermined.” The description of an amount as “Undetermined” is not
         intended to reflect upon the materiality of such amount.

      k. Unliquidated Claim. A claim for which a specific value cannot be calculated using currently
         available information is “unliquidated.”

      l. Disputed Claim. A claim with respect to which the applicable Debtor and the claimant
         disagree as to the amount owed, whether an amount is owed, the priority of the claim, or
         otherwise is “disputed.”

      m. Totals. All totals that are included in the Schedules and Statements represent totals of all the
         known amounts included in the Schedules and Statements. To the extent there are
         undetermined amounts, the actual total may be different than the listed total. The description
         of an amount as “undetermined” is not intended to reflect upon the materiality of such amount.
         To the extent a Debtor is a guarantor of debt held by another Debtor, the amounts reflected in
         these Schedules and Statements are inclusive of each Debtor’s guarantor obligations.

      n. Allocation of Liabilities. The Debtors have sought to allocate liabilities between the
         prepetition and postpetition periods based on the information and research that was conducted
         in connection with the preparation of the Schedules and Statements. As additional information
         becomes available and further research is conducted, the allocation of liabilities between
         prepetition and postpetition periods may change. The Debtors reserve the right to amend the
         Schedules and Statements as they deem appropriate in this regard.

          The liabilities listed on the Schedules and Statements do not reflect any analysis of claims
          under section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all of their
          rights to dispute or challenge the validity of any asserted claims under section 503(b)(9) of
          the Bankruptcy Code or the characterization of the structure of any such transaction or any
          document or instrument related to any creditor’s claim.

      o. Paid Claims. Pursuant to certain orders of the Bankruptcy Court entered in these chapter 11
         cases (collectively, the “First Day Orders”), the Debtors were authorized to pay, among other
         things, certain prepetition claims of employees, lien claimants, HSE suppliers (as defined in
         the Critical Vendors Order)3, critical vendors, claimants under section 503(b)(9) of the
         Bankruptcy Code, and taxing authorities. Accordingly, these liabilities may have been or may
         be satisfied in accordance with such First Day Orders. Regardless of whether such claims are

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      Debtors’ Emergency Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to Pay Certain
      Prepetition Claims of (A) Critical Vendors, (B) 503(b)(9) Claimants, (C) Lien Claimants, and (D) HSE Suppliers;
      and (II) Granting Related Relief [Docket No. 11] (the “Critical Vendors Order”).



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     listed in the Schedules and Statements, to the extent such claims are paid pursuant to an order
     of the Bankruptcy Court (including the First Day Orders), the Debtors reserve all rights to
     amend, supplement, or otherwise modify the Schedules and Statements.

  p. Other Paid Claims. To the extent the Debtors have reached any postpetition settlement with
     a vendor or other creditor, the terms of such settlement will prevail, supersede amounts listed
     in the Debtors’ Schedules and Statements, and shall be enforceable by all parties, subject to
     any necessary Bankruptcy Court approval. To the extent the Debtors pay any of the claims
     listed in the Schedules and Statements pursuant to any orders entered by the Bankruptcy Court,
     the Debtors reserve all rights to amend, supplement, or otherwise modify the Schedules and
     Statements and take such other actions, including the filing of claims objections, as is
     necessary and appropriate to avoid overpayment or duplicate payment for such liabilities.

  q. Credits and Adjustments. The claims of individual creditors for, among other things, goods,
     products, services, or taxes are listed at the amounts entered on the Debtors’ books and records
     and may not reflect credits, allowances, or other adjustments due from such creditors to the
     Debtors. The Debtors reserve all of their rights with regard to such credits, allowances, and
     other adjustments, including the right to assert claims objections and/or setoffs with respect
     to the same.

  r. Intercompany Claims. The Debtors make payments on account of all transactions through
     Debtor Zips Car Wash, LLC. There are no tracked intercompany transactions among the
     Debtor entities. Accordingly, there is nothing reported on Schedule A/B-77. The Debtors
     reserve all rights to later change the amounts, characterization, classification, categorization,
     or designation of intercompany accounts reported in the Schedules and Statements.

     Because Debtor Zips Car Wash, LLC makes payments on behalf of other Debtors, whether a
     particular obligation was incurred by the entity actually making the payment is a complex
     question of applicable non-bankruptcy law, and nothing herein constitutes an admission that
     any Debtor entity is an obligor with respect to any such payment. The Debtors reserve all
     rights to reclassify any payment or obligation as attributable to another entity and all rights
     with respect to the proper accounting and treatment of such payments and liabilities.

  s. Guarantees and Other Secondary Liability Claims. The Debtors have exercised
     commercially reasonable efforts to locate and identify guarantees and other secondary liability
     claims (collectively, the “Guarantees”) of their executory contracts, unexpired leases, secured
     financings, debt instruments, and other such agreements. Nevertheless, a review of these
     agreements is ongoing. Where such Guarantees have been identified, they have been included
     on Schedules D and H, as applicable, for the affected Debtor or Debtors. However, certain
     Guarantees embedded in the Debtors’ executory contracts, unexpired leases, secured
     financings, debt instruments, and other such agreements may have been inadvertently omitted.
     The Debtors may identify additional Guarantees as they continue their review of their books
     and records and contractual agreements. The Debtors reserve all of their rights, but are not
     required to amend, supplement, and otherwise modify the Schedules to the extent that
     additional Guarantees are identified.




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     t. Claims of Third-Party Related Entities. While the Debtors have made every effort to
        properly classify each claim listed in the Schedules and Statements as being either disputed
        or undisputed, liquidated or unliquidated, and contingent or noncontingent, the Debtors have
        not been able to fully reconcile all payments made to certain third parties and their related
        entities on account of the Debtors’ obligations thereto. Therefore, to the extent that the
        Debtors have classified their estimate of claims of a creditor as disputed, all claims of such
        creditor’s affiliates listed in the Schedules and Statements shall similarly be considered as
        disputed, whether or not they are designated as such.

     u. Excluded Assets and Liabilities. The Debtors have excluded certain categories of assets, tax
        accruals, and liabilities from the Schedules and Statements, including without limitation,
        accrued salaries, employee benefit accruals, and accrued accounts payable. The Debtors have
        also excluded potential rejection damage claims of counterparties to executory contracts and
        unexpired leases that may be rejected (if any), to the extent such damage claims exist. In
        addition, the Debtors may have excluded amounts for which the Debtors have been granted
        authority to pay pursuant to the First Day Orders or other orders that may be entered by the
        Bankruptcy Court. Certain immaterial assets and liabilities may have been excluded.

     v. Liens. The inventories, property, and equipment listed in the Statements and Schedules are
        presented without consideration of any asserted mechanics’, materialmen, shippers’, or
        similar liens that may attach, or have attached, to such inventories, property, and equipment.

     w. Zero Dollar Amounts. Amounts listed at zero are either $0, unliquidated, or undetermined.

     x. Non-Case Transfers. All transfers of non-cash property are reported at book value.

     y. Currency. All amounts are reflected in U.S. dollars, which the Company uses as its reporting
        currency.

     z. Setoffs. The Debtors routinely incur setoffs and net payments in the ordinary course of
        business. Such setoffs and nettings may occur due to a variety of transactions or disputes,
        including, but not limited to, counterparty settlements, pricing discrepancies, rebates, returns,
        warranties, refunds, and negotiations and/or other disputes between the Debtors and their
        customers or vendors. These setoffs and other similar rights are consistent with the ordinary
        course of business in the Debtors’ industry and are not tracked separately. Therefore, although
        such setoffs and other similar rights may have been accounted for when scheduling certain
        amounts, these ordinary course setoffs are not independently accounted for and, as such, are
        or may not be included separately in the Schedules and Statements. In addition, some amounts
        listed in the Schedules and Statements may have been affected by setoffs or nettings by third
        parties of which the Debtors are not aware. The Debtors reserve all rights to challenge any
        setoff and/or recoupment rights that may be asserted.

6.      Specific Schedules Disclosures.

        Schedule A/B-3 – Checking, savings, or other financial accounts, CDs, etc. Schedule
        A/B-3 lists closing bank balances as February 5, 2025.




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     Schedule A/B 11 – Accounts Receivable. The Debtors’ current value of accounts receivable
     reflects the receivables balance as of November 30, 2024, netted against an estimate of certain
     doubtful or uncollectable accounts. The Debtors’ accounts receivables balance excludes any
     accounts receivables that were written off on the Debtors’ books and records as of November
     30, 2024. The Debtors listed only actual accounts receivables as of November 30, 2024, and
     did not include any amounts that are reflected in the Debtors’ books and records as non-
     traditional revenue or accrued, unbilled revenue for which payment is in process or is subject
     to reconciliation.

     Schedule A/B-15 – Stock and interests in incorporated and unincorporated businesses.
     See Schedule Exhibit A/B-15 for additional businesses each applicable Debtor was a parent
     of or owned a significant interest in. Ownership interests in subsidiaries have been listed in
     an undetermined amount because the fair market value of such ownership is dependent on
     numerous variables and factors and may differ significantly from their net book value.

     Schedule A/B-21 – Finished Goods, including goods held for resale. The Debtors generally
     do not sell accessories or other items for resale. Some sites might sell small miscellaneous
     items, but they are de minimis and not tracked within the Debtors’ books and records.

     Schedule A/B-22 – Other inventory or supplies. The amounts presented may include
     inventory or supplies that are obsolete or have been used in the ordinary course of business
     and may not accurately reflect such assets’ value in the marketplace.

     Schedules A/B, Part 10, Items 59-66 – Intangibles and intellectual property. The Debtors’
     patents, trademarks, and other intellectual property rights are listed in undetermined amounts.
     The fair market value of such ownership is dependent on numerous variables and factors and
     may differ significantly from the fair net book value of such intangibles and intellectual
     property. Exclusion of certain intellectual property should not be construed to be an admission
     that such intellectual property rights have been abandoned, have been terminated or otherwise
     expired by their terms, or have been assigned or otherwise transferred pursuant to a sale,
     acquisition, or other transaction. Conversely, inclusion of certain intellectual property should
     not be construed to be an admission that such intellectual property rights have not been
     abandoned, have not been terminated or otherwise expired by their terms, or have not been
     assigned or otherwise transferred pursuant to sale, acquisition or other transaction. The
     Debtors have used reasonable efforts to attribute intellectual property to the rightful Debtor
     owner; however, in some instances, intellectual property owned by one Debtor may, in fact,
     be owned by another Debtor. Pending applications for trademark registrations are not
     included in the Debtors’ response.

     Schedules A/B-74 and 75 – Causes of action against third parties (whether or not a
     lawsuit has been filed) and other contingent and unliquidated claims or causes of action
     of every nature, including counterclaims of the debtors and rights to set off claims.
     Potential preference actions and/or fraudulent transfer actions were not listed because the
     Debtors have not completed an analysis of such potential claims. The Debtors are not
     currently aware of any causes of action or other claims. However, the Debtors’ analysis for
     such causes of action or other claims remains ongoing. The Debtors’ failure to list any cause
     of action, claim, or right of any nature is not an admission that such cause of action, claim, or


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     right does not exist, and should not be construed as a waiver of such cause of action, claim, or
     right.

     Executory Contracts. The Debtors have not included such agreements on Schedule A/B.
     Instead, the Debtors have only listed such agreements on Schedule G.

     Schedule D – Creditors Who Have Claims Secured by Property. Except as otherwise
     agreed or stated pursuant to a stipulation, agreed order, or general order entered by the Court
     that is or becomes final, the Debtors reserve their rights to dispute or challenge the validity,
     perfection, or immunity from avoidance of any lien purported to be granted or perfected in
     any specific asset for the benefit of a secured creditor listed on a Debtor’s Schedule D.
     Moreover, although the Debtors may have scheduled claims of various creditors as secured
     claims for information purposes, the Debtors reserve all rights to dispute or challenge the
     secured nature of any such creditor’s claim or the characterization of the structure of any such
     transaction or any document or instrument (including without limitation, any intercompany
     agreement) related to such creditor’s claim.

     In certain instances, a Debtor may be a co-obligor with respect to scheduled claims of other
     Debtors. No claim set forth on Schedule D of any Debtor is intended to acknowledge claims
     of creditors that are or may be otherwise satisfied or discharged.

     The descriptions provided in Schedule D are intended only to be a summary. Reference to
     the applicable loan agreements and related documents is necessary for a complete description
     of the collateral and the nature, extent and priority of any liens. Nothing in these Global Notes
     or the Schedules and Statements shall be deemed a modification or interpretation of the terms
     of such agreements.

     Except as specifically stated herein, real property lessors, utility companies, and other parties
     which may hold security deposits have not been listed on Schedule D. The Debtors have not
     included parties that may believe their Claims are secured through setoff rights or inchoate
     statutory lien rights.

     Detailed descriptions of the Debtors’ prepetition debt structure and descriptions of collateral
     relating to the debt contained on Schedule D are contained in the Debtors’ Emergency Motion
     for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Obtain Postpetition
     Financing, (B) Grant Senior Secured Priming Liens and Superpriority Administrative
     Expense Claims, and (C) Utilize Cash Collateral; (II) Granting Adequate Protection to the
     Prepetition Term Loan Secured Parties; (III) Modifying the Automatic Stay; (VI) Scheduling
     a Final Hearing; and (V) Granting Related Relief [Docket No. 22]. The secured debt is jointly
     and severally the responsibility of multiple Debtors; as such, the liability has been listed on
     each Debtor who is an obligor or guarantor of such debt. Only the principal amount is listed
     on Schedule D; however, other amounts might be due to the creditors.

     Any description of the creditor’s liens or their priority herein is qualified in its entirety by
     reference to the operative documents, agreements, schedules, any amendments and exhibits
     to the preceding and any documents evidencing perfection of such lien. The Debtor is taking




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     no position on the extent or priority of a particular creditor’s lien in the Schedules and
     Statements.

     The Debtors have indicated that multiple creditors have an interest in the same property when,
     among other things, inchoate statutory liens may exist with respect to such property. The
     Debtors take no position in these Schedules and Statements regarding the validity of any such
     liens or the extent or validity of a particular creditor’s lien, including other creditors listed in
     Schedule D, and the Debtors reserve their rights to dispute or challenge the validity,
     perfection, or immunity from avoidance of any lien purported to be granted or perfected on
     any such property.

     Schedule E/F – Creditors Who Hold Unsecured Claims.

     Part 1 – Creditors with Priority Unsecured Claims. The listing of a claim on Schedule E/F,
     Part 1, does not constitute an admission by the Debtors that such claim or any portion thereof
     is entitled to priority treatment under section 507 of the Bankruptcy Code. The Debtors
     reserve all of their rights to dispute the amount and the priority status of any claim on any
     basis at any time. Certain of such claims, however, may be subject to ongoing audits and the
     Debtors are otherwise unable to determine with certainty the amount of many, if not all, of the
     remaining claims listed on Schedule E/F. Accordingly, the Debtors have listed all such claims
     unknown in amounts, pending final resolution of ongoing audits or other outstanding issues.

     Pursuant to the Interim Order (I) Authorizing the Payment of Certain Prepetition and
     Postpetition Taxes and Fees and (II) Granting Related Relief [Docket No. 56] (the “Taxes
     Interim Order”), the Debtors have been granted the authority to pay certain tax liabilities that
     accrued prepetition. Accordingly, unsecured priority tax claims may have been paid or may
     be paid pursuant to the Taxes Interim Order or pursuant to further Bankruptcy Court order.
     Therefore, the Debtors have listed certain taxing authorities with an undetermined amount.

     Taxing authorities have been listed on the specific Debtors’ Schedules to align with the taxing
     schedule presented as part of the Debtors’ Emergency Motion for Entry of Interim and Final
     Orders (I) Authorizing the Payment of Certain Prepetition and Postpetition Taxes and Fees
     and (II) Granting Related Relief [Docket No. 8] and based on the Debtors’ books and records.

     Part 2 – Creditors with Nonpriority Unsecured Claims. The liabilities identified on Schedule
     E/F, Part 2, are derived from the Debtors’ books and records. The Debtors made a reasonable
     attempt to set forth their unsecured obligations, although the actual amount of claims against
     the Debtors may vary from those liabilities represented on Schedule E/F Part 2. The listed
     liabilities may not reflect the correct amount of any unsecured creditor’s allowed claims or
     the correct amount of all unsecured claims.

     The Schedules generally attribute liabilities as reflected on the Debtors’ books and records.
     In instances where it is unknown which Debtor a liability is asserted for, the Debtors have
     included the corresponding liability under Zips Car Wash, LLC.

     Pursuant to the First Day Orders, the Debtors received authority to pay certain prepetition
     claims. Accordingly, no undisputed prepetition unsecured claims of non-insiders that have



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     been paid pursuant to the First Day Orders or pursuant to further Bankruptcy Court order have
     been listed on Schedule E/F, Part 2. Listing a claim or failure to list a claim on Schedule E/F,
     Part 2 that is subject to payment pursuant to the First Day Orders does not serve as an
     admission by the Debtors as to the validity of such claim or as to the status of payment of such
     claim. The Debtors expect that certain claimants may continue to receive payments for
     prepetition amounts paid pursuant to authority granted by the Bankruptcy Court on or after
     the Petition Date. The Debtors reserve all of their rights with respect to such payments,
     including the right to amend, supplement, or otherwise modify Schedule E/F, Part 2, to reflect
     such payments.

     Schedule E/F, Part 2 and Statements, Part 3, Question 7, contain information regarding
     pending litigation and administrative agency proceedings, and exclude any threatened
     litigation or consumer complaints. In certain instances, the Debtor that is the subject of the
     litigation may be unclear or undetermined. To the extent that litigation involving a particular
     Debtor has been identified, such information is contained in the Schedule for that Debtor. The
     Schedules do not contain specific details of every litigation, such as the names and addresses
     of each party to a given litigation. Additionally, to the extent the identification of contingent
     co-defendants is unknown or unclear, the Debtors have listed only the underlying litigation or
     arbitration. The amounts for these potential claims are listed as “undetermined” and are
     marked as contingent, unliquidated, and disputed in the Schedules and Statements.

     Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties to executory
     contracts and unexpired leases. Such prepetition amounts, however, may be paid in whole or
     in part in connection with the assumption or assumption and assignment, if applicable, of an
     executory contract or unexpired lease. In addition, Schedule E/F, Part 2, does not include
     claims that may arise in connection with the rejection of any executory contracts or unexpired
     leases, if any, that may be or have been rejected in these chapter 11 cases.

     In many cases, the claims listed on Schedule E/F, Part 2, arose, accrued, or were incurred on
     various dates or on a date or dates that are unknown to the Debtors or are subject to dispute.
     Where the determination of the date on which a claim arose, accrued, or was incurred would
     be unduly burdensome and costly to the Debtors’ estates, the Debtors have not listed a specific
     date or dates for such claim.

     As of the time of filing of the Schedules and Statements, the Debtors may not have received
     all invoices for payables, expenses, and other liabilities that may have accrued prior to the
     Petition Date. Accordingly, the information contained on Schedules D and E/F may be
     incomplete. The Debtors reserve their rights, but undertake no obligations, to amend
     Schedules D and E/F if and as they receive such invoices.

     Schedule E/F does not include certain deferred charges, deferred liabilities, accruals, or
     general reserves. Such amounts are, however, reflected on the Debtors’ books and records as
     required in accordance with U.S. GAAP. Such accruals are general estimates of liabilities and
     do not represent specific claims as of the Petition Date. The Debtors have made every effort
     to include as contingent, unliquidated, or disputed the claim of any vendor not included on the
     Debtors’ open accounts payable that is associated with an account that has an accrual or receipt
     not invoiced.


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     Schedule G – Executory Contracts and Unexpired Leases. While reasonable efforts have
     been made to ensure the accuracy of Schedule G, inadvertent errors, omissions, and
     unintended duplication or overinclusion of items may have occurred.

     Listing a contract, lease, or agreement on Schedule G does not constitute an admission that
     such contract, lease, or agreement is an executory contract or unexpired lease or that such
     contract, lease, or agreement was in effect on the Petition Date or is valid or enforceable. The
     Debtors hereby reserve all their rights, claims and causes of action with respect to the
     contracts, leases, or agreements on Schedule G, including the right to dispute the validity,
     status, or enforceability of, or otherwise modify any contracts, leases, or agreements set forth
     on Schedule G and to amend, supplement, or otherwise modify Schedule G as necessary, at
     any time, to remove any contracts, leases, or agreements.

     Certain contracts, leases, and agreements listed on Schedule G may contain renewal options,
     guarantees of payment, indemnifications, options to purchase, rights of first refusal, and other
     miscellaneous rights. Such rights, powers, duties, and obligations are not set forth separately
     on Schedule G. In addition, the Debtors may have entered into various other types of
     agreements in the ordinary course of business, such as supplemental agreements and letter
     agreements, which agreements may not be set forth on Schedule G. The Debtors reserve all
     of their rights to amend, supplement, or otherwise modify Schedule G to the extent that
     additional information regarding such agreements becomes available. Certain executory
     contracts or unexpired leases may not have been memorialized and could be subject to dispute.
     Any executory contracts or unexpired leases that have not been reduced to writing are not
     included on Schedule G.

     Certain of the contracts, leases, and agreements listed on Schedule G may consist of several
     parts, including, without limitation, purchase orders, amendments, restatements, waivers,
     letters, and other documents that may not be identified in Schedule G or that may be listed as
     a single entry. The Debtors expressly reserve their rights to determine or challenge whether
     such documents constitute an executory contract or unexpired lease, a single contract,
     agreement, or lease, or multiple, severable, or separate contracts, agreements, or leases.

     The contracts, leases, and agreements identified in Schedule G may have expired or may have
     been modified, amended, or supplemented from time to time by various amendments,
     restatements, waivers, estoppel certificates, letters, memoranda, and other documents,
     instruments, and agreements that may not be listed therein despite the Debtors’ use of
     commercially reasonable efforts to identify such documents.

     Unless otherwise specified in Schedule G, each executory contract or unexpired lease
     identified therein shall include all exhibits, schedules, riders, modifications, declarations,
     amendments, supplements, attachments, restatements, or other agreements made directly or
     indirectly by any agreement, instrument, or other document that in any manner affects such
     executory contract or unexpired lease, without respect to whether such agreement, instrument,
     or other document is listed therein. In some cases, the same supplier or provider may appear
     multiple times in Schedule G. Multiple listings, if any, reflect distinct agreements between
     the applicable Debtor and such supplier or provider.



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     The Debtors may be party to certain confidentiality agreements which may constitute
     executory contracts. In order to not breach any such confidentiality agreements, the Debtors
     have not listed such confidentiality agreements in Schedule G. Such agreements may be
     provided upon request to the Debtors’ counsel.

     Omission of a contract, lease, or agreement from Schedule G does not constitute an admission
     that such omitted contract, lease, or agreement is not an executory contract or unexpired lease.
     The Debtors’ rights under the Bankruptcy Code with respect to any such omitted contracts,
     leases, or agreements are not impaired by any such omission.

     Certain Debtors are guarantors and parties to guaranty agreements regarding the Debtors’
     prepetition credit facility. The guaranty obligations arising under these agreements are
     reflected in Schedule D only and are not listed on Schedule G.

     The Debtors are party to a large number of membership agreements between the Debtors and
     their customers, which may constitute executory contracts. Given the volume of the
     membership agreements, as well as privacy concerns with respect to sharing customer
     information, such agreements have not been included in Schedule G. For the avoidance of
     doubt, the absence of the membership agreements from Schedule G is not intended to impair
     the rights of either party under each membership agreement.

     Schedule H – Co-Debtors. For purposes of Schedule H, the Debtors may not have identified
     certain guarantees that are embedded in the Debtors’ executory contracts, unexpired leases,
     debt instruments, and other agreements. Thus, the Debtors reserve their rights to amend
     Schedule H to the extent that additional guarantees are identified, or such guarantees are
     discovered to have expired or become unenforceable. The disclosure of a guarantee
     relationship in Schedule H does not constitute an admission by the Debtors as to the
     effectiveness or enforceability of such guarantee.

     In the ordinary course of businesses, the Debtors may become subject to pending or threatened
     litigation and claims arising out of the conduct of their businesses. These matters may involve
     multiple plaintiffs and defendants, some or all of whom may assert cross-claims and
     counterclaims against other parties. The Debtors have not listed any litigation-related co-
     Debtors in Schedule H. Instead, all such listings to the extent known to the Debtors are listed
     on Schedule E/F.

7.   Specific Statements Disclosures.

     Statements, Part 1, Question 1 – Gross revenue from business. Revenue for fiscal year
     2024 is as of December 31, 2024, and is unaudited. As such, the revenue figure could be
     subject to material adjustments.

     Statements, Part 1, Question 2 – Non-business revenue. Non-business revenue for fiscal
     year 2024 is as of December 31, 2024, and includes such items as interest income, rental
     income on owned and leased property, gain on disposition, and gain on property sales.

     Statements, Part 2, Question 3 – Certain payments or transfers to creditors within 90
     days before filing this case. Prior to the Petition Date, the Debtors maintained a centralized


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     cash management system through which certain Debtors made payments on behalf of certain
     Debtor affiliates, as further explained in the Debtors’ Emergency Motion for Entry of Interim
     and Final Orders (I) Authorizing the Debtors to Continue to (A) Operate Their Cash
     Management System, (B) Honor Certain Prepetition Obligations Related Thereto, and
     (C) Maintain Existing Business Forms and (II) Granting Related Relief [Docket No. 13].

     Payments to insiders made in the ninety-day period before filing (and disclosed as part of the
     one-year period response to Statements, Part 2, Question 4) and payments related to
     bankruptcy in the ninety-day period before filing (and disclosed as part of the one-year period
     response to Statements, Part 6, Question 11) are not included in the response to Statements,
     Part 2, Question 3 – ninety-day payments. As such, there is no overlap or duplication between
     or among the data presented in response to these disclosures.

     Disbursements made on account of multiple invoices may be reflected as a single payment on
     Statements, Part 2, Question 3.

     Statements, Part 2, Question 4 – Payments or other transfers of property made within 1
     year before filing this case that benefited any insider. The listing of any individual or entity
     as an insider does not constitute an admission or a final determination that any such individual
     or entity is or is not an insider. Certain directors and executive officers are directors and
     executive officers of multiple Debtor entities.

     In the ordinary course of business, the Debtors reimburse reasonable expenses incurred by
     insiders, whether such expenses are incurred on a corporate card or an insider’s personal card.
     The majority of expenses incurred by insiders on these cards are business-related expenses,
     including products purchased on behalf of the Debtors, business-related travel, and business
     event accommodations. In some instances, one insider may incur expenses on account of
     multiple individuals, such as booking lodging for multiple employees. Certain non-insider
     employees may also incur such business-related expenses on corporate cards. Although the
     Debtors have endeavored to only list payments made on account of insiders, certain payments
     may reflect reimbursement of expenses incurred by non-insider employees.

     Statements, Part 2, Question 6 – Setoffs. For a discussion of setoffs and nettings incurred
     by the Debtors, refer to section 5(v) of the Global Notes.

     Statements, Part 2, Question 7 – Legal Actions or Assignments. The Debtors have made
     reasonable best efforts to identify all current pending litigation and administrative actions
     involving the Debtors.

     Statements, Part 4, Question 9 – Gifts. With respect to the donation to non-profit
     organization Folds of Honor in the amount of $92,052.67, specifically $69,872 was the
     turnover of customer donations collected by the Debtors for the charity.

     Statements, Part 5, Question 10 – Certain losses. The Debtors occasionally incur losses for
     a variety of reasons, including incidental property damage. The Debtors, however, may not
     have records of all such losses to the extent such losses do not have a material impact on the
     Debtors’ businesses or are not reported for insurance purposes.



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     Statements, Part 6, Question 11 – Payments related to bankruptcy. All payments for
     services of any entities that provided consultation concerning restructuring services, relief
     under the Bankruptcy Code, or preparation of a petition in bankruptcy within one year
     immediately preceding the Petition Date are listed on Zips Car Wash, LLC’s response to
     Statement 11. Payments related to the bankruptcy are reflected on the Statement of the Debtor
     entity that made the payment but are for the benefit of all Debtors. In addition to payments to
     professionals that will be retained by the Debtors, the Debtors included payments to certain
     professionals that are no longer retained by the Debtors and will not be seeing retention in
     these chapter 11 cases. Additional information regarding the Debtors’ retention of
     professional service firms will be described more fully in individual retention applications.

     Statements, Part 7, Question 14 – Previous Addresses. The Debtors occasionally close or
     move car wash locations in the ordinary course of business. Given the number of locations
     that the Debtors operate, the Debtors have not listed formerly leased or owned car wash
     locations that closed prior to the Petition Date.

     Statements, Part 11, Question 21 – Property held for another. As part of their relationship
     with multiple Sonny’s Car Wash Services entities (collectively, “Sonny’s”), at certain car
     wash locations the Debtors store various car wash tunnel chemicals and other
     equipment / supplies. In the ordinary course of business, the Debtors use these chemicals,
     equipment, and supplies. Ownership of such chemicals, equipment, and supplies is considered
     transferred from Sonny’s to the Debtors at the time of use.

     Statements, Part 13, Question 26d – Books, records, and financial statements. The
     Debtors provide certain parties, such as banks, auditors, potential investors, vendors,
     landlords, and financial advisors, with financial statements. The Debtors do not maintain
     complete lists or other records tracking such disclosures. Therefore, the Debtors have not
     provided full lists of these parties.

     Statements, Part 13, Question 28 – Officers and Directors. The Debtors’ response reflects
     director and officer status as of the Petition Date and does not reflect any changes to the
     Debtors’ directors and officers following that date.

     The Debtors have made commercially reasonable efforts to ascertain the positions and
     appointment dates of officers and directors. The Debtors acknowledge the possibility that
     related information may be discovered subsequent to the filing of the Schedules and
     Statements. The Debtors reserve the right to supplement or amend this response in the future
     if additional information becomes available.

     Kevin Nystrom is included in the response to Statements, Part 13, Question 28 in his capacity
     as Chief Transformation Officer of the Debtors. Payments made to AP Services, LLC in the
     one year prior to filing, including any amounts related to his appointment as Chief
     Transformation Officer, are included in the response to Statements, Part 6, Question 11.

     Statements, Part 13, Question 29 – Previous Officers and Directors. The Debtors have
     made commercially reasonable efforts to ascertain the positions of previous officers and
     directors and the period during which said positions were held.



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     Statements, Part 13, Question 30 – Payments, Distributions, or Withdrawals Credited
     or Given to Insiders. Please refer to Statements, Part 2, Question 4 regarding all payments
     to insiders.




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 Fill in this information to identify the case and this filing:

 Debtor Name:                                           Zips Car Wash, LLC

 United States Bankruptcy Court:          the Northern District of Texas Dallas Division

 Case Number (if known):                                 25-80069-11 (MVL)




Form 206A/B

Schedule A/B: Assets - Real and Personal Property
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no
book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


   Part 1:      Cash and cash equivalents


1. Does the debtor have any cash or cash equivalents?
             No. Go to Part 2.
             Yes. Fill in the information below.


  General Description                                                        Type of Account           Last 4 digits of         Current value of
                                                                              (if applicable)           account # (if           debtor's interest
                                                                                                         applicable)


2. Cash on hand

2.1 REGISTER BALANCE (JET BRITE SITES)                                                                                                   $53,200.00
2.2 PETTY CASH (JET BRITE SITES)                                                                                                             $100.00



3. Checking, savings, money market, or financial brokerage accounts (Identify all)

3.1 CENTENNIAL BANK                                                         CHECKING                 7722                             $1,002,143.53
3.2 CENTENNIAL BANK                                                         CHECKING                 9503                                       $0.00
3.3 JPMORGAN CHASE BANK,N.A.                                                CHECKING                 3598                                  $5,000.00
3.4 U.S. BANK, N.A.                                                         CHECKING                 3185                                  $5,000.00
3.5 WELLS FARGO BANK, N.A.                                                  CHECKING                 7868                                  $5,000.00
3.6 CENTENNIAL BANK                                                         CHECKING                 4595                                       $0.00
3.7 CENTENNIAL BANK                                                         CHECKING                 9135                                       $0.00
3.8 CENTENNIAL BANK                                                         CHECKING                 9143                                       $0.00
3.9 CENTENNIAL BANK                                                         CHECKING                 9168                                       $0.00
3.10 CENTENNIAL BANK                                                        CHECKING                 9184                                       $0.00
3.11 CENTENNIAL BANK                                                        CHECKING                 9192                                       $0.00
3.12 CENTENNIAL BANK                                                        CHECKING                 9216                                       $0.00
3.13 CENTENNIAL BANK                                                        CHECKING                 9232                                       $0.00
3.14 CENTENNIAL BANK                                                        CHECKING                 9337                                       $0.00
3.15 CENTENNIAL BANK                                                        CHECKING                 3652                                       $0.00

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Schedule A/B: Assets - Real and Personal Property
    Part 1:        Cash and cash equivalents


  General Description                                                  Type of Account    Last 4 digits of   Current value of
                                                                        (if applicable)    account # (if     debtor's interest
                                                                                            applicable)

3.16 CENTENNIAL BANK                                                   CHECKING           3119                            $0.00
3.17 CENTENNIAL BANK                                                   CHECKING           3176                            $0.00
3.18 CENTENNIAL BANK                                                   CHECKING           2023                            $0.00
3.19 CENTENNIAL BANK                                                   CHECKING           0053                            $0.00
3.20 CENTENNIAL BANK                                                   CHECKING           0608                            $0.00
3.21 CENTENNIAL BANK                                                   CHECKING           8689                            $0.00
3.22 CENTENNIAL BANK                                                   CHECKING           2643                            $0.00
3.23 CENTENNIAL BANK                                                   CHECKING           2668                            $0.00
3.24 CENTENNIAL BANK                                                   CHECKING           9176                            $0.00
3.25 CENTENNIAL BANK                                                   CHECKING           2579                            $0.00
3.26 CENTENNIAL BANK                                                   CHECKING           3240                            $0.00
3.27 CENTENNIAL BANK                                                   CHECKING           5106                            $0.00
3.28 CENTENNIAL BANK                                                   CHECKING           5033                            $0.00
3.29 CENTENNIAL BANK                                                   CHECKING           5082                            $0.00



4. Other cash equivalents (Identify all)

4.1 N/A                                                                                                                   $0.00



5. Total of Part 1.
                                                                                                              $1,070,443.53
   Add lines 2 through 4. Copy the total to line 80.




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    Part 2:       Deposits and prepayments




6. Does the debtor have any deposits or prepayments?
             No. Go to Part 3.
             Yes. Fill in the information below.


 General Description                                                                      Current value of debtor's
                                                                                                  interest


7. Deposits, including security deposits and utility deposits
   Description, including name of holder of deposit

7.1 UTILITY LETTER OF CREDIT AT CENTENNIAL BANK                                                           $524,990.00
7.2 SECURITY DEPOSIT FOR ZIPS LITTLE ROCK OFFICE                                                            $1,071.72
7.3 SECURITY DEPOSIT FOR ZIPS DALLAS OFFICE                                                                $41,114.50
7.4 LEASE DEPOSIT FOR REAL PROPERTY AT 1942 10TH AVE,MYRTLE BEACH,SC 29579                                  $3,600.00
7.5 LEASE DEPOSIT FOR REAL PROPERTY AT 1212 HWY 17 S,NORTH MYRTLE BEACH,SC 29582                           $15,000.00
7.6 LEASE DEPOSIT FOR REAL PROPERTY AT 806 PATTON AVE,ASHEVILLE,NC 28806                                   $24,000.00
7.7 UTILITY SERVICE SECURITY DEPOSITS FOR LOCATION: 8010 KINGS HWY, MYRTLE BEACH                           $28,075.07
    SC
7.8 GEORGIA POWER, SECURITY DEPOSIT FOR LOCATION: 802 S PARK                                                 $100.00
    STREET,CARROLLTON,GA 30117
7.9 AMEREN MISSOURI, SECURITY DEPOSIT FOR LOCATION: 10215 WATSON ROAD,ST.                                   $3,323.83
    LOUIS,MO 63127
7.10 AMEREN, SECURITY DEPOSIT FOR LOCATION: 3142 S. BRENTWOOD BLVD,ST. LOUIS,MO                              $369.02
     63119
7.11 AMEREN, SECURITY DEPOSIT FOR LOCATION: 3701 SOUTHERN MANOR DRIVE,ST.                                   $3,128.00
     LOUIS,MO 63125
7.12 AMEREN MISSOURI , SECURITY DEPOSIT FOR LOCATION: 10799 PAGE AVENUE,ST.                                 $4,664.25
     LOUIS,MO 63132
7.13 AMEREN, SECURITY DEPOSIT FOR LOCATION: 2601 OLD MUEGGE ROAD,ST. CHARLES,MO                             $6,434.00
     63303
7.14 AMEREN, SECURITY DEPOSIT FOR LOCATION: 7860 MEXICO ROAD, ST. PETERS, MO 63376                          $7,904.00
7.15 CITY OF ROCK HILL, SECURITY DEPOSIT FOR LOCATION: 2178 N. CHERRY ROAD,ROCK                            $10,825.00
     HILL,SC 29730
7.16 SOUTHWESTERN ELECTRIC POWER (APPALACHIAN POWER), SECURITY DEPOSIT FOR                                  $9,576.49
     LOCATION: 7616 TIMBERLAKE RD,LYNCHBURG,VA 24502
7.17 SOUTHWESTERN ELECTRIC POWER (APPALACHIAN POWER), SECURITY DEPOSIT FOR                                  $8,008.00
     LOCATION: 4035 CHALLENGER AVENUE,ROANOKE,VA 46818
7.18 ATMOS ENERGY, SECURITY DEPOSIT FOR LOCATION: 453 CAMPBELL ROAD,BOWLING                                  $350.00
     GREEN,KY 42101
7.19 CITY OF LYNCHBURG, SECURITY DEPOSIT FOR LOCATION: 3210 OLD FOREST                                       $900.00
     RD,LYNCHBURG,VA 24501
7.20 IDAHO POWER, SECURITY DEPOSIT FOR LOCATION: 12345 WEST FAIRVIEW                                       $24,632.00
     AVENUE,BOISE,ID 83713



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                                                                                            interest


7.21 BOWLING GREEN MUNICIPAL UTILITIES, SECURITY DEPOSIT FOR LOCATION: 453                           $16,035.00
   CAMPBELL ROAD,BOWLING GREEN,KY 42101
7.22 CARROLL ELECTRIC COMPANY, SECURITY DEPOSIT FOR LOCATION: 2000 W. PLEASANT                       $10,555.00
   GROVE ROAD,ROGERS,AR 72758
7.23 CENTERPOINT ENERGY, SECURITY DEPOSIT FOR LOCATION: 620 S. BOWMAN                                    $75.00
   ROAD,LITTLE ROCK,AR 72211
7.24 CENTERPOINT ENERGY, SECURITY DEPOSIT FOR LOCATION: 9500 RODNEY PARHAM                               $75.00
   ROAD,LITTLE ROCK,AR 72227
7.25 CENTERPOINT ENERGY, SECURITY DEPOSIT FOR LOCATION: 2910 KITTY                                      $200.00
   LANE,SHREVEPORT,LA 71107
7.26 CENTERPOINT ENERGY, SECURITY DEPOSIT FOR LOCATION: 8660 YOUREE                                     $200.00
   DRIVE,SHREVEPORT,LA 71115
7.27 CENTRAL ARKANSAS WATER, SECURITY DEPOSIT FOR LOCATION: 14021 CANTRELL                           $16,893.13
   ROAD,LITTLE ROCK,AR 72223
7.28 CHATTANOOGA GAS, SECURITY DEPOSIT FOR LOCATION: 4907 TN-58,CHATTANOOGA,TN                          $560.00
   37416
7.29 CHEROKEE COUNTY WATER & SEWERAGE , SECURITY DEPOSIT FOR LOCATION: 2907                             $225.00
   EAGLE DRIVE,WOODSTOCK,GA 30198
7.30 ARLINGTON WATER UTILITIES, SECURITY DEPOSIT FOR LOCATION: 4651 LITTLE                            $6,300.00
   ROAD,ARLINGTON,TX 76017
7.31 CITY OF AVON PARK, SECURITY DEPOSIT FOR LOCATION: 1101 US HWY 27 ,NORTH AVON                       $300.00
   PARK,FL 33825
7.32 CITY OF BROKEN ARROW, SECURITY DEPOSIT FOR LOCATION: 3450 W. KENOSHA                             $1,500.00
   STREET,BROKEN ARROW,OK 74012
7.33 CITY OF BRYANT, SECURITY DEPOSIT FOR LOCATION: 1900 N. REYNOLDS                                    $590.00
   ROAD,BRYANT,AR 72022
7.34 DUKE ENERGY, SECURITY DEPOSIT FOR LOCATION: 4102 CLEMSON BLVD,ANDERSON,SC                        $9,590.00
   29621
7.35 CITY OF CORNELIA, SECURITY DEPOSIT FOR LOCATION: 155 FINIS SPRINGS                                 $100.00
   DRIVE,CORNELIA,GA 30531
7.36 CITY OF EDMOND, SECURITY DEPOSIT FOR LOCATION: 1308 S. SANTA FE                                 $10,450.00
   AVE.,EDMOND,OK 73003
7.37 CITY OF FAYETTEVILLE, SECURITY DEPOSIT FOR LOCATION: 3107 W. WEDINGTON                             $700.00
   DRIVE,FAYETTEVILLE,AR 72704
7.38 CITY OF FORT WORTH WATER DEPT., SECURITY DEPOSIT FOR LOCATION: 5900 QUEBEC                      $41,360.00
   ST.,FORT WORTH,TX 76135
7.39 CITY OF FORT WORTH WATER DEPT., SECURITY DEPOSIT FOR LOCATION: 301 E. RENDON                    $22,998.00
   CROWLEY,BURLESON,TX 76208
7.40 CITY OF GAINESVILLE, SECURITY DEPOSIT FOR LOCATION: 4040 WINDER                                    $400.00
   HIGHWAY,FLOWERY BRANCH,GA 30542
7.41 CITY OF HALTOM CITY (FALTOM), SECURITY DEPOSIT FOR LOCATION: 6221 DENTON                           $500.00
   HIGHWAY,HALTOM CITY,TX 76148
7.42 CITY OF HURST, SECURITY DEPOSIT FOR LOCATION: 1641 PRECINCT LINE                                 $5,000.00
   ROAD,HURST,TX 76054


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                                                                                              interest


7.43 CITY OF LINCOLNTON, SECURITY DEPOSIT FOR LOCATION: 2116 E MAIN                                     $2,000.00
   STREET,LINCOLNTON,NC 28092
7.44 CITY OF MANSFIELD, SECURITY DEPOSIT FOR LOCATION: 701 WEST DEBBIE                                    $300.00
   LANE,MANSFIELD,TX 76063
7.45 CITY OF MARION, SECURITY DEPOSIT FOR LOCATION: 309 W HENDERSON                                       $325.00
   STREET,MARION,NC 28752
7.46 CITY OF MCKINNEY, SECURITY DEPOSIT FOR LOCATION: 1590 S. CUSTER                                    $4,250.00
   ROAD,MCKINNEY,TX 75070
7.47 CITY OF MILTON, SECURITY DEPOSIT FOR LOCATION: 6155 US-90,MILTON,FL 32570                            $120.00
7.48 CITY OF MIRAMAR, SECURITY DEPOSIT FOR LOCATION: 1801 S. PALM                                         $475.00
   AVENUE,MIRAMAR,FL 33025
7.49 CITY OF MYRTLE BEACH UTILITY, SECURITY DEPOSIT FOR LOCATION: 2755 AGNES                              $193.40
   LANE,MYRTLE BEACH,SC 29577
7.50 CITY OF MYRTLE BEACH UTILITY, SECURITY DEPOSIT FOR LOCATION: 2089 HIGHWAY                            $193.40
   501,MYRTLE BEACH,SC 29577
7.51 CITY OF MYRTLE BEACH UTILITY, SECURITY DEPOSIT FOR LOCATION: 1942 10TH                                $96.60
   AVE,MYRTLE BEACH,SC 29579
7.52 CITY OF MYRTLE BEACH UTILITY BILLING, SECURITY DEPOSIT FOR LOCATION: 1942 10TH                        $96.60
   AVE,MYRTLE BEACH,SC 29579
7.53 CITY OF NORMAN, SECURITY DEPOSIT FOR LOCATION: 950 SONOMA PARK                                       $100.00
   DR.,NORMAN,OK 73071
7.54 CITY OF NORTH MYRTLE BEACH, SECURITY DEPOSIT FOR LOCATION: 1212 HWY 17                             $2,600.00
   S,NORTH MYRTLE BEACH,SC 29582
7.55 CITY OF OKLAHOMA CITY, SECURITY DEPOSIT FOR LOCATION: 7323 N.W.                                      $225.00
   EXPRESSWAY,OKLAHOMA CITY,OK 73122
7.56 CITY OF OKLAHOMA CITY, SECURITY DEPOSIT FOR LOCATION: 8300 S WESTERN                                 $200.00
   AVE.,OKLAHOMA CITY,OK 73139
7.57 CITY OF OKLAHOMA CITY, SECURITY DEPOSIT FOR LOCATION: 2801 N CLASSEN                               $1,000.00
   BLVD,OKLAHOMA CITY,OK 73106
7.58 CITY OF OLIVE BRANCH, SECURITY DEPOSIT FOR LOCATION: 6810 GOODMAN                                    $131.60
   ROAD,OLIVE BRANCH,MS 38654
7.59 CITY OF PLAINVIEW, SECURITY DEPOSIT FOR LOCATION: 4101 OLTON                                       $3,200.00
   ROAD,PLAINVIEW,TX 79072
7.60 CITY OF ROCKMART, SECURITY DEPOSIT FOR LOCATION: 1464 CHATTAHOOCHEE                               $10,388.34
   DR,ROCKMART,GA 30153
7.61 CITY OF SALEM, SECURITY DEPOSIT FOR LOCATION: 1706 W MAIN STREET,SALEM,VA                          $1,050.00
   24153
7.62 CITY OF SAN ANGELO, SECURITY DEPOSIT FOR LOCATION: 4106 SHERWOOD WAY,SAN                             $640.00
   ANGELO,TX 76901
7.63 CITY OF SAN ANGELO, SECURITY DEPOSIT FOR LOCATION: 3402 KNICKERBOCKER                                $970.00
   ROAD,SAN ANGELO,TX 76904
7.64 CITY OF SAN ANGELO, SECURITY DEPOSIT FOR LOCATION: 2704 N BRYANT                                     $640.00
   BLVD,ROSWELL,TX 76903



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                                                                                              interest


7.65 CITY OF SEVIERVILLE, SECURITY DEPOSIT FOR LOCATION: 994 PARKWAY, SEVIERVILLE,                      $8,025.00
   TN 37862
7.66 CITY OF SEVIERVILLE, SECURITY DEPOSIT FOR CORPORATE OFFICES                                           $25.00
7.67 CITY OF SILOAM SPRINGS, SECURITY DEPOSIT FOR LOCATION: 300 HIGHWAY 412,SILOAM                        $155.00
   SPRINGS,AR 72761
7.68 CITY OF SAINT CHARLES, SECURITY DEPOSIT FOR LOCATION: 2601 OLD MUEGGE                                 $50.00
   ROAD,ST. CHARLES,MO 63303
7.69 CITY OF ST. LOUIS, SECURITY DEPOSIT FOR LOCATION: 3410 S. KINGSHIGHWAY,ST.                         $1,000.00
   LOUIS,MO 63139
7.70 CITY OF TULSA, SECURITY DEPOSIT FOR LOCATION: 3912 S. SHERIDAN ROAD,TULSA,OK                       $7,500.00
   74145
7.71 CITY OF TULSA, SECURITY DEPOSIT FOR LOCATION: 9553 S. RIVERSIDE DRIVE,TULSA,OK                     $5,000.00
   74137
7.72 CITY OF UNIVERSAL CITY, SECURITY DEPOSIT FOR LOCATION: 2809 PAT BOOKER                             $9,647.00
   ROAD,UNIVERSAL CITY,TX 78148
7.73 WESTWORTH VILLAGE UTILITY SERVICES, SECURITY DEPOSIT FOR LOCATION: 6705                              $300.00
   WESTWORTH BLVD,WESTWORTH VILLAGE,TX 76114
7.74 COBB EMC, SECURITY DEPOSIT FOR LOCATION: 8875 DALLAS-ACWORTH HWY,DALLAS,GA                        $13,000.00
   30132
7.75 COLUMBIA GAS OF VA, SECURITY DEPOSIT FOR LOCATION: 3805 WARDS                                      $1,003.75
   ROAD,LYNCHBURG,VA 24502
7.76 CONWAY CORPORATION, SECURITY DEPOSIT FOR LOCATION: 1012 EAST OAK                                  $11,500.00
   STREET,CONWAY,AR 72032
7.77 COSERV, SECURITY DEPOSIT FOR LOCATION: 1590 S. CUSTER ROAD,MCKINNEY,TX 75070                       $1,540.00
7.78 DORCHESTER COUNTY WATER, SECURITY DEPOSIT FOR LOCATION: 3955 ASHLEY                                  $200.00
   PHOSPHATE ROAD,NORTH CHARLESTON,SC 29418
7.79 DUKE ENERGY, SECURITY DEPOSIT FOR LOCATION: 12167 MONTGOMERY                                         $480.00
   ROAD,HAMILTON,OH 45249
7.80 DUKE ENERGY, SECURITY DEPOSIT FOR LOCATION: 1143 TUNNEL ROAD,ASHEVILLE,NC                          $1,000.00
   28805
7.81 DUKE ENERGY, SECURITY DEPOSIT FOR LOCATION: 301 GRAND HILL PLACE,HOLLY                             $1,000.00
   SPRINGS,NC 27540
7.82 DUKE ENERGY, SECURITY DEPOSIT FOR LOCATION: 2971 ALAFAYA TRAIL,OVIEDO,FL                           $1,860.00
   32765
7.83 DUKE ENERGY, SECURITY DEPOSIT FOR LOCATION: 994 PARKWAY, SEVIERVILLE, TN                          $11,430.00
   37862
7.84 DUKE ENERGY, SECURITY DEPOSIT FOR LOCATION: 2117 NORTH HIGHWAY                                     $8,285.00
   81,ANDERSON,SC 29621
7.85 DUKE ENERGY, SECURITY DEPOSIT FOR LOCATION: 806 PATTON AVE,ASHEVILLE,NC                            $3,471.00
   28806
7.86 DUKE ENERGY, SECURITY DEPOSIT FOR LOCATION: 3910 OXFORD STATION                                    $6,500.00
   WAY,WINSTON-SALEM,NC 27103
7.87 DUKE ENERGY, SECURITY DEPOSIT FOR LOCATION: 5211 UNIVERSITY                                        $5,635.00
   PARKWAY,WINSTON-SALEM,NC 27106

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 General Description                                                                 Current value of debtor's
                                                                                             interest


7.88 DUKE ENERGY, SECURITY DEPOSIT FOR LOCATION: 6317 STADIUM DRIVE,CLEMMONS,NC                        $6,945.00
   27012
7.89 DUKE ENERGY, SECURITY DEPOSIT FOR LOCATION: 1704 E BROAD                                          $1,008.50
   AVENUE,ROCKINGHAM,NC 28379
7.90 DUKE ENERGY, SECURITY DEPOSIT FOR LOCATION: 11571 US HIGHWAY 70                                   $8,584.00
   WEST,CLAYTON,NC 27520
7.91 DUKE ENERGY, SECURITY DEPOSIT FOR LOCATION: 7510 PURFOY ROAD,FUQUAY-                              $9,038.00
   VARINA,NC 27526
7.92 DUKE ENERGY, SECURITY DEPOSIT FOR LOCATION: 9200 BRIER CREEK                                      $5,434.00
   PARKWAY,RALEIGH,NC 27617
7.93 DUKE ENERGY, SECURITY DEPOSIT FOR LOCATION: 2402 WAKE FOREST                                      $6,362.00
   ROAD,RALEIGH,NC 27608
7.94 DUKE ENERGY, SECURITY DEPOSIT FOR LOCATION: 2121 S. MAIN STREET,WAKE                              $8,071.33
   FOREST,NC 27587
7.95 DUKE ENERGY, SECURITY DEPOSIT FOR LOCATION: 11346 PRINCETON                                         $100.00
   PIKE,SPRINGDALE,OH 45246
7.96 CITY OF BENTONVILLE, SECURITY DEPOSIT FOR LOCATION: 1004 S. WALTON                                   $15.00
   BLVD.,BENTONVILLE,AR 72712
7.97 ELECTRIC CITY UTILITIES, SECURITY DEPOSIT FOR LOCATION: 4102 CLEMSON                                $100.00
   BLVD,ANDERSON,SC 29621
7.98 EMERALD COAST UTILITIES, SECURITY DEPOSIT FOR LOCATION: 7106 NORTH DAVIS                            $724.50
   HIGHWAY,PENSACOLA,FL 32504
7.99 ENTERGY, SECURITY DEPOSIT FOR LOCATION: 1900 N. REYNOLDS ROAD,BRYANT,AR                           $1,766.00
   72022
7.100 ENTERGY, SECURITY DEPOSIT FOR LOCATION: 14021 CANTRELL ROAD,LITTLE ROCK,AR                       $8,460.00
    72223
7.101 ENTERGY, SECURITY DEPOSIT FOR CORPORATE OFFICES                                                    $306.00
7.102 FLORIDA POWER & LIGHT, SECURITY DEPOSIT FOR LOCATION: 1801 S. PALM                               $2,989.00
    AVENUE,MIRAMAR,FL 33025
7.103 FLORIDA POWER & LIGHT, SECURITY DEPOSIT FOR LOCATION: 3952 PINEHURST                             $4,662.00
    DRIVE,LAKE WORTH,FL 33467
7.104 GEORGIA NATURAL GAS, SECURITY DEPOSIT FOR LOCATION: 1464 CHATTAHOOCHEE                             $501.75
    DR,ROCKMART,GA 30153
7.105 GEORGIA NATURAL GAS, SECURITY DEPOSIT FOR LOCATION: 2907 EAGLE                                     $250.00
    DRIVE,WOODSTOCK,GA 30198
7.106 GEORGIA POWER, SECURITY DEPOSIT FOR LOCATION: 155 FINIS SPRINGS                                     $30.00
    DRIVE,CORNELIA,GA 30531
7.107 GEORGIA POWER, SECURITY DEPOSIT FOR LOCATION: 40091 HIGHWAY 441                                    $230.00
    SOUTH,SOUTH COMMERCE,GA 30529
7.108 GEORGIA POWER, SECURITY DEPOSIT FOR LOCATION: 10000 ABERCORN                                     $9,533.00
    ST,SAVANNAH,GA 31406
7.109 GEORGIA POWER, SECURITY DEPOSIT FOR LOCATION: 302 COMMERCIAL                                    $11,507.00
    DR,SAVANNAH,GA 31406
7.110 GEORGIA POWER, SECURITY DEPOSIT FOR LOCATION: 4747 U.S. 80,SAVANNAH,GA 31410                     $9,950.00

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Schedule A/B: Assets - Real and Personal Property
  Part 2:    Deposits and prepayments


 General Description                                                                 Current value of debtor's
                                                                                             interest


7.111 GWINNETT COUNTY DEPT OF WATER; CITY OF LOGANVILLE, SECURITY DEPOSIT FOR                            $300.00
    LOCATION: 2585 LOGANVILLE HWY,GRAYSON,GA 30017
7.112 HARGRAY COMMUNICATIONS, SECURITY DEPOSIT FOR LOCATION: 1008 FORDING                              $1,043.85
    ISLAND RD,BLUFFTON,SC 29910
7.113 IDAHO POWER, SECURITY DEPOSIT FOR LOCATION: 1122 BLUE LAKES BLVD                                $12,175.00
    NORTH,TWIN FALLS,ID 83301
7.114 IDAHO POWER, SECURITY DEPOSIT FOR LOCATION: 1717 WEST ISLAND GREEN                               $9,290.00
    DRIVE,MERIDIAN,ID 83646
7.115 PALMETTO, SECURITY DEPOSIT FOR LOCATION: 8250 PINELLAS DR,BLUFFTON,SC 29910                     $19,506.25
7.116 PALMETTO, SECURITY DEPOSIT FOR LOCATION: 1008 FORDING ISLAND                                    $15,089.58
    RD,BLUFFTON,SC 29910
7.117 PALMETTO, SECURITY DEPOSIT FOR LOCATION: 1008 B WILLIAM HILTON PKWY,HILTON                      $15,089.58
    HEAD ISLAND,SC 29928
7.118 PALMETTO, SECURITY DEPOSIT FOR LOCATION: 7 BAYLOR BROOK DR,OKATIE,SC 29909                      $18,330.58
7.119 JACKSON EMC, SECURITY DEPOSIT FOR LOCATION: 4040 WINDER HIGHWAY,FLOWERY                            $955.00
    BRANCH,GA 30542
7.120 CITY OF JASPER, SECURITY DEPOSIT FOR LOCATION: 3661 NEWTON STREET,JASPER,IN                      $9,100.00
    47546
7.121 LG&E, SECURITY DEPOSIT FOR LOCATION: 7773 DIXIE HIGHWAY,LOUISVILLE,KY 40258                     $10,182.89
7.122 LG&E, SECURITY DEPOSIT FOR LOCATION: 4590 S HURSTBOURNE PKWY,LOUISVILLE,KY                       $1,000.00
    40299
7.123 KENTUCKY UTILITIES , SECURITY DEPOSIT FOR LOCATION: 4860 CANE RUN                               $10,689.05
    ROAD,LOUISVILLE,KY 40216
7.124 LIBERTY UTILITIES, SECURITY DEPOSIT FOR LOCATION: 1309 S MADISON STREET,WEBB                     $5,000.00
    CITY,MO 64870
7.125 MANITOWOC PUBLIC UTILITIES, SECURITY DEPOSIT FOR LOCATION: 3601 CALUMET                          $9,000.00
    AVE,MANITOWOC,WI 54220
7.126 NEW CANEY M.U.D. , SECURITY DEPOSIT FOR LOCATION: 23685 WALTON AVE,NEW                           $2,000.00
    CANEY,TX 77357
7.127 NORTH LITTLE ROCK ELECTRIC, SECURITY DEPOSIT FOR LOCATION: 7900 HIGHWAY                          $7,000.00
    107,SHERWOOD,AR 72120
7.128 NORTHCENTRAL ELECTRIC POWER, SECURITY DEPOSIT FOR LOCATION: 6810                                 $7,000.00
    GOODMAN ROAD,OLIVE BRANCH,MS 38654
7.129 OCONEE COUNTY WATER RESOURCES, SECURITY DEPOSIT FOR LOCATION: 1000 HOG                           $2,210.00
    MOUNTAIN ROAD,WATKINSVILLE,GA 30677
7.130 OG&E, SECURITY DEPOSIT FOR LOCATION: 7323 N.W. EXPRESSWAY,OKLAHOMA CITY,OK                          $25.00
    73122
7.131 OG&E, SECURITY DEPOSIT FOR LOCATION: 5807 W. RENO AVE.,OKLAHOMA CITY,OK                             $25.00
    73127
7.132 OG&E, SECURITY DEPOSIT FOR LOCATION: 13408 N. MACARTHUR BLVD.,OKLAHOMA                              $25.00
    CITY,OK 73142
7.133 PACE WATER SYSTEM; CITY OF MILTON, SECURITY DEPOSIT FOR LOCATION: 6155 US-                         $100.00
    90,MILTON,FL 32570



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  Part 2:    Deposits and prepayments


 General Description                                                               Current value of debtor's
                                                                                           interest


7.134 PACE WATER SYSTEM, SECURITY DEPOSIT FOR LOCATION: 4254 WOODBINE                                  $150.00
    ROAD,PACE,FL 32571
7.135 PALM BEACH COUNTY WATER, SECURITY DEPOSIT FOR LOCATION: 3952 PINEHURST                           $240.00
    DRIVE,LAKE WORTH,FL 33467
7.136 PUBLIC SERVICE CO., SECURITY DEPOSIT FOR LOCATION: 3912 S. SHERIDAN                            $4,353.00
    ROAD,TULSA,OK 74145
7.137 PUBLIC SERVICE CO., SECURITY DEPOSIT FOR LOCATION: 9553 S. RIVERSIDE                           $4,852.00
    DRIVE,TULSA,OK 74137
7.138 PUBLIC SERVICE CO., SECURITY DEPOSIT FOR LOCATION: 3450 W. KENOSHA                             $3,269.00
    STREET,BROKEN ARROW,OK 74012
7.139 RELIANT ENERGY, SECURITY DEPOSIT FOR LOCATION: 301 E. RENDON                                     $200.00
    CROWLEY,BURLESON,TX 76208
7.140 RELIANT ENERGY, SECURITY DEPOSIT FOR LOCATION: 5900 QUEBEC ST.,FORT                            $6,900.00
    WORTH,TX 76135
7.141 ROGERS WATER UTILITIES, SECURITY DEPOSIT FOR LOCATION: 2851 W. WALNUT                            $290.00
    STREET,ROGERS,AR 72756
7.142 ROGERS WATER UTILITIES, SECURITY DEPOSIT FOR LOCATION: 2000 W. PLEASANT                          $345.00
    GROVE ROAD,ROGERS,AR 72758
7.143 HABERSHAM EMC, SECURITY DEPOSIT FOR LOCATION: 71 JESSE MAE THURMOND                              $200.00
    CONNECTOR,CLEVELAND,GA 30528
7.144 SEVIER COUNTY ELECTRIC SYSTEM, SECURITY DEPOSIT FOR LOCATION: 994 PARKWAY,                    $10,000.00
    SEVIERVILLE, TN 37862
7.145 CITY OF LOGANVILLE, SECURITY DEPOSIT FOR LOCATION: 2585 LOGANVILLE                               $500.00
    HWY,GRAYSON,GA 30017
7.146 WALTON EMC, SECURITY DEPOSIT FOR LOCATION: 125 ATHENS HWY,LOGANVILLE,GA                       $10,300.00
    30052
7.147 SAN ANTONIO WATER SYSTEM, SECURITY DEPOSIT FOR LOCATION: 8242 FM                                 $594.00
    78,CONVERSE,TX 78109
7.148 SANTEE COOPER, SECURITY DEPOSIT FOR LOCATION: 593 INTERNATIONAL                                $5,634.07
    DRIVE,MYRTLE BEACH,SC 29579
7.149 SANTEE COOPER, SECURITY DEPOSIT FOR LOCATION: 2755 AGNES LANE,MYRTLE                           $8,400.00
    BEACH,SC 29577
7.150 SANTEE COOPER, SECURITY DEPOSIT FOR LOCATION: 1212 HWY 17 S,NORTH MYRTLE                       $6,200.00
    BEACH,SC 29582
7.151 SANTEE COOPER, SECURITY DEPOSIT FOR LOCATION: 4404 HIGHWAY 17 SOUTH,NORTH                     $15,365.93
    MYRTLE BEACH,SC 29582
7.152 SANTEE COOPER, SECURITY DEPOSIT FOR LOCATION: 1604 HWY. 17 N.,NORTH MYRTLE                    $13,000.00
    BEACH,SC 29582
7.153 SANTEE COOPER, SECURITY DEPOSIT FOR LOCATION: 2089 HIGHWAY 501,MYRTLE                         $11,500.00
    BEACH,SC 29577
7.154 SANTEE COOPER, SECURITY DEPOSIT FOR LOCATION: 509 GARDEN CITY                                 $13,000.00
    CONNECTOR,MURRELLS INLET,SC 29576
7.155 SANTEE COOPER, SECURITY DEPOSIT FOR LOCATION: 1942 10TH AVE,MYRTLE                             $9,900.00
    BEACH,SC 29579


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   Part 2:        Deposits and prepayments


  General Description                                                                              Current value of debtor's
                                                                                                           interest


7.156 DOMINION ENERGY, SECURITY DEPOSIT FOR LOCATION: 2727 HIGHWAY 17                                               $14,470.00
      NORTH,MOUNT PLEASANT,SC 29466
7.157 DOMINION ENERGY, SECURITY DEPOSIT FOR LOCATION: 3955 ASHLEY PHOSPHATE                                          $2,956.25
      ROAD,NORTH CHARLESTON,SC 29418
7.158 SEMINOLE COUNTY, SECURITY DEPOSIT FOR LOCATION: 2971 ALAFAYA TRAIL,OVIEDO,FL                                     $840.00
      32765
7.159 SENECA LIGHT & WATER, SECURITY DEPOSIT FOR LOCATION: 1113 JENNINGS                                             $8,000.00
      AVE,SENECA,SC 29627
7.160 SOUTH ISLAND PUBLIC SERVICE DISTRICT, SECURITY DEPOSIT FOR LOCATION: 1008 B                                    $5,396.34
      WILLIAM HILTON PKWY,HILTON HEAD ISLAND,SC 29928
7.161 TOWN OF CLAYTON, SECURITY DEPOSIT FOR LOCATION: 11571 US HIGHWAY 70                                           $18,442.00
      WEST,CLAYTON,NC 27520
7.162 TOWN OF LITTLE ELM, SECURITY DEPOSIT FOR LOCATION: 2073 FM 423,LITTLE ELM,TX                                   $1,261.24
      75068
7.163 UNITED COOPERATIVE, SECURITY DEPOSIT FOR LOCATION: 3601 E. US HWY                                              $5,400.00
      377,GRANBURY,TX 76049
7.164 UTILITY BILLING SERVICES, SECURITY DEPOSIT FOR LOCATION: 7900 HIGHWAY                                            $650.00
      107,SHERWOOD,AR 72120
7.165 UTILITY BILLING SERVICES , SECURITY DEPOSIT FOR LOCATION: 2702 S.                                              $6,650.00
      SHACKLEFORD,LITTLE ROCK,AR 72205
7.166 ENTERGY, SECURITY DEPOSIT FOR LOCATION: 620 S. BOWMAN ROAD,LITTLE ROCK,AR                                      $6,750.00
      72211
7.167 UTILITY BILLING SERVICES , SECURITY DEPOSIT FOR LOCATION: 12301 MAUMELLE                                         $150.00
      BLVD.,NORTH LITTLE ROCK,AR 72113
7.168 ENTERGY, SECURITY DEPOSIT FOR LOCATION: 9500 RODNEY PARHAM ROAD,LITTLE                                           $520.00
      ROCK,AR 72227
7.169 DUKE ENERGY, SECURITY DEPOSIT FOR LOCATION: 701 E LEWIS AND CLARK                                              $2,654.00
      PKWY,CLARKSVILLE,IN 47129
7.170 WALTON EMC, SECURITY DEPOSIT FOR LOCATION: 1000 HOG MOUNTAIN                                                  $13,000.00
      ROAD,WATKINSVILLE,GA 30677
7.171 CITY OF WEBB CITY, SECURITY DEPOSIT FOR LOCATION: 1309 S MADISON STREET,WEBB                                     $250.00
      CITY,MO 64870
7.172 WESTAR ENERGY, SECURITY DEPOSIT FOR LOCATION: 565 S. ANDOVER                                                   $1,585.00
      ROAD,ANDOVER,KS 67002
7.173 CITY OF LYNCHBURG, SECURITY DEPOSIT FOR LOCATION: 3805 WARDS                                                     $100.00
      ROAD,LYNCHBURG,VA 24502



8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment

8.1 PREPAID INSURANCE                                                                                              $240,130.00
8.2 PREPAID SOFTWARE SUBSCRIPTIONS/SERVICES - QUICKBOOKS                                                               $772.17
8.3 PREPAID SOFTWARE SUBSCRIPTIONS/SERVICES - ARCADIA                                                               $15,270.45
8.4 PREPAID SOFTWARE SUBSCRIPTIONS/SERVICES - SALESFORCE INC.                                                      $151,067.29


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    Part 2:        Deposits and prepayments


  General Description                                                                       Current value of debtor's
                                                                                                    interest


8.5 PREPAID SOFTWARE SUBSCRIPTIONS/SERVICES - TANGO ANALYTICS                                                $51,671.24
8.6 PREPAID SERVICE EXPENSES - CCH INCORPORATED                                                                 $957.00
8.7 PREPAID SERVICE EXPENSES - INNOVATIVE CONTROL SYSTEMS                                                     $8,585.83
8.8 PREPAID SERVICE EXPENSES - UMI, LLC                                                                     $277,992.17
8.9 PREPAID SERVICE EXPENSES - AMP                                                                            $1,637.62
8.10 PREPAID SERVICE EXPENSES - DOMO, INC                                                                    $18,000.00
8.11 PREPAID SERVICE EXPENSES - CITY OF DANVILLE, VA                                                          $9,093.01
8.12 PREPAID SERVICE EXPENSES - DRB SYSTEMS                                                                   $7,288.08
8.13 PREPAID SERVICE EXPENSES - SCENTED PROMOTIONS LLC                                                        $3,249.74
8.14 PREPAID SERVICE EXPENSES - TALENTCARE LLC                                                                  $356.39
8.15 PREPAID SERVICE EXPENSES - AMAZON                                                                          $433.33
8.16 PREPAID SERVICE EXPENSES - SALESFORCE INC.                                                                 $383.33
8.17 PREPAID SERVICE EXPENSES - HIS WORKPLACE COMPLIANCE SOLUTIONS, INC                                      $54,558.00
8.18 PREPAID SERVICE EXPENSES - OTHER SUPPLIER/VENDOR                                                         $3,472.50
8.19 PREPAID EXPENSE FOR COUNTY ORCHARD ESTATES, INC. LEASES                                                 $48,744.25
8.20 PREPAID EXPENSE FOR COUNTY ORCHARD ESTATES, INC. LEASES                                                 $77,974.44
8.21 PREPAID EXPENSE FOR JOSEPH CAMPBELL LEASES                                                               $7,171.00
8.22 PREPAID EXPENSE FOR PATRICK CULLEN LEASES                                                                $7,619.10
8.23 PREPAID EXPENSE FOR VILLAGE OF BOLINGBROOK                                                               $3,400.00
8.24 PREPAID EXPENSE FOR WESTWOOD FINANCIAL                                                                     $453.89
8.25 PREPAID EXPENSE FOR HARLEM LLC                                                                           $2,500.00
8.26 PREPAID EXPENSE FOR KROGER                                                                                 $554.24



9. Total of Part 2.
   Add lines 7 through 8. Copy the total to line 81.
                                                                                                      $2,449,780.46




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Schedule A/B: Assets - Real and Personal Property
    Part 3:       Accounts receivable




10. Does the debtor have any accounts receivable?
            No. Go to Part 4.
            Yes. Fill in the information below.


 General Description                                             Face or requested            Doubtful or      Current value of
                                                                 amount                       uncollectable    debtor's interest


11. Accounts receivable

11.1 A. 90 DAYS OLD OR LESS:                                   $3,208,932.72           -   $0.00              = $3,208,932.72
11.2 B. OVER 90 DAYS OLD:                                      $183,838.60             -   $0.00              = $183,838.60



12. Total of Part 3.
                                                                                                                    $3,392,771.32
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.




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Schedule A/B: Assets - Real and Personal Property
    Part 4:       Investments




13. Does the debtor own any investments?
            No. Go to Part 5.
            Yes. Fill in the information below.


 General Description                                                        Valuation method used for   Current value of debtor's
                                                                            current value                       interest


14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:

14.1 N/A




15. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
    partnership, or joint venture
    Name of entity:

15.1 ZIPS 2900 WADE HAMPTON, LLC (OWNERSHIP 100%)                         N/A                                        UNDETERMINED

15.2 ZIPS 3107 N. PLEASANTBURG, LLC (OWNERSHIP 100%)                      N/A                                        UNDETERMINED

15.3 ZIPS 6050 WADE HAMPTON, LLC (OWNERSHIP 100%)                         N/A                                        UNDETERMINED

15.4 ZIPS PORTFOLIO I, LLC (OWNERSHIP 100%)                               N/A                                        UNDETERMINED

15.5 ZIPS PORTFOLIO II, LLC (OWNERSHIP 100%)                              N/A                                        UNDETERMINED

15.6 ZIPS PORTFOLIO III, LLC (OWNERSHIP 100%)                             N/A                                        UNDETERMINED

15.7 ZIPS PORTFOLIO IV, LLC (OWNERSHIP 100%)                              N/A                                        UNDETERMINED




16. Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
    Describe:

16.1 N/A




17. Total of Part 4.
                                                                                                              UNDETERMINED
    Add lines 14 through 16. Copy the total to line 83.




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Schedule A/B: Assets - Real and Personal Property
    Part 5:        Inventory, excluding agriculture assets - detail




18. Does the debtor own any inventory (excluding agriculture assets)?
            No. Go to Part 6.
            Yes. Fill in the information below.


 General Description                                           Date of the       Net book value       Valuation       Current value
                                                              last physical         of debtor's     method used        of debtor's
                                                                inventory        interest (Where     for current        interest
                                                                                    available)          value


19. Raw materials

19.1 N/A




20. Work in progress

20.1 N/A




21. Finished goods, including goods held for resale

21.1 N/A




22. Other Inventory or supplies

22.1 SPARE PARTS                                                                      $3,158,452.00 NET BOOK VALUE      $3,158,452.00



23. Total of Part 5.
                                                                                                                     $3,158,452.00
    Add lines 19 through 22. Copy the total to line 84.



24. Is any of the property listed in Part 5 perishable?
            No.
            Yes.

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No.
            Yes.

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No.
            Yes.




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Schedule A/B: Assets - Real and Personal Property
    Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)




27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
            No. Go to Part 7.
            Yes. Fill in the information below.


 General Description                                                   Net book value of     Valuation method    Current value
                                                                        debtor's interest     used for current    of debtor's
                                                                       (Where available)           value           interest


28. Crops-either planted or harvested



29. Farm animals



30. Farm machinery and equipment



31. Farm and fishing supplies, chemicals, and feed



32. Other farming and fishing-related property not already listed in Part 6



33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 84.



34. Is the debtor a member of an agricultural cooperative?
            No.
            Yes.

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
            No.
            Yes.

36. Is a depreciation schedule available for any of the property listed in Part 6?
            No.
            Yes.

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
            No.
            Yes.




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Schedule A/B: Assets - Real and Personal Property
    Part 7:        Office furniture, fixtures, and equipment; and collectibles - detail




38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
            No. Go to Part 8.
            Yes. Fill in the information below.


 General Description                                                   Net book value of       Valuation method     Current value
                                                                        debtor's interest       used for current     of debtor's
                                                                       (Where available)             value            interest


39. Office furniture

39.1 OFFICE FURNITURE & FIXTURES                                                  $79,335.88   NET BOOK VALUE            $79,335.88



40. Office fixtures

40.1 SEE RESPONSE TO QUESTION 39




41. Office equipment, including all computer equipment and communication systems equipment and software

41.1 COMPUTER/IT INFRASTRUCTURE                                                $1,579,149.28   NET BOOK VALUE         $1,579,149.28



42. Collectibles

42.1 N/A




43. Total of Part 7.
                                                                                                                   $1,658,485.17
    Add lines 39 through 42. Copy the total to line 84.



44. Is a depreciation schedule available for any of the property listed in Part 7?
            No.
            Yes.

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No.
            Yes.




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Schedule A/B: Assets - Real and Personal Property
    Part 8:        Machinery, equipment, and vehicles




46. Does the debtor own or lease any machinery, equipment, or vehicles?
            No. Go to Part 9.
            Yes. Fill in the information below.


 General Description                                                   Net book value of       Valuation method       Current value
                                                                        debtor's interest       used for current       of debtor's
                                                                       (Where available)             value              interest


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

47.1 2022 DODGE RAM 1500 VIN# 1C6RREBT7NN231674                                   $24,431.78   NET BOOK VALUE              $24,431.78
47.2 2022 DODGE RAM 1500 VIN# 1C6RREBT7NN247048                                   $24,141.05   NET BOOK VALUE              $24,141.05
47.3 2022 DODGE RAM 1500 VIN# 1C6RREBT9NN231675                                   $24,684.40   NET BOOK VALUE              $24,684.40
47.4 2022 DODGE RAM 1500 VIN# 1C6RREFG5NN372630                                   $23,992.53   NET BOOK VALUE              $23,992.53



48. Watercraft, trailers, motors, and related accessories

48.1 N/A




49. Aircraft and accessories

49.1 N/A




50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)

50.1 CARWASH EQUIPMENT                                                        $83,698,816.42   NET BOOK VALUE          $83,698,816.42
50.2 EQUIPMENT IMPROVEMENTS                                                   $27,887,095.78   NET BOOK VALUE          $27,887,095.78



51. Total of Part 8.
                                                                                                                   $111,683,161.95
    Add lines 47 through 50. Copy the total to line 84.



52. Is a depreciation schedule available for any of the property listed in Part 8?
            No.
            Yes.

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No.
            Yes.




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54. Does the debtor own or lease any real property?
           No. Go to Part 9.
           Yes. Fill in the information below.


 Description and location of property                    Nature and        Net book value          Valuation           Current
                                                          extent of           of debtor's        method used           value of
                                                          debtor's         interest (Where        for current          debtor's
                                                         interest in          available)             value             interest
                                                          property


55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

55.1 LOCATION IMPROVEMENTS                                                     $40,628,500.76   NET BOOK VALUE       $40,628,500.76

55.2 REAL PROPERTY OWNED AT 6678 MEXICO                                         $2,074,773.23   NET BOOK VALUE       $2,074,773.23
     ROAD, ST. PETERS, MO 63376
55.3 REAL PROPERTY OWNED AT 7860 MEXICO                                           $255,235.00   NET BOOK VALUE         $255,235.00
     ROAD, ST. PETERS, MO 63376
55.4 REAL PROPERTY OWNED AT 12 JUNCTION                                         $1,311,756.60   NET BOOK VALUE       $1,311,756.60
     DRIVE WEST, GLEN CARBON, IL 62304
55.5 REAL PROPERTY OWNED AT 994 PARKWAY,                                        $3,159,429.30   NET BOOK VALUE       $3,159,429.30
     SEVIERVILLE, TN 37862
55.6 CONSTRUCTION IN PROCESS                                                UNDETERMINED              N/A            UNDETERMINED

55.7 REAL PROPERTY LEASE (1012 EAST OAK                                     UNDETERMINED              N/A            UNDETERMINED
     STREET,CONWAY,AR 72032)
55.8 REAL PROPERTY LEASE (1101 S. MAIN                                      UNDETERMINED              N/A            UNDETERMINED
     STREET,ROSWELL,NM 88203)
55.9 REAL PROPERTY LEASE (1101 S. MAIN                                      UNDETERMINED              N/A            UNDETERMINED
     STREET,ROSWELL,NM 88203)
55.10 REAL PROPERTY LEASE (3505 WEST                                        UNDETERMINED              N/A            UNDETERMINED
      NORTHWEST HIGHWAY,DALLAS,TX 75220)
55.11 REAL PROPERTY LEASE (6221 DENTON                                      UNDETERMINED              N/A            UNDETERMINED
      HIGHWAY,HALTOM CITY,TX 76148)
55.12 REAL PROPERTY LEASE (2806 PATTERSON                                   UNDETERMINED              N/A            UNDETERMINED
      STREET,GREENSBORO,NC 27407)
55.13 REAL PROPERTY LEASE (5902 NORTH 9TH                                   UNDETERMINED              N/A            UNDETERMINED
      AVENUE,PENSACOLA,FL 32504)
55.14 REAL PROPERTY LEASE (12864 TESSON                                     UNDETERMINED              N/A            UNDETERMINED
      FERRY ROAD,ST. LOUIS,MO 63128)
55.15 REAL PROPERTY LEASE (10799 PAGE                                       UNDETERMINED              N/A            UNDETERMINED
      AVENUE,ST. LOUIS,MO 63132)
55.16 REAL PROPERTY LEASE (3701 SOUTHERN                                    UNDETERMINED              N/A            UNDETERMINED
      MANOR DRIVE,ST. LOUIS,MO 63125)
55.17 REAL PROPERTY LEASE (3142 S.                                          UNDETERMINED              N/A            UNDETERMINED
      BRENTWOOD BLVD,ST. LOUIS,MO 63119)
55.18 REAL PROPERTY LEASE (1942 10TH                                        UNDETERMINED              N/A            UNDETERMINED
      AVE,MYRTLE BEACH,SC 29579)

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                                               of debtor's interest    debtor's interest    used for current    of debtor's
                                                   in property        (Where available)          value           interest

55.19 REAL PROPERTY LEASE (17551 NW 27TH                                UNDETERMINED             N/A           UNDETERMINED
    AVE.,MIAMI GARDENS,FL 33056)
55.20 REAL PROPERTY LEASE (2073 FM 423,LITTLE                           UNDETERMINED             N/A           UNDETERMINED
    ELM,TX 75068)
55.21 REAL PROPERTY LEASE (7931 E 37TH STREET                           UNDETERMINED             N/A           UNDETERMINED
    NORTH (ROCK RD.),WICHITA,KS 67226)
55.22 REAL PROPERTY LEASE (5090 W UNIVERSITY                            UNDETERMINED             N/A           UNDETERMINED
    DRIVE,PROSPER,TX 75078)
55.23 REAL PROPERTY LEASE (440 NEW CIRCLE                               UNDETERMINED             N/A           UNDETERMINED
    ROAD,LEXINGTON,KY 40511)
55.24 REAL PROPERTY LEASE (3008 S.                                      UNDETERMINED             N/A           UNDETERMINED
    CONGRESS,BOYNTON BEACH,FL 33426)
55.25 REAL PROPERTY LEASE (6155 US-                                     UNDETERMINED             N/A           UNDETERMINED
    90,MILTON,FL 32570)
55.26 REAL PROPERTY LEASE (700 N. WEBB                                  UNDETERMINED             N/A           UNDETERMINED
    ROAD,WICHITA,KS 67206)
55.27 REAL PROPERTY LEASE (10220 E. 61ST                                UNDETERMINED             N/A           UNDETERMINED
    STREET,TULSA,OK 74133)
55.28 REAL PROPERTY LEASE (220 S. HALL                                  UNDETERMINED             N/A           UNDETERMINED
    ROAD,ALCOA,TN 37701)
55.29 REAL PROPERTY LEASE (3825 W. MAPLE                                UNDETERMINED             N/A           UNDETERMINED
    STREET,WICHITA,KS 67217)
55.30 REAL PROPERTY LEASE (1506 S. MAIZE                                UNDETERMINED             N/A           UNDETERMINED
    ROAD,WICHITA,KS 67209)
55.31 REAL PROPERTY LEASE (4311 N. STATE LINE                           UNDETERMINED             N/A           UNDETERMINED
    AVENUE,TEXARKANA,TX 75503)
55.32 REAL PROPERTY LEASE (4254 WOODBINE                                UNDETERMINED             N/A           UNDETERMINED
    ROAD,PACE,FL 32571)
55.33 REAL PROPERTY LEASE (11816 BANDERA                                UNDETERMINED             N/A           UNDETERMINED
    ROAD,HELOTES,TX 78023)
55.34 REAL PROPERTY LEASE (360 AIRPORT                                  UNDETERMINED             N/A           UNDETERMINED
    ROAD,ARDEN,NC 28704)
55.35 REAL PROPERTY LEASE (125 TUNNEL                                   UNDETERMINED             N/A           UNDETERMINED
    ROAD,ASHEVILLE,NC 28805)
55.36 REAL PROPERTY LEASE (1106 FOCH                                    UNDETERMINED             N/A           UNDETERMINED
    STREET,MARYVILLE,TN 37801)
55.37 REAL PROPERTY LEASE (9025 JAC CATE                                UNDETERMINED             N/A           UNDETERMINED
    ROAD,OOLTEWAH,TN 37363)
55.38 REAL PROPERTY LEASE (102 S ILLINOIS                               UNDETERMINED             N/A           UNDETERMINED
    AVENUE,OAK RIDGE,TN 37830)
55.39 REAL PROPERTY LEASE (106 MOSS GROVE                               UNDETERMINED             N/A           UNDETERMINED
    BLVD.,KNOXVILLE,TN 37922)
55.40 REAL PROPERTY LEASE (1329 N. MAIZE                                UNDETERMINED             N/A           UNDETERMINED
    ROAD,WICHITA,KS 67212)


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                                               of debtor's interest    debtor's interest    used for current    of debtor's
                                                   in property        (Where available)          value           interest

55.41 REAL PROPERTY LEASE (6 GILL                                       UNDETERMINED             N/A           UNDETERMINED
    ROAD,WEAVERVILLE,NC 28787)
55.42 REAL PROPERTY LEASE (1208 DECATUR                                 UNDETERMINED             N/A           UNDETERMINED
    PIKE,ATHENS,TN 37303)
55.43 REAL PROPERTY LEASE (2402 WAKE FOREST                             UNDETERMINED             N/A           UNDETERMINED
    ROAD,RALEIGH,NC 27608)
55.44 REAL PROPERTY LEASE (9200 BRIER CREEK                             UNDETERMINED             N/A           UNDETERMINED
    PARKWAY,RALEIGH,NC 27617)
55.45 REAL PROPERTY LEASE (11571 US HIGHWAY                             UNDETERMINED             N/A           UNDETERMINED
    70 WEST,CLAYTON,NC 27520)
55.46 REAL PROPERTY LEASE (7510 PURFOY                                  UNDETERMINED             N/A           UNDETERMINED
    ROAD,FUQUAY-VARINA,NC 27526)
55.47 REAL PROPERTY LEASE (2121 S. MAIN                                 UNDETERMINED             N/A           UNDETERMINED
    STREET,WAKE FOREST,NC 27587)
55.48 REAL PROPERTY LEASE (2608 S MAIN                                  UNDETERMINED             N/A           UNDETERMINED
    STREET,HIGH POINT,NC 27263)
55.49 REAL PROPERTY LEASE (1031 MLK JR                                  UNDETERMINED             N/A           UNDETERMINED
    PKWY,DURHAM,NC 27713)
55.50 REAL PROPERTY LEASE (3210 OLD FOREST                              UNDETERMINED             N/A           UNDETERMINED
    RD,LYNCHBURG,VA 24501)
55.51 REAL PROPERTY LEASE (3210 OLD FOREST                              UNDETERMINED             N/A           UNDETERMINED
    RD,LYNCHBURG,VA 24501)
55.52 REAL PROPERTY LEASE (7616 TIMBERLAKE                              UNDETERMINED             N/A           UNDETERMINED
    RD,LYNCHBURG,VA 24502)
55.53 REAL PROPERTY LEASE (17559 FOREST                                 UNDETERMINED             N/A           UNDETERMINED
    RD,FOREST,VA 24551)
55.54 REAL PROPERTY LEASE (592 E EMORY                                  UNDETERMINED             N/A           UNDETERMINED
    ROAD,POWELL,TN 37849)
55.55 REAL PROPERTY LEASE (2935 MILLER PLACE                            UNDETERMINED             N/A           UNDETERMINED
    WAY,KNOXVILLE,TN 37924)
55.56 REAL PROPERTY LEASE (9500 DIXIE                                   UNDETERMINED             N/A           UNDETERMINED
    HIGHWAY,LOUISVILLE,KY 40272)
55.57 REAL PROPERTY LEASE (4711 DIXIE                                   UNDETERMINED             N/A           UNDETERMINED
    HIGHWAY,LOUISVILLE,KY 40216)
55.58 REAL PROPERTY LEASE (701 E LEWIS AND                              UNDETERMINED             N/A           UNDETERMINED
    CLARK PKWY,CLARKSVILLE,IN 47129)
55.59 REAL PROPERTY LEASE (3101 N PRINCE                                UNDETERMINED             N/A           UNDETERMINED
    STREET,CLOVIS,NM 88101)
55.60 REAL PROPERTY LEASE (4101 OLTON                                   UNDETERMINED             N/A           UNDETERMINED
    ROAD,PLAINVIEW,TX 79072)
55.61 REAL PROPERTY LEASE (3616 N MAIN                                  UNDETERMINED             N/A           UNDETERMINED
    STREET,ROSWELL,NM 88201)
55.62 REAL PROPERTY LEASE (2704 N BRYANT                                UNDETERMINED             N/A           UNDETERMINED
    BLVD,ROSWELL,TX 76903)


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                                               of debtor's interest    debtor's interest    used for current    of debtor's
                                                   in property        (Where available)          value           interest

55.63 REAL PROPERTY LEASE (3402                                         UNDETERMINED             N/A           UNDETERMINED
    KNICKERBOCKER ROAD,SAN ANGELO,TX
    76904)
55.64 REAL PROPERTY LEASE (4106 SHERWOOD                                UNDETERMINED             N/A           UNDETERMINED
    WAY,SAN ANGELO,TX 76901)
55.65 REAL PROPERTY LEASE (4405 BARDSTOWN                               UNDETERMINED             N/A           UNDETERMINED
    ROAD,LOUISVILLE,KY 40218)
55.66 REAL PROPERTY LEASE (1008 HWY                                     UNDETERMINED             N/A           UNDETERMINED
    K,O'FALLON,MO 63366)
55.67 REAL PROPERTY LEASE (3410 S.                                      UNDETERMINED             N/A           UNDETERMINED
    KINGSHIGHWAY,ST. LOUIS,MO 63139)
55.68 REAL PROPERTY LEASE (4453 MERAMEC                                 UNDETERMINED             N/A           UNDETERMINED
    BOTTOM ROAD,ST. LOUIS,MO 63129)
55.69 REAL PROPERTY LEASE (9430 PAGE                                    UNDETERMINED             N/A           UNDETERMINED
    AVENUE,ST. LOUIS,MO 63132)
55.70 REAL PROPERTY LEASE (11647 ST. CHARLES                            UNDETERMINED             N/A           UNDETERMINED
    ROCK ROAD,BRIDGETON,MO 63044)
55.71 REAL PROPERTY LEASE (1511 NIEDRINGHAUS                            UNDETERMINED             N/A           UNDETERMINED
    AVENUE,GRANITE CITY,IL 62040)
55.72 REAL PROPERTY LEASE (2178 N. CHERRY                               UNDETERMINED             N/A           UNDETERMINED
    ROAD,ROCK HILL,SC 29730)
55.73 REAL PROPERTY LEASE (7773 DIXIE                                   UNDETERMINED             N/A           UNDETERMINED
    HIGHWAY,LOUISVILLE,KY 40258)
55.74 REAL PROPERTY LEASE (3955 ASHLEY                                  UNDETERMINED             N/A           UNDETERMINED
    PHOSPHATE ROAD,NORTH CHARLESTON,SC
    29418)
55.75 REAL PROPERTY LEASE (123 W. JOHNSTON                              UNDETERMINED             N/A           UNDETERMINED
    ST.,FOND DU LAC,WI 54935)
55.76 REAL PROPERTY LEASE (103 LOG CABIN                                UNDETERMINED             N/A           UNDETERMINED
    DRIVE NE,MILLEDGEVILLE,GA 31061)
55.77 REAL PROPERTY LEASE (10000 ABERCORN                               UNDETERMINED             N/A           UNDETERMINED
    ST,SAVANNAH,GA 31406)
55.78 REAL PROPERTY LEASE (4747 U.S.                                    UNDETERMINED             N/A           UNDETERMINED
    80,SAVANNAH,GA 31410)
55.79 REAL PROPERTY LEASE (302 COMMERCIAL                               UNDETERMINED             N/A           UNDETERMINED
    DR,SAVANNAH,GA 31406)
55.80 REAL PROPERTY LEASE (3661 NEWTON                                  UNDETERMINED             N/A           UNDETERMINED
    STREET,JASPER,IN 47546)
55.81 REAL PROPERTY LEASE (9191 HWY 142                                 UNDETERMINED             N/A           UNDETERMINED
    N,COVINGTON,GA 30014)
55.82 REAL PROPERTY LEASE (1101 US HWY 27                               UNDETERMINED             N/A           UNDETERMINED
    ,NORTH AVON PARK,FL 33825)
55.83 REAL PROPERTY LEASE (23461 HWY 27,LAKE                            UNDETERMINED             N/A           UNDETERMINED
    WALES,FL 33859)


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                                                   in property        (Where available)          value           interest

55.84 REAL PROPERTY LEASE (14418 NARCOOSSEE                             UNDETERMINED             N/A           UNDETERMINED
    RD,ORLANDO,FL 32832)
55.85 REAL PROPERTY LEASE (2971 ALAFAYA                                 UNDETERMINED             N/A           UNDETERMINED
    TRAIL,OVIEDO,FL 32765)
55.86 REAL PROPERTY LEASE (9190 WEST IRLO                               UNDETERMINED             N/A           UNDETERMINED
    BRONSON HWY,KISSIMMEE, FL 34747)
55.87 REAL PROPERTY LEASE (14850 WEST                                   UNDETERMINED             N/A           UNDETERMINED
    COLONIAL DR,WINTER GARDEN,FL 34787)
55.88 REAL PROPERTY LEASE (3005 JUSTIN                                  UNDETERMINED             N/A           UNDETERMINED
    RD,FLOWER MOUND,TX 75028)
55.89 REAL PROPERTY LEASE (2360 S. GOLIAD                               UNDETERMINED             N/A           UNDETERMINED
    ,ROCKWALL,TX 75032)
55.90 REAL PROPERTY LEASE (160 CODELLA                                  UNDETERMINED             N/A           UNDETERMINED
    DRIVE,WINCHESTER,KY 40391)
55.91 REAL PROPERTY LEASE (3601 E. US HWY                               UNDETERMINED             N/A           UNDETERMINED
    377,GRANBURY,TX 76049)
55.92 REAL PROPERTY LEASE (23685 WALTON                                 UNDETERMINED             N/A           UNDETERMINED
    AVE,NEW CANEY,TX 77357)
55.93 REAL PROPERTY LEASE (2835 ELDORADO                                UNDETERMINED             N/A           UNDETERMINED
    PARKWAY,FRISCO,TX 75033)
55.94 REAL PROPERTY LEASE (6100 N JOSEY                                 UNDETERMINED             N/A           UNDETERMINED
    LANE,LEWISVILLE,TX 75056)
55.95 REAL PROPERTY LEASE (130 MARLENE                                  UNDETERMINED             N/A           UNDETERMINED
    DRIVE,NICHOLASVILLE,KY 40356)
55.96 REAL PROPERTY LEASE (5006 LEMMON                                  UNDETERMINED             N/A           UNDETERMINED
    AVE,DALLAS,TX 75209)
55.97 REAL PROPERTY LEASE (3294 POPLAR                                  UNDETERMINED             N/A           UNDETERMINED
    AVENUE,MEMPHIS,TN 38111)
55.98 REAL PROPERTY LEASE (625 W. LAKE                                  UNDETERMINED             N/A           UNDETERMINED
    STREET,ADDISON,IL 60172)
55.99 REAL PROPERTY LEASE (153 W. ROOSEVELT                             UNDETERMINED             N/A           UNDETERMINED
    ROAD,VILLA PARK,IL 60181)
55.100 REAL PROPERTY LEASE (1427 N.                                     UNDETERMINED             N/A           UNDETERMINED
     FARNSWORTH AVENUE,AURORA,IL 60505)
55.101 REAL PROPERTY LEASE (7150 W. 54TH                                UNDETERMINED             N/A           UNDETERMINED
     STREET,CHICAGO,IL 60638)
55.102 REAL PROPERTY LEASE (1251 N. GARY                                UNDETERMINED             N/A           UNDETERMINED
     AVENUE,CAROL STREAM,IL 60188)
55.103 REAL PROPERTY LEASE (600 E. BOUGHTON                             UNDETERMINED             N/A           UNDETERMINED
     ROAD,BOLINGBROOK,IL 60440)
55.104 REAL PROPERTY LEASE (2100 N. MANNHEIM                            UNDETERMINED             N/A           UNDETERMINED
     ROAD,NORTHLAKE,IL 60164)
55.105 REAL PROPERTY LEASE (900 W. LAKE                                 UNDETERMINED             N/A           UNDETERMINED
     STREET,ROSSELLE,IL 60172)


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                                                   in property        (Where available)          value           interest

55.106 REAL PROPERTY LEASE (6948 W. GRAND                               UNDETERMINED             N/A           UNDETERMINED
     AVENUE,CHICAGO,IL 60707)
55.107 REAL PROPERTY LEASE (246 S. WEBER                                UNDETERMINED             N/A           UNDETERMINED
     ROAD,BOLINGBROOK,IL 60490)
55.108 REAL PROPERTY LEASE (850 E. OGDEN                                UNDETERMINED             N/A           UNDETERMINED
     AVENUE,NAPERVILLE,IL 60540)
55.109 REAL PROPERTY LEASE (1984 WHITTEN                                UNDETERMINED             N/A           UNDETERMINED
     ROAD,MEMPHIS,TN 38111)
55.110 REAL PROPERTY LEASE (6102 STACY                                  UNDETERMINED             N/A           UNDETERMINED
     RD,MCKINNEY ,TX 75070)
55.111 REAL PROPERTY LEASE (4907 TN-                                    UNDETERMINED             N/A           UNDETERMINED
     58,CHATTANOOGA,TN 37416)
55.112 REAL PROPERTY LEASE (1688 N. MAIN                                UNDETERMINED             N/A           UNDETERMINED
     STREET,CROSSVILLE,TN 38555)
55.113 REAL PROPERTY LEASE (7525 MOUNTAIN                               UNDETERMINED             N/A           UNDETERMINED
     GROVE DRIVE,KNOXVILLE,TN 37920)
55.114 REAL PROPERTY LEASE (6083 OLD AIRLINE                            UNDETERMINED             N/A           UNDETERMINED
     ROAD,ARLINGTON,TN 38002)
55.115 REAL PROPERTY LEASE (733 JOE FRANK                               UNDETERMINED             N/A           UNDETERMINED
     HARRIS PKWY SE,CARTERSVILLE,GA 30120)
55.116 REAL PROPERTY LEASE (802 S PARK                                  UNDETERMINED             N/A           UNDETERMINED
     STREET,CARROLLTON,GA 30117)
55.117 REAL PROPERTY LEASE (2801 N CLASSEN                              UNDETERMINED             N/A           UNDETERMINED
     BLVD,OKLAHOMA CITY,OK 73106)
55.118 REAL PROPERTY LEASE (1590 S. CUSTER                              UNDETERMINED             N/A           UNDETERMINED
     ROAD,MCKINNEY,TX 75070)
55.119 REAL PROPERTY LEASE (2048 BELLS                                  UNDETERMINED             N/A           UNDETERMINED
     HIGHWAY,WALTERBORO,SC 29488)
55.120 REAL PROPERTY LEASE (3601 CALUMET                                UNDETERMINED             N/A           UNDETERMINED
     AVE,MANITOWOC,WI 54220)
55.121 REAL PROPERTY LEASE (475 E GREEN BAY                             UNDETERMINED             N/A           UNDETERMINED
     AVE,SAUKVILLE,WI 53080)
55.122 REAL PROPERTY LEASE (3410 28TH AVENUE                            UNDETERMINED             N/A           UNDETERMINED
     SOUTH,MOORHEAD,MN 56560)
55.123 REAL PROPERTY LEASE (604 44TH AVENUE                             UNDETERMINED             N/A           UNDETERMINED
     WEST,ALEXANDRIA,MN 56308)
55.124 REAL PROPERTY LEASE (7560 UNIVERSAL                              UNDETERMINED             N/A           UNDETERMINED
     DRIVE NORTH,BAXTER,MN 56425)
55.125 REAL PROPERTY LEASE (100 RICHWOOD RD                             UNDETERMINED             N/A           UNDETERMINED
     #34,DETROIT LAKES,MN 56501)
55.126 REAL PROPERTY LEASE (11355 GRAVOIS                               UNDETERMINED             N/A           UNDETERMINED
     ROAD,ST. LOUIS,MO 63126)
55.127 REAL PROPERTY LEASE (5506 RIVERS                                 UNDETERMINED             N/A           UNDETERMINED
     AVENUE,NORTH CHARLESTON,SC 29406)


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                                                   in property        (Where available)          value           interest

55.128 REAL PROPERTY LEASE (1821 E MEMORIAL                             UNDETERMINED             N/A           UNDETERMINED
     ROAD,OKLAHOMA CITY,OK 73131)
55.129 REAL PROPERTY LEASE (1975 HIGHWAY                                UNDETERMINED             N/A           UNDETERMINED
     70,HICKORY,NC 28602)
55.130 REAL PROPERTY LEASE (7910 N TRYON                                UNDETERMINED             N/A           UNDETERMINED
     STREET,CHARLOTTE,NC 28262)
55.131 REAL PROPERTY LEASE (5740 ALBEMARLE                              UNDETERMINED             N/A           UNDETERMINED
     ROAD,CHARLOTTE,NC 28212)
55.132 REAL PROPERTY LEASE (4221 STATE ROUTE                            UNDETERMINED             N/A           UNDETERMINED
     162,PONTOON BEACH,IL 62040)
55.133 REAL PROPERTY LEASE (1112 S. THOMPSON                            UNDETERMINED             N/A           UNDETERMINED
     STREET,SPRINGDALE,AR 72764)
55.134 REAL PROPERTY LEASE (1308 S. SANTA FE                            UNDETERMINED             N/A           UNDETERMINED
     AVE.,EDMOND,OK 73003)
55.135 REAL PROPERTY LEASE (12425 N.                                    UNDETERMINED             N/A           UNDETERMINED
     PENNSYLVANIA AVE.,OKLAHOMA CITY,OK
     73120)
55.136 REAL PROPERTY LEASE (7900 HIGHWAY                                UNDETERMINED             N/A           UNDETERMINED
     107,SHERWOOD,AR 72120)
55.137 REAL PROPERTY LEASE (5807 W. RENO                                UNDETERMINED             N/A           UNDETERMINED
     AVE.,OKLAHOMA CITY,OK 73127)
55.138 REAL PROPERTY LEASE (300 HIGHWAY                                 UNDETERMINED             N/A           UNDETERMINED
     412,SILOAM SPRINGS,AR 72761)
55.139 REAL PROPERTY LEASE (9809 HIGHWAY                                UNDETERMINED             N/A           UNDETERMINED
     64,ARLINGTON,TN 38002)
55.140 REAL PROPERTY LEASE (2806 RICHMOND                               UNDETERMINED             N/A           UNDETERMINED
     ROAD,TEXARKANA,TX 75503)
55.141 REAL PROPERTY LEASE (8242 FM                                     UNDETERMINED             N/A           UNDETERMINED
     78,CONVERSE,TX 78109)
55.142 REAL PROPERTY LEASE (1537 NORTH                                  UNDETERMINED             N/A           UNDETERMINED
     LIMESTONE,LEXINGTON,KY 40505)
55.143 REAL PROPERTY LEASE (10623                                       UNDETERMINED             N/A           UNDETERMINED
     CULEBRA,SAN ANTONIO,TX 78251)
55.144 REAL PROPERTY LEASE (2809 PAT BOOKER                             UNDETERMINED             N/A           UNDETERMINED
     ROAD,UNIVERSAL CITY,TX 78148)
55.145 REAL PROPERTY LEASE (2612 WASHINGTON                             UNDETERMINED             N/A           UNDETERMINED
     AVE,SHEBOYGAN,WI 53081)
55.146 REAL PROPERTY LEASE (905 S WHITE SANDS                           UNDETERMINED             N/A           UNDETERMINED
     BLVD,ALAMOGORDO,NM 88310)
55.147 REAL PROPERTY LEASE (301 GRAND HILL                              UNDETERMINED             N/A           UNDETERMINED
     PLACE,HOLLY SPRINGS,NC 27540)
55.148 REAL PROPERTY LEASE (508 N BERKELEY                              UNDETERMINED             N/A           UNDETERMINED
     BLVD,GOLDSBORO,NC 27534)




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                                               of debtor's interest    debtor's interest    used for current    of debtor's
                                                   in property        (Where available)          value           interest

55.149 REAL PROPERTY LEASE (4860 CANE RUN                               UNDETERMINED             N/A           UNDETERMINED
     ROAD,LOUISVILLE,KY 40216)
55.150 REAL PROPERTY LEASE (8875 DALLAS-                                UNDETERMINED             N/A           UNDETERMINED
     ACWORTH HWY,DALLAS,GA 30132)
55.151 REAL PROPERTY LEASE (2755 AGNES                                  UNDETERMINED             N/A           UNDETERMINED
     LANE,MYRTLE BEACH,SC 29577)
55.152 REAL PROPERTY LEASE (593 INTERNATIONAL                           UNDETERMINED             N/A           UNDETERMINED
     DRIVE,MYRTLE BEACH,SC 29579)
55.153 REAL PROPERTY LEASE (1212 HWY 17                                 UNDETERMINED             N/A           UNDETERMINED
     S,NORTH MYRTLE BEACH,SC 29582)
55.154 REAL PROPERTY LEASE (1000 HOG                                    UNDETERMINED             N/A           UNDETERMINED
     MOUNTAIN ROAD,WATKINSVILLE,GA 30677)
55.155 REAL PROPERTY LEASE (2089 HIGHWAY                                UNDETERMINED             N/A           UNDETERMINED
     501,MYRTLE BEACH,SC 29577)
55.156 REAL PROPERTY LEASE (1604 HWY. 17                                UNDETERMINED             N/A           UNDETERMINED
     N.,NORTH MYRTLE BEACH,SC 29582)
55.157 REAL PROPERTY LEASE (509 GARDEN CITY                             UNDETERMINED             N/A           UNDETERMINED
     CONNECTOR,MURRELLS INLET,SC 29576)
55.158 REAL PROPERTY LEASE (1008 FORDING                                UNDETERMINED             N/A           UNDETERMINED
     ISLAND RD,BLUFFTON,SC 29910)
55.159 REAL PROPERTY LEASE (1008 B WILLIAM                              UNDETERMINED             N/A           UNDETERMINED
     HILTON PKWY,HILTON HEAD ISLAND,SC
     29928)
55.160 REAL PROPERTY LEASE (7 BAYLOR BROOK                              UNDETERMINED             N/A           UNDETERMINED
     DR,OKATIE,SC 29909)
55.161 REAL PROPERTY LEASE (8250 PINELLAS                               UNDETERMINED             N/A           UNDETERMINED
     DR,BLUFFTON,SC 29910)
55.162 REAL PROPERTY LEASE (1464                                        UNDETERMINED             N/A           UNDETERMINED
     CHATTAHOOCHEE DR,ROCKMART,GA 30153)
55.163 REAL PROPERTY LEASE (13519 HIGHWAY 290                           UNDETERMINED             N/A           UNDETERMINED
     WEST,AUSTIN,TX 78737)
55.164 REAL PROPERTY LEASE (8010 NORTH KINGS                            UNDETERMINED             N/A           UNDETERMINED
     HIGHWAY,MYRTLE BEACH,SC 29572)
55.165 REAL PROPERTY LEASE (1415 US-                                    UNDETERMINED             N/A           UNDETERMINED
     10,DETROIT LAKES,MN 56501)
55.166 REAL PROPERTY LEASE (7361 GLORY                                  UNDETERMINED             N/A           UNDETERMINED
     ROAD,BAXTER,MN 56425)
55.167 REAL PROPERTY LEASE (2698 US-169,GRAND                           UNDETERMINED             N/A           UNDETERMINED
     RAPIDS,MN 55744)
55.168 REAL PROPERTY LEASE (2295 UNIVERSITY                             UNDETERMINED             N/A           UNDETERMINED
     DR.,FARGO,ND 58504)
55.169 REAL PROPERTY LEASE (3399 NORTH WHITE                            UNDETERMINED             N/A           UNDETERMINED
     SANDS BLVD,ALAMOGORDO,NM 88310)




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                                                   in property        (Where available)          value           interest

55.170 REAL PROPERTY LEASE (3541 FOREST                                 UNDETERMINED             N/A           UNDETERMINED
     LANE,DALLAS,TX 75234)
55.171 REAL PROPERTY LEASE (5021 ROSS                                   UNDETERMINED             N/A           UNDETERMINED
     AVE,DALLAS,TX 75206)
55.172 REAL PROPERTY LEASE (1900 N. REYNOLDS                            UNDETERMINED             N/A           UNDETERMINED
     ROAD,BRYANT,AR 72022)
55.173 REAL PROPERTY LEASE (4102 CLEMSON                                UNDETERMINED             N/A           UNDETERMINED
     BLVD,ANDERSON,SC 29621)
55.174 REAL PROPERTY LEASE (8660 YOUREE                                 UNDETERMINED             N/A           UNDETERMINED
     DRIVE,SHREVEPORT,LA 71115)
55.175 REAL PROPERTY LEASE (9500 RODNEY                                 UNDETERMINED             N/A           UNDETERMINED
     PARHAM ROAD,LITTLE ROCK,AR 72227)
55.176 REAL PROPERTY LEASE (40091 HIGHWAY 441                           UNDETERMINED             N/A           UNDETERMINED
     SOUTH,SOUTH COMMERCE,GA 30529)
55.177 REAL PROPERTY LEASE (155 FINIS SPRINGS                           UNDETERMINED             N/A           UNDETERMINED
     DRIVE,CORNELIA,GA 30531)
55.178 REAL PROPERTY LEASE (1113 JENNINGS                               UNDETERMINED             N/A           UNDETERMINED
     AVE,SENECA,SC 29627)
55.179 REAL PROPERTY LEASE (2851 W. WALNUT                              UNDETERMINED             N/A           UNDETERMINED
     STREET,ROGERS,AR 72756)
55.180 REAL PROPERTY LEASE (620 S. BOWMAN                               UNDETERMINED             N/A           UNDETERMINED
     ROAD,LITTLE ROCK,AR 72211)
55.181 REAL PROPERTY LEASE (2915 WIMSATT                                UNDETERMINED             N/A           UNDETERMINED
     COURT,OWENSBORO,KY 42303)
55.182 REAL PROPERTY LEASE (1704 E BROAD                                UNDETERMINED             N/A           UNDETERMINED
     AVENUE,ROCKINGHAM,NC 28379)
55.183 REAL PROPERTY LEASE (4590 S                                      UNDETERMINED             N/A           UNDETERMINED
     HURSTBOURNE PKWY,LOUISVILLE,KY 40299)
55.184 REAL PROPERTY LEASE (1402 S CANNON                               UNDETERMINED             N/A           UNDETERMINED
     BLVD,KANNAPOLIS,NC 28083)
55.185 REAL PROPERTY LEASE (453 CAMPBELL                                UNDETERMINED             N/A           UNDETERMINED
     ROAD,BOWLING GREEN,KY 42101)
55.186 REAL PROPERTY LEASE (1706 W MAIN                                 UNDETERMINED             N/A           UNDETERMINED
     STREET,SALEM,VA 24153)
55.187 REAL PROPERTY LEASE (2109 PYRAMIDS                               UNDETERMINED             N/A           UNDETERMINED
     VILLAGE BLVD,GREENSBORO,NC 27405)
55.188 REAL PROPERTY LEASE (8301 COLERAIN                               UNDETERMINED             N/A           UNDETERMINED
     AVENUE,CINCINNATI,OH 45239)
55.189 REAL PROPERTY LEASE (11346 PRINCETON                             UNDETERMINED             N/A           UNDETERMINED
     PIKE,SPRINGDALE,OH 45246)
55.190 REAL PROPERTY LEASE (5274 DIXIE                                  UNDETERMINED             N/A           UNDETERMINED
     HWY,FAIRFIELD,OH 45014)
55.191 REAL PROPERTY LEASE (3000                                        UNDETERMINED             N/A           UNDETERMINED
     BRECKENRIDGE LANE,LOUISVILLE,KY 40027)


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                                                   in property        (Where available)          value           interest

55.192 REAL PROPERTY LEASE (2116 E MAIN                                 UNDETERMINED             N/A           UNDETERMINED
     STREET,LINCOLNTON,NC 28092)
55.193 REAL PROPERTY LEASE (1143 TUNNEL                                 UNDETERMINED             N/A           UNDETERMINED
     ROAD,ASHEVILLE,NC 28805)
55.194 REAL PROPERTY LEASE (153 SMOKEY PARK                             UNDETERMINED             N/A           UNDETERMINED
     HWY,ASHEVILLE,NC 28806)
55.195 REAL PROPERTY LEASE (309 W HENDERSON                             UNDETERMINED             N/A           UNDETERMINED
     STREET,MARION,NC 28752)
55.196 REAL PROPERTY LEASE (201 TOWNE                                   UNDETERMINED             N/A           UNDETERMINED
     CENTRE BOULEVARD,PINEVILLE,NC 28134)
55.197 REAL PROPERTY LEASE (5615 KINGSTON                               UNDETERMINED             N/A           UNDETERMINED
     PIKE,KNOXVILLE,TN 37919)
55.198 REAL PROPERTY LEASE (1822 COLLEGE                                UNDETERMINED             N/A           UNDETERMINED
     AVENUE,FOREST CITY,NC 28043)
55.199 REAL PROPERTY LEASE (3171 MICHIGAN                               UNDETERMINED             N/A           UNDETERMINED
     AVENUE,PENSACOLA,FL 32526)
55.200 REAL PROPERTY LEASE (2117 NORTH                                  UNDETERMINED             N/A           UNDETERMINED
     HIGHWAY 81,ANDERSON,SC 29621)
55.201 REAL PROPERTY LEASE (10215 WATSON                                UNDETERMINED             N/A           UNDETERMINED
     ROAD,ST. LOUIS,MO 63127)
55.202 REAL PROPERTY LEASE (2576 RICHMOND                               UNDETERMINED             N/A           UNDETERMINED
     ROAD,LEXINGTON,KY 40509)
55.203 REAL PROPERTY LEASE (1776 SHARKEY                                UNDETERMINED             N/A           UNDETERMINED
     WAY,LEXINGTON,KY 40511)
55.204 REAL PROPERTY LEASE (6600 W. SUNSET                              UNDETERMINED             N/A           UNDETERMINED
     AVE.,SPRINGDALE,AR 72762)
55.205 REAL PROPERTY LEASE (7229                                        UNDETERMINED             N/A           UNDETERMINED
     MAYNARDVILLE PIKE,KNOXVILLE,TN 37918)
55.206 REAL PROPERTY LEASE (6649 CLINTON                                UNDETERMINED             N/A           UNDETERMINED
     HIGHWAY,KNOXVILLE,TN 37912)
55.207 REAL PROPERTY LEASE (4831 POPLAR                                 UNDETERMINED             N/A           UNDETERMINED
     AVE.,MEMPHIS,TN 38117)
55.208 REAL PROPERTY LEASE (9740                                        UNDETERMINED             N/A           UNDETERMINED
     MIDDLEBROOK PIKE,KNOXVILLE,TN 37923)
55.209 REAL PROPERTY LEASE (15552                                       UNDETERMINED             N/A           UNDETERMINED
     MANCHESTER ROAD,ELLISVILLE,MO 63021)
55.210 REAL PROPERTY LEASE (7365 KINGSTON                               UNDETERMINED             N/A           UNDETERMINED
     PIKE,KNOXVILLE,TN 37919)
55.211 REAL PROPERTY LEASE (10919                                       UNDETERMINED             N/A           UNDETERMINED
     FREDERICKSBURG ROAD,SAN ANTONIO,TX
     78240)
55.212 REAL PROPERTY LEASE (375 W. ROOSEVELT                            UNDETERMINED             N/A           UNDETERMINED
     ROAD,GLEN ELLYN,IL 60137)




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 Description and location of property          Nature and extent      Net book value of    Valuation method    Current value
                                               of debtor's interest    debtor's interest    used for current    of debtor's
                                                   in property        (Where available)          value           interest

55.213 REAL PROPERTY LEASE (7106 NORTH DAVIS                            UNDETERMINED             N/A           UNDETERMINED
     HIGHWAY,PENSACOLA,FL 32504)
55.214 REAL PROPERTY LEASE (3681 W. SUNSET                              UNDETERMINED             N/A           UNDETERMINED
     AVE.,SPRINGDALE,AR 72762)
55.215 REAL PROPERTY LEASE (2601 OLD MUEGGE                             UNDETERMINED             N/A           UNDETERMINED
     ROAD,ST. CHARLES,MO 63303)
55.216 REAL PROPERTY LEASE (1601 TROY                                   UNDETERMINED             N/A           UNDETERMINED
     ROAD,EDWARDSVILLE,IL 62025)
55.217 REAL PROPERTY LEASE (9331 E                                      UNDETERMINED             N/A           UNDETERMINED
     INDEPENDENCE BOULEVARD,MATTHEWS,NC
     28105)
55.218 REAL PROPERTY LEASE (3952 PINEHURST                              UNDETERMINED             N/A           UNDETERMINED
     DRIVE,LAKE WORTH,FL 33467)
55.219 REAL PROPERTY LEASE (2121 DALE AVENUE                            UNDETERMINED             N/A           UNDETERMINED
     SE,ROANOKE,VA 24013)
55.220 REAL PROPERTY LEASE (4416 WESTERN                                UNDETERMINED             N/A           UNDETERMINED
     AVE.,KNOXVILLE,TN 37921)
55.221 REAL PROPERTY LEASE (1801 S. PALM                                UNDETERMINED             N/A           UNDETERMINED
     AVENUE,MIRAMAR,FL 33025)
55.222 REAL PROPERTY LEASE (1250 SOUTH                                  UNDETERMINED             N/A           UNDETERMINED
     BROADWAY,LEXINGTON,KY 40504)
55.223 REAL PROPERTY LEASE (4040 WINDER                                 UNDETERMINED             N/A           UNDETERMINED
     HIGHWAY,FLOWERY BRANCH,GA 30542)
55.224 REAL PROPERTY LEASE (4404 HIGHWAY 17                             UNDETERMINED             N/A           UNDETERMINED
     SOUTH,NORTH MYRTLE BEACH,SC 29582)
55.225 REAL PROPERTY LEASE (2727 HIGHWAY 17                             UNDETERMINED             N/A           UNDETERMINED
     NORTH,MOUNT PLEASANT,SC 29466)
55.226 REAL PROPERTY LEASE (806 PATTON                                  UNDETERMINED             N/A           UNDETERMINED
     AVE,ASHEVILLE,NC 28806)
55.227 REAL PROPERTY LEASE (2300                                        UNDETERMINED             N/A           UNDETERMINED
     BATTLEGROUND AVENUE,GREENSBORO,NC
     27408)
55.228 REAL PROPERTY LEASE (3805 WARDS                                  UNDETERMINED             N/A           UNDETERMINED
     ROAD,LYNCHBURG,VA 24502)
55.229 REAL PROPERTY LEASE (4035 CHALLENGER                             UNDETERMINED             N/A           UNDETERMINED
     AVENUE,ROANOKE,VA 46818)
55.230 REAL PROPERTY LEASE (3401 WILKINSON                              UNDETERMINED             N/A           UNDETERMINED
     BOULEVARD,CHARLOTTE,NC 28208)
55.231 REAL PROPERTY LEASE (1036 TYVOLA                                 UNDETERMINED             N/A           UNDETERMINED
     ROAD,CHARLOTTE,NC 28217)
55.232 REAL PROPERTY LEASE (8400 BELLEVIEW                              UNDETERMINED             N/A           UNDETERMINED
     DR, PLANO, TX 75024)
55.233 REAL PROPERTY LEASE (341 MAIN STREET,                            UNDETERMINED             N/A           UNDETERMINED
     NORTH LITTLE ROCK, AR 72201)


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  Description and location of property                     Nature and extent          Net book value of     Valuation method    Current value
                                                           of debtor's interest        debtor's interest     used for current    of debtor's
                                                               in property            (Where available)           value           interest

56. Total of Part 9.
                                                                                                                          $47,429,694.89
    Add the current value on all Question 55 lines and entries from any additional sheets. Copy the total
    to line 88.
                                                                                                                        + UNDETERMINED



57. Is a depreciation schedule available for any of the property listed in Part 9?
            No.
            Yes.

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No.
            Yes.




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   Part 10:     Intangibles and intellectual property - detail




59. Does the debtor have any interests in intangibles or intellectual property?
           No. Go to Part 11.
           Yes. Fill in the information below.


 General Description                                           Net book value of      Valuation method    Current value
                                                                debtor's interest      used for current    of debtor's
                                                               (Where available)            value           interest


60. Patents, copyrights, trademarks, and trade secrets

60.1 TRADEMARK REGISTERED-ZIPS EXPRESS CAR                                                  N/A           UNDETERMINED
     WASH - REGISTRATION NO.: 5159924
60.2 TRADEMARK REGISTERED-ZIPS - REGISTRATION                                               N/A           UNDETERMINED
     NO.: 5068087
60.3 TRADEMARK REGISTERED-ZIPS IN. ZIP OUT. ZIPS                                            N/A           UNDETERMINED
     ON. - REGISTRATION NO.: 4852181
60.4 TRADEMARK REGISTERED-ZIPS ME! -                                                        N/A           UNDETERMINED
     REGISTRATION NO.: 4852180
60.5 TRADEMARK REGISTERED-ROCKET EXPRESS CAR                                                N/A           UNDETERMINED
     WASH - REGISTRATION NO.: 6011115
60.6 TRADEMARK REGISTERED-DRIVE CLEAN -                                                     N/A           UNDETERMINED
     REGISTRATION NO.: 3211930
60.7 TRADEMARK REGISTERED-BOOMERANG -                                                       N/A           UNDETERMINED
     REGISTRATION NO.: 3115390



61. Internet domain names and websites

61.1 ZIPSCARWASH.COM                                                                        N/A           UNDETERMINED

61.2 AMERICASDIRTIESTCAR.COM                                                                N/A           UNDETERMINED

61.3 BOOMERANGCARWASH.COM                                                                   N/A           UNDETERMINED

61.4 BOOMERANGWASH.COM                                                                      N/A           UNDETERMINED

61.5 DRIVECLEANAMERICA.COM                                                                  N/A           UNDETERMINED

61.6 DRIVECLEANLLC.COM                                                                      N/A           UNDETERMINED

61.7 DRIVECLEANUSA.COM                                                                      N/A           UNDETERMINED

61.8 ROCKETEXPRESS.COM                                                                      N/A           UNDETERMINED

61.9 ZIPSME.COM                                                                             N/A           UNDETERMINED



62. Licenses, franchises, and royalties

62.1 N/A                                                                                    N/A           UNDETERMINED



63. Customer lists, mailing lists, or other compilations

63.1 UNLIMITED WASH CLUB (UWC) CUSTOMER LIST -                                              N/A           UNDETERMINED
     CURRENT AND FORMER CUSTOMERS

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  General Description                                                 Net book value of     Valuation method used Current value of
                                                                   debtor's interest (Where    for current value  debtor's interest
                                                                          available)

63.2 RETAIL CUSTOMER INFORMATION LIST FROM                                                           N/A             UNDETERMINED
     MOBILE APP REGISTRATION



64. Other intangibles, or intellectual property

64.1 UWC MEMBERSHIP AGREEMENTS (600,000+)                                                            N/A             UNDETERMINED



65. Goodwill

65.1 GOODWILL                                                                                        N/A             UNDETERMINED



66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.
                                                                                                               UNDETERMINED


67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and
    107)?
            No.
            Yes.

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No.
            Yes.

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No.
            Yes.




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   Part 11:      All other assets




70. Does the debtor own any other assets that have not yet been reported on this form? Include all interests in executory
    contracts and unexpired leases not previously reported on this form.
           No. Go to Part 12.
           Yes. Fill in the information below.


 General Description                                                                                         Current value of
                                                                                                             debtor's interest




71. Notes receivable

71.1 N/A




72. Tax refunds and unused net operating losses (NOLs)

72.1 N/A




73. Interests in insurance policies or annuities

73.1 FEDERAL INSURANCE COMPANY-PACKAGE - GENERAL LIABILITY/PROPERTY- POLICY NO.:                                   UNDETERMINED
     36081459
     Nature of Claim: Insurance Interest
     Amount Requested: UNDETERMINED
73.2 FEDERAL INSURANCE COMPANY-AUTOMOBILE- POLICY NO.: 73636101                                                    UNDETERMINED
     Nature of Claim: Insurance Interest
     Amount Requested: UNDETERMINED
73.3 CLEAR SPRING PROPERTY & CASUALTY COMPANY-WORKERS COMPENSATION EMPLOYERS                                       UNDETERMINED
     LIABILITY- POLICY NO.: CS-WC-010243-03
     Nature of Claim: Insurance Interest
     Amount Requested: UNDETERMINED
73.4 OHIO BUREAU OF WORKERS’ COMPENSATION-WORKERS COMPENSATION EMPLOYERS                                           UNDETERMINED
     LIABILITY- POLICY NO.: 80076801
     Nature of Claim: Insurance Interest
     Amount Requested: UNDETERMINED
73.5 NORTH DAKOTA WORKFORCE SAFETY & INSURANCE-WORKERS COMPENSATION EMPLOYERS                                      UNDETERMINED
     LIABILITY- POLICY NO.: 1526659
     Nature of Claim: Insurance Interest
     Amount Requested: UNDETERMINED
73.6 NAVIGATORS SPECIALTY INSURANCE COMPANY-EXCESS LIABILITY - LEAD $5MM- POLICY NO.:                              UNDETERMINED
     NY24EXCZ0C7DSIC
     Nature of Claim: Insurance Interest
     Amount Requested: UNDETERMINED
73.7 FIREMANS' FUND INSURANCE COMPANY-EXCESS LIABILITY - $5MM XS $5MM- POLICY NO.:                                 UNDETERMINED
     USC039479242
     Nature of Claim: Insurance Interest
     Amount Requested: UNDETERMINED
73.8 FEDERAL INSURANCE COMPANY-PACKAGE - EXECUTIVE RISK- POLICY NO.: J06395508                                     UNDETERMINED
     Nature of Claim: Insurance Interest

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Schedule A/B: Assets - Real and Personal Property
  Part 11:      All other assets


 General Description                                                                       Current value of
                                                                                           debtor's interest


    Amount Requested: UNDETERMINED
73.9 BRIDGEWAY INSURANCE COMPANY-DIRECTORS & OFFICERS - PRIMARY $2.5M- POLICY NO.:               UNDETERMINED
    8JA7DO0002438
    Nature of Claim: Insurance Interest
    Amount Requested: UNDETERMINED
73.10 LANDMARK AMERICAN INSURANCE COMPANY-EXCESS DIRECTORS & OFFICERS- POLICY NO.:               UNDETERMINED
     LHS711647
     Nature of Claim: Insurance Interest
     Amount Requested: UNDETERMINED
73.11 ENDURANCE AMERICAN INSURANCE COMPANY-EXCESS DIRECTORS & OFFICERS - SIDE A                  UNDETERMINED
     ONLY- POLICY NO.: ADL30067267100
     Nature of Claim: Insurance Interest
     Amount Requested: UNDETERMINED
73.12 ASSOCIATED INDUSTRIES INSURANC COMPANY-EXCESS DIRECTORS & OFFICERS - SIDE A                UNDETERMINED
     ONLY- POLICY NO.: ANV162508A
     Nature of Claim: Insurance Interest
     Amount Requested: UNDETERMINED
73.13 AT BAY-CYBER- POLICY NO.: ATB-6612482-04                                                   UNDETERMINED
     Nature of Claim: Insurance Interest
     Amount Requested: UNDETERMINED
73.14 HARTFORD INSURANCE COMPANY OF THE MIDWEST-FLOOD COVERAGE FOR 3805 WARDS RD,                UNDETERMINED
     LYNCHBURG, VA- POLICY NO.: 6500183973
     Nature of Claim: Insurance Interest
     Amount Requested: UNDETERMINED
73.15 SELECTIVE INSURANCE COMPANY OF AMERICA-FLOOD COVERAGE FOR 14021 CANTRELL RD.,              UNDETERMINED
     LITTLE ROCK, AR - BLDG 1- POLICY NO.: FLD2333263
     Nature of Claim: Insurance Interest
     Amount Requested: UNDETERMINED
73.16 SELECTIVE INSURANCE COMPANY OF AMERICA-FLOOD COVERAGE FOR 1004 S WALTON                    UNDETERMINED
     BLVD., BENTONVILLE, AR- POLICY NO.: FLD1776584
     Nature of Claim: Insurance Interest
     Amount Requested: UNDETERMINED
73.17 SELECTIVE INSURANCE COMPANY OF AMERICA-FLOOD COVERAGE FOR 14021 CANTRELL RD.,              UNDETERMINED
     LITTLE ROCK, AR - BLDG 2- POLICY NO.: FLD2212178
     Nature of Claim: Insurance Interest
     Amount Requested: UNDETERMINED
73.18 NEPTUNE FLOOD-FLOOD COVERAGE FOR 1801 S PALM AVENUE, MIRAMAR, FL- POLICY NO.:              UNDETERMINED
     TNF3708734
     Nature of Claim: Insurance Interest
     Amount Requested: UNDETERMINED
73.19 NEPTUNE FLOOD-FLOOD COVERAGE FOR 135 EST 141ST ST. GLENPOOL, OK- POLICY NO.:               UNDETERMINED
     NAA3684805
     Nature of Claim: Insurance Interest
     Amount Requested: UNDETERMINED




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Schedule A/B: Assets - Real and Personal Property
   Part 11:        All other assets


  General Description                                                                                      Current value of
                                                                                                           debtor's interest


73.20 NEPTUNE FLOOD-FLOOD COVERAGE FOR 9740 MIDDLEBROOK PIKE, KNOXVILLE, TN- POLICY                               UNDETERMINED
      NO.: TNF3684803
      Nature of Claim: Insurance Interest
      Amount Requested: UNDETERMINED
73.21 NEPTUNE FLOOD-FLOOD COVERAGE FOR 17551 NW 27TH AVENUE, MIAMI GARDENS, FL-                                   UNDETERMINED
      POLICY NO.: TNF3693084
      Nature of Claim: Insurance Interest
      Amount Requested: UNDETERMINED
73.22 NEPTUNE FLOOD-FLOOD COVERAGE FOR 2402 WAKE FOREST ROAD, RALEIGH, NC- POLICY                                 UNDETERMINED
      NO.: ASR3692887
      Nature of Claim: Insurance Interest
      Amount Requested: UNDETERMINED



74. Causes of action against third parties (whether or not a lawsuit has been filed)

74.1 N/A




75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the debtor and
    rights to set off claims

75.1 N/A




76. Trusts, equitable or future interests in property

76.1 N/A




77. Other property of any kind not already listed Examples: Season tickets, country club membership



78. Total of Part 11.
                                                                                                           UNDETERMINED
    Add lines 71 through 77. Copy the total to line 90.



79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No.
            Yes.




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Schedule A/B: Assets - Real and Personal Property
   Part 12:     Summary



 Type of property                                                                     Current value        Current value      Total of all
                                                                                       of personal            of real          property
                                                                                        property             property


80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                     $1,070,443.53


81. Deposits and prepayments. Copy line 9, Part 2.                                         $2,449,780.46


82. Accounts receivable. Copy line 12, Part 3.                                             $3,392,771.32


83. Investments. Copy line 17, Part 4.                                                UNDETERMINED


84. Inventory. Copy line 23, Part 5.                                                       $3,158,452.00


85. Farming and fishing-related assets. Copy line 33, Part 6.                                     $0.00


86. Office furniture, fixtures, and equipment; and collectibles. Copy line 43, Part        $1,658,485.17
    7.


87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                          $111,683,161.95


88. Real property. Copy line 56, Part 9.                                                                    $47,429,694.89
                                                                                                           + UNDETERMINED


89. Intangibles and intellectual property. Copy line 66, Part 10.                     UNDETERMINED


90. All other assets. Copy line 78, Part 11.                                          UNDETERMINED


91. Total. Add lines 80 through 90 for each column.                                    $123,413,094.43      $47,429,694.89
                                                                                      + UNDETERMINED       + UNDETERMINED




                                                                                                                     $170,842,789.32
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.
                                                                                                                       + UNDETERMINED




                                                       Schedule AB Part 12 - Page 1 of 1
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 Fill in this information to identify the case and this filing:

 Debtor Name:                                         Zips Car Wash, LLC

 United States Bankruptcy Court:        the Northern District of Texas Dallas Division

 Case Number (if known):                              25-80069-11 (MVL)




Form 206D

Schedule D: Creditors Who Have Claims Secured by Property
Be as complete and accurate as possible.

   Part 1:      List Creditors Who Have Secured Claims


1. Do any creditors have claims secured by debtor's property?
             No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
             Yes. Fill in the information below.

2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim, list the creditor separately for each claim.

 Creditor's Name and Mailing Address, E-mail                  Co-         Insider        Co-         Date Claim was Incurred, Property                       C-U-D       Amount of         Value of
 Address & An Account Number                                Interest                    Debtor       Description, Lien & Co-Interest Creditor                             Claim            Collateral




Secured Debt

2.1 BRIGHTWOOD LOAN SERVICES LLC AS                                                                DATE: 8/30/2016                                                     $653,912,724.08   UNDETERMINED
    ADMINISTRATIVE AGENT                                                                           ALL ASSETS
    810 SEVENTH AVENUE, 26TH FLOOR, NEW                                                            TERM LOAN FACILITY
    YORK, NY 10019

                                                                                                                                                Secured Debt Total: $653,912,724.08      UNDETERMINED



3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                                                                         $653,912,724.08




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Schedule D: Creditors Who Have Claims Secured by Property
    Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1




4. List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be
   listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors



 Name and Mailing Address                                               Part 1 Line on which the       Last 4 Digits of Account
                                                                        Related Creditor was           Number for this Entity
                                                                        Listed

4.1 PAUL HASTINGS LLP                                               1
    200 PARK AVENUE
    NEW YORK, NY 10166




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 Debtor Name:                                          Zips Car Wash, LLC

 United States Bankruptcy Court:          the Northern District of Texas Dallas Division

 Case Number (if known):                                25-80069-11 (MVL)




Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on
Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.

   Part 1:      List All Creditors with PRIORITY Unsecured Claims


1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor
   has more than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.



 Creditor's Name, Mailing Address                     Date Claim Was            C-U-D           Offset        Total Claim            Priority
 Including Zip Code                                   Incurred And                                                                   Amount
                                                      Account
                                                      Number

2.1 ARKANSAS DEPARTMENT OF REVENUE                                                                            UNDETERMINED         UNDETERMINED
    PO BOX 1272, , LITTLE ROCK, AR, 72203
2.2 ATLANTA CITY HALL                                                                                         UNDETERMINED         UNDETERMINED
    55 TRINITY AVE. SW, ATLANTA, GA,
    30303
2.3 CITY OF ALAMOGORDO                                                                                        UNDETERMINED         UNDETERMINED
    1376 E. NINTH STREET, ALAMOGORDO,
    NM, 88310
2.4 CITY OF ANDERSON                                                                                          UNDETERMINED         UNDETERMINED
    MUNICIPAL BUSINESS CENTER, 601 S.
    MAIN STREET, ANDERSON, SC, 29624
2.5 CITY OF ARLINGTON                                                                                         UNDETERMINED         UNDETERMINED
    101 W. ABRAM ST., ARLINGTON, TX,
    76010
2.6 CITY OF BROKEN ARROW                                                                                      UNDETERMINED         UNDETERMINED
    220 S FIRST STREET, BROKEN ARROW,
    OK, 74012
2.7 CITY OF BURLESON                                                                                          UNDETERMINED         UNDETERMINED
    141 W RENFRO STREET, BURLESON,
    TX, 76028
2.8 CITY OF CHATTANOOGA                                                                                       UNDETERMINED         UNDETERMINED
    OFFICE OF THE CITY TREASURER, 101
    E 11TH STREET, ROOM 100,
    CHATTANOOGA, TN, 37402
2.9 CITY OF CHICAGO                                                                                           UNDETERMINED         UNDETERMINED



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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:    List All Creditors with PRIORITY Unsecured Claims


 Creditor's Name, Mailing Address           Date Claim Was         C-U-D          Offset   Total Claim    Priority Amount
Including Zip Code                           Incurred And
                                            Account Number

   121 N. LA SALLE STREET, CHICAGO, IL,
   60602
2.10 CITY OF CINCINNATI                                                                    UNDETERMINED     UNDETERMINED
    805 CENTRAL AVENUE, SUITE 500,
    CINCINNATI, OH, 45202
2.11 CITY OF CLOVIS                                                                        UNDETERMINED     UNDETERMINED
    321 N. CONNELLY, CLOVIS, NM, 88101
2.12 CITY OF COLLEGEDALE                                                                   UNDETERMINED     UNDETERMINED
    4910 SWINYAR DRIVE, COLLEGEDALE,
    TN, 37315
2.13 CITY OF CONVERSE                                                                      UNDETERMINED     UNDETERMINED
    406 S. SEGUIN, CONVERSE, TX, 78109
2.14 CITY OF COOKEVILLE                                                                    UNDETERMINED     UNDETERMINED
    45 E. BROAD STREET, COOKEVILLE,
    TN, 38501
2.15 CITY OF EAST ST. LOUIS                                                                UNDETERMINED     UNDETERMINED
    301 RIVER PARK DRIVE, EAST ST.
    LOUIS, IL, 62201
2.16 CITY OF EDMOND                                                                        UNDETERMINED     UNDETERMINED
    24 E. FIRST ST., EDMOND, OK, 73034
2.17 CITY OF FAIRFIELD                                                                     UNDETERMINED     UNDETERMINED
    5350 PLEASANT AVENUE, FAIRFIELD,
    OH, 45014
2.18 CITY OF FOND DU LAC                                                                   UNDETERMINED     UNDETERMINED
    160 SOUTH MACY STREET, FOND DU
    LAC, WI, 54935
2.19 CITY OF GLENPOOL                                                                      UNDETERMINED     UNDETERMINED
    12205 S YUKON AVENUE, GLENPOOL,
    OK, 74033
2.20 CITY OF HARDEEVILLE                                                                   UNDETERMINED     UNDETERMINED
    205 MAIN STREET, HARDEEVILLE, SC,
    29927
2.21 CITY OF HURST                                                                         UNDETERMINED     UNDETERMINED
    1505 PRECINCT LINE ROAD, HURST,
    TX, 76054
2.22 CITY OF LEWISVILLE                                                                    UNDETERMINED     UNDETERMINED
    151 W CHURCH ST, LEWISVILLE, TX,
    75057
2.23 CITY OF LEXINGTON                                                                     UNDETERMINED     UNDETERMINED
    218 E. MAIN ST., LEXINGTON, KY, 40507
2.24 CITY OF LITTLE ROCK                                                                   UNDETERMINED     UNDETERMINED
    500 W MARKHAM ST., LITTLE ROCK,
    AR, 72201
2.25 CITY OF LYNCHBURG                                                                     UNDETERMINED     UNDETERMINED
    900 CHURCH STREET, LYNCHBURG,
    VA, 24504


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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 1:     List All Creditors with PRIORITY Unsecured Claims


 Creditor's Name, Mailing Address        Date Claim Was         C-U-D          Offset   Total Claim    Priority Amount
Including Zip Code                        Incurred And
                                         Account Number

2.26 CITY OF MANITOWOC                                                                  UNDETERMINED     UNDETERMINED
    900 QUAY STREET, MANITOWOC, WI,
    54220
2.27 CITY OF MANSFIELD                                                                  UNDETERMINED     UNDETERMINED
    1200 E. BROAD ST., MANSFIELD, TX,
    76063
2.28 CITY OF MCKINNEY                                                                   UNDETERMINED     UNDETERMINED
    401 E. VIRGINIA ST., MCKINNEY, TX,
    75069
2.29 CITY OF NORMAN                                                                     UNDETERMINED     UNDETERMINED
    CITY CLERK, 201 W GRAY ST.,
    NORMAN, OK, 73069
2.30 CITY OF NORTH CHARLESTON                                                           UNDETERMINED     UNDETERMINED
    2500 CITY HALL LANE, NORTH
    CHARLESTON, SC, 29406
2.31 CITY OF OAK RIDGE UTILITY                                                          UNDETERMINED     UNDETERMINED
    BUSINESS OFFICE
    200 SOUTH TULANE AVENUE, OAK
    RIDGE, TN, 37830
2.32 CITY OF OAKLAHOMA                                                                  UNDETERMINED     UNDETERMINED
    BUSINESS LICENSING OFFICE, 420 W.
    MAIN ST, 8TH FLOOR, OKLAHOMA CITY,
    OK, 73102
2.33 CITY OF ORLANDO                                                                    UNDETERMINED     UNDETERMINED
    400 SOUTH ORANGE AVENUE,
    ORLANDO, FL, 32801
2.34 CITY OF PENSACOLA                                                                  UNDETERMINED     UNDETERMINED
    222 W. MAIN STREET, PENSACOLA, FL,
    32502
2.35 CITY OF PLAINVIEW                                                                  UNDETERMINED     UNDETERMINED
    202 W. 5TH STREET, PLANVIEW, TX,
    79072
2.36 CITY OF ROCK HIL                                                                   UNDETERMINED     UNDETERMINED
    PLANNING & DEVELOPMENT
    DEPARTMENT, 155 JOHNSTON
    STREET, ROCK HILL, SC, 29730
2.37 CITY OF ROSWELL                                                                    UNDETERMINED     UNDETERMINED
    425 N. RICHARDSON , ROSWELL, NM,
    88201
2.38 CITY OF SAGINAW                                                                    UNDETERMINED     UNDETERMINED
    333 WEST MCLEROY BLVD., SAGINAW,
    TX, 76179
2.39 CITY OF SALEM                                                                      UNDETERMINED     UNDETERMINED
    114 NORTH BROAD STREET, SALEM,
    VA, 24153
2.40 CITY OF SAN ANGELO                                                                 UNDETERMINED     UNDETERMINED



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Including Zip Code                         Incurred And
                                          Account Number

    72 W. COLLEGE AVE., SAN ANGELO,
    TX, 76903
2.41 CITY OF SAN ANTONIO                                                                 UNDETERMINED     UNDETERMINED
    100 W. HOUSTON ST., CONCOURSE,
    SAN ANTONIO, TX, 78205
2.42 CITY OF SENECA                                                                      UNDETERMINED     UNDETERMINED
    221 E NORTH 1ST ST., SENECA, SC,
    29678
2.43 CITY OF SEVIERVILLE                                                                 UNDETERMINED     UNDETERMINED
    120 GARY WADE BLVD., SEVIERVILLE,
    TN, 37862
2.44 CITY OF SOUTH JORDAN                                                                UNDETERMINED     UNDETERMINED
    600 W TOWNE CENTER DRIVE, SOUTH
    JORDAN, UT, 84095
2.45 CITY OF SPRINGDALE                                                                  UNDETERMINED     UNDETERMINED
    11700 SPRINGFIELD PIKE,
    SPRINGDALE, OH, 45246
2.46 CITY OF TEXARKANA                                                                   UNDETERMINED     UNDETERMINED
    220 TEXAS BOULEVARD, TEXARKANA,
    TX, 75501
2.47 CITY OF TULSA                                                                       UNDETERMINED     UNDETERMINED
    175 EAST 2ND STREET, SUITE 690,
    TULSA, OK, 74103
2.48 CITY OF WICHITA                                                                     UNDETERMINED     UNDETERMINED
    455 N MAIN , WICHITA, KS, 67202
2.49 CITY OF WINSTON - SALEM - CITY                                                      UNDETERMINED     UNDETERMINED
    HALL
    FINANCE DEPARTMENT, 101 N MAIN
    STREET, SUITE 244, WINSTON-SALEM,
    NC, 27101
2.50 COLLIN COUNTY TAX                                                                   UNDETERMINED     UNDETERMINED
    ASSESSOR/COLLECTOR OFFICE
    6101 FRISCO SQUARE BOULEVARD,
    3ND FLOOR, FRISCO, TX, 75034
2.51 COMMISSIONER OF REVENUE, CITY                                                       UNDETERMINED     UNDETERMINED
    OF ROANOKE
    215 CHURCH AVENUE, ROOM 251,
    ROANOKE, VA, 24011
2.52 DALLAS CITY HALL                                                                    UNDETERMINED     UNDETERMINED
    1500 MARILLA STREET, ROOM 2BS,
    DALLAS , TX, 75201
2.53 FLORIDA DEPARTMENT OF REVENUE                                                       UNDETERMINED     UNDETERMINED
    5050 WEST TENNESSEE STREET, ,
    TALLAHASSEE, FL, 32399-0100
2.54 FLORIDA DEPARTMENT OF STATE                                                         UNDETERMINED     UNDETERMINED
    2415 N. MONROE STREET, SUITE 810,
    TALLAHASSEE, FL, 32303


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Schedule E/F: Creditors Who Have Unsecured Claims
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 Creditor's Name, Mailing Address          Date Claim Was         C-U-D          Offset   Total Claim    Priority Amount
Including Zip Code                          Incurred And
                                           Account Number

2.55 FORT WORTH CITY HALL                                                                 UNDETERMINED     UNDETERMINED
   100 FORT WORTH TRAIL 12TH FLOOR,
   FORT WORTH, TX, 76102
2.56 GEORGIA DEPARTMENT OF REVENUE                                                        UNDETERMINED     UNDETERMINED
   1800 CENTURY CENTER BLVD., N.E., ,
   ATLANTA, GA, 30345
2.57 GEORGIA DEPARTMENT OF REVENUE                                                        UNDETERMINED     UNDETERMINED
   UNCLAIMED PROPERTY SECTION,
   4125 WELCOME ALL ROAD STE 701,
   ATLANTA, GA, 30349
2.58 HALTOM CITY                                                                          UNDETERMINED     UNDETERMINED
   4801 HALTOM RD., HALTOM CITY, TX,
   76117
2.59 HILTON HEAD ISLAND                                                                   UNDETERMINED     UNDETERMINED
   1 TOWN CENTER COURT, HILTON
   HEAD ISLAND, SC, 29928
2.60 ILLINOIS DEPARTMENT OF REVENUE                                                       UNDETERMINED     UNDETERMINED
   PO BOX 1040, , GALESBURG, IL, 61402-
   1040
2.61 INDIANA DEPARTMENT OF REVENUE                                                        UNDETERMINED     UNDETERMINED
   1025 WIDENER LN, , SOUTH BEND, IN,
   46614
2.62 JACKSON COUNTY TREASURER                                                             UNDETERMINED     UNDETERMINED
   405 4TH ST., JACKSON, MN, 56143
2.63 KANSAS DEPARTMENT OF REVENUE                                                         UNDETERMINED     UNDETERMINED
   915 SW HARRISON ST #300, , TOPEKA,
   KS, 66612
2.64 KENTUCKY REVENUE CABINET                                                             UNDETERMINED     UNDETERMINED
   501 HIGH STREET, , FRANKFORT, KY,
   40620
2.65 KNOX COUNTY CLERK                                                                    UNDETERMINED     UNDETERMINED
   300 MAIN STREET, KNOVILLE, TN,
   37902
2.66 LOUISIANA DEPARTMENT OF                                                              UNDETERMINED     UNDETERMINED
   REVENUE
   617 NORTH THIRD STREET, , BATON
   ROUGE, LA, 70821-0201
2.67 LOUISVILLE METRO REVENUE                                                             UNDETERMINED     UNDETERMINED
   COMMISSION
   P.O. BOX 35410, , LOUISVILLE, KY,
   40232-5410
2.68 MERIWETHER COUNTY                                                                    UNDETERMINED     UNDETERMINED
   17234 ROOSEVELT HIGHWAY BUILDING
   B, GREENVILLE, GA, 30222
2.69 MIDVALE CITY HALL                                                                    UNDETERMINED     UNDETERMINED
   7505 S. HOLDEN STREET, MIDVALE, UT,
   84047

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Including Zip Code                         Incurred And
                                          Account Number

2.70 MINNESOTA DEPARTMENT OF                                                             UNDETERMINED     UNDETERMINED
   REVENUE
   600 NORTH ROBERT ST, , ST. PAUL,
   MN, 55101
2.71 MISSOURI DEPARTMENT OF REVENUE                                                      UNDETERMINED     UNDETERMINED
   HARRY S TRUMAN STATE OFFICE
   BUILDING, 301 WEST HIGH STREET,
   JEFFERSON CITY, MO, 65101
2.72 MONTGOMERY COUNTY TAX OFFICE                                                        UNDETERMINED     UNDETERMINED
   21130 LEGION RD., STE 200, NEW
   CANEY, TX, 77357
2.73 NEW MEXICO DEPARTMENT OF                                                            UNDETERMINED     UNDETERMINED
   TAXATION AND REVENUE
   1100 SOUTH ST. FRANCIS DRIVE, ,
   SANTA FE, NM, 87504
2.74 NEW MEXICO TAXATION & REVENUE                                                       UNDETERMINED     UNDETERMINED
   DEPT
   UNCLAIMED PROPERTY OFFICE,
   MANUEL LUJAN BUILDING, SANTA FE,
   NM, 87505
2.75 NORTH CAROLINA DEPARTMENT OF                                                        UNDETERMINED     UNDETERMINED
   REVENUE
   PO BOX 25000, , RALEIGH, NC, 27640-
   0640
2.76 NORTH MYRTLE BEACH                                                                  UNDETERMINED     UNDETERMINED
   BUSINESS LICENSE OFFICE, 1018 2ND
   AVENUE S, NORTH MYRTLE BEACH,
   SC, 29582
2.77 OFFICE OF THE KENTUCKY                                                              UNDETERMINED     UNDETERMINED
   SECRETARY OF STATE
   700 CAPITAL AVENUE, SUITE 152,
   FRANKFORT, KY, 40601
2.78 RALEIGH MUNICIPAL BUILDING                                                          UNDETERMINED     UNDETERMINED
   222 W. HARGETT ST. STE 207,
   RALEIGH, NC, 27601
2.79 ROCKWALL COUNTY                                                                     UNDETERMINED     UNDETERMINED
   101 E. RUSK ST., ROCKWALL, TX, 75087
2.80 SHELBY COUNTY                                                                       UNDETERMINED     UNDETERMINED
   BUSINESS TAX DIVISION, 150
   WASHINGTON AVENUE, SECOND
   FLOOR, MEMPHIS , TN, 38103
2.81 SOUTH CAROLINA DEPARTMENT OF                                                        UNDETERMINED     UNDETERMINED
   REVENUE
   PO BOX 12265, , COLUMBIA, SC, 29211
2.82 ST LOUIS COUNTY                                                                     UNDETERMINED     UNDETERMINED
   41 S. CENTRAL AV, ST LOUIS COUNTY,
   MO, 63105



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2.83 TAXATION & REVENUE NEW MEXICO                                                         UNDETERMINED     UNDETERMINED
    1200 SOUTH FT. FRANCIS DRIVE, ,
    SANTA FE, NM, 87505
2.84 TENNESSEE DEPARTMENT OF                                                               UNDETERMINED     UNDETERMINED
    REVENUE
    500 DEADERICK STREET, NASHVILE,
    TN, 37242
2.85 TENNESSEE DEPARTMENT OF                                                               UNDETERMINED     UNDETERMINED
    REVENUE
    500 DEADERICK STREET, ANDREW
    JACKSON BUILDING, , NASHVILLE, TN,
    37242
2.86 TEXAS DEPARTMENT OF REVENUE                                                           UNDETERMINED     UNDETERMINED
    CAPITOL STATION, P.O. BOX 13528,
    AUSTIN, TX, 78711-3528
2.87 THE CITY OF ALEXANDRIA                                                                UNDETERMINED     UNDETERMINED
    704 BROADWAY ST, ALEXANDRIA, MN,
    56308
2.88 THE CITY OF ANDOVER                                                                   UNDETERMINED     UNDETERMINED
    1609 EAST CENTRAL AVENUE,
    ANDOVER, KS, 67002
2.89 THE CITY OF ARDEN                                                                     UNDETERMINED     UNDETERMINED
    BUNCOMBE COUNTY FINANCE DEPT,
    200 COLLEGE STREET, SUITE 420,
    ASHEVILLE, NC, 28801
2.90 THE CITY OF ASHEVILLE                                                                 UNDETERMINED     UNDETERMINED
    70 COURT PLAZA, ASHEVILLE, NC,
    28801
2.91 THE CITY OF AURORA                                                                    UNDETERMINED     UNDETERMINED
    44 E DOWNER PLACE, AURORA, IL,
    60505
2.92 THE CITY OF AUSTIN                                                                    UNDETERMINED     UNDETERMINED
    CITY CLERK, 301 W. 2ND , 3RD FLOOR,
    AUSTIN, TX, 78701
2.93 THE CITY OF AVON PARK                                                                 UNDETERMINED     UNDETERMINED
    110 E MAIN ST, AVON PARK, FL, 33825
2.94 THE CITY OF BAXTER                                                                    UNDETERMINED     UNDETERMINED
    13190 MEMORYWOOD DR, BAXTER,
    MN , 56425
2.95 THE CITY OF BENTONVILLE                                                               UNDETERMINED     UNDETERMINED
    SW 14TH, BENTONVILLE, AR , 72712
2.96 THE CITY OF BOISE                                                                     UNDETERMINED     UNDETERMINED
    150 N CAPITOL BLVD,, BOISE, ID, 83702
2.97 THE CITY OF BOLINGBROOK                                                               UNDETERMINED     UNDETERMINED
    375 W. BRIARCLIFF ROAD,
    BOLINGBROOK, IL, 60440
2.98 THE CITY OF BOWLING GREEN                                                             UNDETERMINED     UNDETERMINED

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   1017 COLLEGE STREET, BOWLING
   GREEN, KY, 42101
2.99 THE CITY OF BOYNTON BEACH                                                           UNDETERMINED     UNDETERMINED
   100 E. OCEAN AVENUE, BOYNTON
   BEACH, FL, 33435
2.100 THE CITY OF BRIDGETON                                                              UNDETERMINED     UNDETERMINED
    12355 NATURAL BRIDGE ROAD,
    BRIDGETON, MO, 63044
2.101 THE CITY OF BRYANT                                                                 UNDETERMINED     UNDETERMINED
    210 SW 3RD. ST., BRYANT, AR , 72022
2.102 THE CITY OF CARROLLTON                                                             UNDETERMINED     UNDETERMINED
    315 BRADLEY STREET, CARROLLTON,
    GA, 30117
2.103 THE CITY OF CARTERSVILLE                                                           UNDETERMINED     UNDETERMINED
    10 NORTH PUBLIC SQUARE,
    CARTERSVILLE, GA, 30120
2.104 THE CITY OF CHARLOTTE                                                              UNDETERMINED     UNDETERMINED
    CITY CLERK, 600 E. FOURTH ST.,
    CHARLOTTE, NC, 28202
2.105 THE CITY OF CHICAGO                                                                UNDETERMINED     UNDETERMINED
    DEPARTMENT OF FINANCE, 121 N.
    LASALLE STREET 7TH FLOOR,
    CHICAGO, IL, 60602
2.106 THE CITY OF CLEMMONS                                                               UNDETERMINED     UNDETERMINED
    3715 CLEMMONS ROAD, CLEMMONS,
    NC, 27012
2.107 THE CITY OF CLEVELAND                                                              UNDETERMINED     UNDETERMINED
    85 SOUTH MAIN STREET, CLEVELAND,
    GA, 30528
2.108 THE CITY OF COMMERCE                                                               UNDETERMINED     UNDETERMINED
    27 SYCAMORE STREET, COMMERCE ,
    GA, 30529
2.109 THE CITY OF CONWAY                                                                 UNDETERMINED     UNDETERMINED
    1111 MAIN STREET, CONWAY, AR ,
    72032
2.110 THE CITY OF CORNELIA                                                               UNDETERMINED     UNDETERMINED
    181 LARKIN STREET, CORNELIA, GA,
    30531
2.111 THE CITY OF COVINGTON                                                              UNDETERMINED     UNDETERMINED
    2194 EMORY STREET NW,
    COVINGTON, GA, 30014
2.112 THE CITY OF DALLAS                                                                 UNDETERMINED     UNDETERMINED
    129 EAST MEMORIAL DRIVE, DALLAS ,
    GA, 30132
2.113 THE CITY OF DERBY                                                                  UNDETERMINED     UNDETERMINED
    611 MULBERRY ROAD, SUITE 300,
    DERBY, KS, 67037

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2.114 THE CITY OF DETROIT LAKES                                                         UNDETERMINED     UNDETERMINED
    1025 ROOSEVELT AVENUE, DETROIT
    LAKES, MN, 56501
2.115 THE CITY OF DURHAM                                                                UNDETERMINED     UNDETERMINED
    101 CITY HALL PLAZA, DURHAM, NC,
    27701
2.116 THE CITY OF EDWARDSVILLE                                                          UNDETERMINED     UNDETERMINED
    118 HILLSBORO AVENUE,
    EDWARDSVILLE, IL, 62025
2.117 THE CITY OF ELLISVILLE (BALLWIN                                                   UNDETERMINED     UNDETERMINED
    CITY LIMITS)
    1 WEIS AVENUE, ELLISVILLE, MO,
    63011
2.118 THE CITY OF FARGO                                                                 UNDETERMINED     UNDETERMINED
    225 4TH STREET NORTH, FARGO, ND,
    58102
2.119 THE CITY OF FAYETTEVILLE                                                          UNDETERMINED     UNDETERMINED
    113 WEST MOUNTAIN STREET,
    FAYETTEVILLE, AR, 72701
2.120 THE CITY OF FLOWERY BRANCH                                                        UNDETERMINED     UNDETERMINED
    5410 PINE STREET, FLOWERY
    BRANCH, GA, 30542
2.121 THE CITY OF FUQUAY-VARINA                                                         UNDETERMINED     UNDETERMINED
    134 N. MAIN STREET, FUQUAY-
    VARINA, NC, 27526
2.122 THE CITY OF GEORGETOWN                                                            UNDETERMINED     UNDETERMINED
    1000 W MAIN STREET SUITE 3,
    GEORGETOWN, KY, 40324
2.123 THE CITY OF GOLDSBORO                                                             UNDETERMINED     UNDETERMINED
    200 N CENTER STREET, GOLDSBORO,
    NC, 27530
2.124 THE CITY OF GRANBURY                                                              UNDETERMINED     UNDETERMINED
    116 W BRIDGE STREET, GRANBURY,
    TX, 76048
2.125 THE CITY OF GRAND RAPIDS                                                          UNDETERMINED     UNDETERMINED
    420 N POKEGAMA AVE,, GRAND
    RAPIDS, MN, 55744
2.126 THE CITY OF GRANITE CITY                                                          UNDETERMINED     UNDETERMINED
    2000 EDISON AVE, GRANITE CITY, IL,
    62040
2.127 THE CITY OF GRAYSON                                                               UNDETERMINED     UNDETERMINED
    475 GRAYSON PARKWAY, GRAYSON,
    GA, 30017
2.128 THE CITY OF GREENSBORO                                                            UNDETERMINED     UNDETERMINED
    300 W. WASHINGTON ST 2ND FLOOR,
    GREENSBORO, NC, 27401
2.129 THE CITY OF HELOTES                                                               UNDETERMINED     UNDETERMINED

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    PO BOX 507, 12951 BANDERA ROAD,
    HELOTES, TX, 78023
2.130 THE CITY OF HICKORY                                                                 UNDETERMINED     UNDETERMINED
    76 NORTH CENTER STREET ,
    HICKORY, NC, 28601
2.131 THE CITY OF HIGH POINT                                                              UNDETERMINED     UNDETERMINED
    211 SOUTH HAMILTON, HIGH POINT,
    NC, 27261
2.132 THE CITY OF JASPER                                                                  UNDETERMINED     UNDETERMINED
    610 MAIN ST, JASPER, IN, 47547
2.133 THE CITY OF JOPLIN                                                                  UNDETERMINED     UNDETERMINED
    602 S. MAIN ST., JOPLIN, MO, 64801
2.134 THE CITY OF KANNAPOLIS                                                              UNDETERMINED     UNDETERMINED
    401 LAUREATE WAY, KANNAPOLIS,
    NC, 28081
2.135 THE CITY OF KISSIMMEE                                                               UNDETERMINED     UNDETERMINED
    101 CHURCH STREET, SUITE 500,
    KISSIMMEE , FL, 34741
2.136 THE CITY OF LAKE WALES                                                              UNDETERMINED     UNDETERMINED
    201 W CENTRAL AVENUE, LAKE
    WALES , FL, 33853
2.137 THE CITY OF LAKE WORTH BEACH                                                        UNDETERMINED     UNDETERMINED
    7 NORTH DIXIE HIGHWAY, LAKE
    WORTH BEACH, FL, 33460
2.138 THE CITY OF LEXINGTON                                                               UNDETERMINED     UNDETERMINED
    218 E. MAIN ST., LEXINGTON, KY,
    40507
2.139 THE CITY OF LINCOLNTON                                                              UNDETERMINED     UNDETERMINED
    114 W SYCAMORE ST. FIRST FLOOR,
    LINCOLNTON, NC, 28092
2.140 THE CITY OF LITTLE ROCK                                                             UNDETERMINED     UNDETERMINED
    500 WEST MARKHAM STREET, LITTLE
    ROCK, AR, 72201
2.141 THE CITY OF LOGANVILLE                                                              UNDETERMINED     UNDETERMINED
    4303 LAWRENCEVILLE ROAD,
    LOGANVILLE, GA, 30052
2.142 THE CITY OF LOUISVILLE                                                              UNDETERMINED     UNDETERMINED
    617 W. JEFFERSON STREET,
    LOUISVILLE, KY, 40202
2.143 THE CITY OF MARION                                                                  UNDETERMINED     UNDETERMINED
    194 N MAIN STREET, MARION, NC,
    28752
2.144 THE CITY OF MERIDIAN                                                                UNDETERMINED     UNDETERMINED
    33 E. BROADWAY AV, MERIDIAN, ID,
    83642
2.145 THE CITY OF MIAMI GARDENS                                                           UNDETERMINED     UNDETERMINED



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    18605 NW 27TH AVENUE, MIAMI
    GARDENS, FL, 33056
2.146 THE CITY OF MILLEDGEVILLE                                                            UNDETERMINED     UNDETERMINED
    119 EAST HANCOCK STREET ,
    MILLEDGEVILLE, GA, 31061
2.147 THE CITY OF MILTON                                                                   UNDETERMINED     UNDETERMINED
    6738 DIXON STREET, MILTON, FL,
    32572
2.148 THE CITY OF MIRAMAR                                                                  UNDETERMINED     UNDETERMINED
    2300 CIVIC CENTER PLACE,
    MIRAMAR, FL, 33025
2.149 THE CITY OF MOORHEAD                                                                 UNDETERMINED     UNDETERMINED
    403 CENTER AVENUE, MOORHEAD,
    MN , 56561
2.150 THE CITY OF MYRTLE BEACH                                                             UNDETERMINED     UNDETERMINED
    BUSINESS LICENSE & UTILITY
    BILLING DIVISIONS, 921 N OAK ST,
    MYRTLE BEACH , SC, 29578
2.151 THE CITY OF NAPERVILLE                                                               UNDETERMINED     UNDETERMINED
    400 S. EAGLE ST., NAPERVILLE, IL,
    60540
2.152 THE CITY OF NICHOLASVILLE                                                            UNDETERMINED     UNDETERMINED
    601 N. MAIN STREET,, NICHOLASVILLE
    , KY, 40356
2.153 THE CITY OF NORTH LITTLE ROCK                                                        UNDETERMINED     UNDETERMINED
    300 MAIN STREET, NORTH LITTLE
    ROCK, AR, 72114
2.154 THE CITY OF NORTHLAKE                                                                UNDETERMINED     UNDETERMINED
    55 E. NORTH AVE, NORTHLAKE, IL,
    60164
2.155 THE CITY OF O'FALLON                                                                 UNDETERMINED     UNDETERMINED
    100 NORTH MAIN STREET, O'FALLON,
    MO, 63366
2.156 THE CITY OF OLIVE BRANCH                                                             UNDETERMINED     UNDETERMINED
    9200 PIGEON ROOST, OLIVE BRANCH,
    MS, 38654
2.157 THE CITY OF ORLANDO                                                                  UNDETERMINED     UNDETERMINED
    400 SOUTH ORANGE AVENUE,
    ORLANDO, FL, 32801
2.158 THE CITY OF OVERLAND                                                                 UNDETERMINED     UNDETERMINED
    9119 LACKLAND ROAD, OVERLAND,
    MO, 63114
2.159 THE CITY OF OVIEDO                                                                   UNDETERMINED     UNDETERMINED
    400 ALEXANDRIA BOULEVARD,
    OVIEDO, FL, 32765
2.160 THE CITY OF OWENSBORO                                                                UNDETERMINED     UNDETERMINED



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    101 EAST 4TH STREET, OWENSBORO,
    KY, 42303
2.161 THE CITY OF PACE                                                                  UNDETERMINED     UNDETERMINED
    SANTA ROSA COUNTY
    ADMINISTRATOR, 6495 CAROLINE
    STREE, MILTON, FL, 32570
2.162 THE CITY OF PENSACOLA                                                             UNDETERMINED     UNDETERMINED
    222 W MAIN STREET, PENSACOLA ,
    FL, 32502
2.163 THE CITY OF PONTOON BEACH                                                         UNDETERMINED     UNDETERMINED
    1 REGENCY PARKWAY, PONTOON
    BEACH, IL, 62040
2.164 THE CITY OF RALEIGH                                                               UNDETERMINED     UNDETERMINED
    222 W. HARGETT ST. 1ST FLOOR,
    RALEIGH, NC, 27601
2.165 THE CITY OF ROCKINGHAM                                                            UNDETERMINED     UNDETERMINED
    514 ROCKINGHAM ROAD,
    ROCKINGHAM, NC, 28379
2.166 THE CITY OF ROCKMART                                                              UNDETERMINED     UNDETERMINED
    316 N. PIEDMONT AVENUE,
    ROCKMART, GA, 30153
2.167 THE CITY OF ROGERS                                                                UNDETERMINED     UNDETERMINED
    301 W CHESTNUT , ROGERS, AR,
    72756
2.168 THE CITY OF ROSWELL                                                               UNDETERMINED     UNDETERMINED
    425 N RICHARDSON, ROSWELL, NM,
    88201
2.169 THE CITY OF SAPPINGTON                                                            UNDETERMINED     UNDETERMINED
    ST LOUIS COUNTY, 41 S. CENTRAL AV,
    CLAYTON, MO, 63105
2.170 THE CITY OF SAVANNAH                                                              UNDETERMINED     UNDETERMINED
    REVENUE DEPARTMENT, 305 FAHM
    STREET, COASTAL GEORGIA CENTER,
    SAVANNAH, GA, 31401
2.171 THE CITY OF SHAWNEE                                                               UNDETERMINED     UNDETERMINED
    11110 JOHNSON D, SHAWNEE, KS,
    66203
2.172 THE CITY OF SHERWOOD                                                              UNDETERMINED     UNDETERMINED
    2199 E. KIEHL AVENUE, SHERWOOD,
    AR, 72756
2.173 THE CITY OF SHREVEPORT                                                            UNDETERMINED     UNDETERMINED
    505 TRAVIS STREET SUITE 600,
    SHREVEPORT, LA, 71101
2.174 THE CITY OF SILOAM SPRINGS                                                        UNDETERMINED     UNDETERMINED
    400 N BROADWAY, SILOAM SPRINGS,
    AR, 72761
2.175 THE CITY OF SPRINGDALE                                                            UNDETERMINED     UNDETERMINED

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     201 SPRING STREET , SPRINGDALE,
     AR, 72764
2.176 THE CITY OF ST CHARLES                                                             UNDETERMINED     UNDETERMINED
     200 N SECOND STREET, ST CHARLES,
     MO, 63301
2.177 THE CITY OF ST LOUIS                                                               UNDETERMINED     UNDETERMINED
     TREASURY DEPARTMENT, 1200
     MARKET STREET, CITY HALL ROOM
     220, ST LOUIS, MO, 63103
2.178 THE CITY OF ST LOUIS                                                               UNDETERMINED     UNDETERMINED
     WEBSTER GROVES, #4 E.
     LOCKWOOD, WEBSTER GROVES, MO,
     63119
2.179 THE CITY OF ST PETERS                                                              UNDETERMINED     UNDETERMINED
     ONE ST. PETERS CENTRE BLVD, ST
     PETERS, MO, 63376
2.180 THE CITY OF ST. LOUIS                                                              UNDETERMINED     UNDETERMINED
     CITY OF SUNSET HILLS , 3939 S
     LINDBERGH BOULEVARD, SUNSET
     HILLS , MO, 63127
2.181 THE CITY OF TWIN FALLS                                                             UNDETERMINED     UNDETERMINED
     203 MAIN AVENUE EAST, TWIN FALLS,
     ID, 83301
2.182 THE CITY OF WARRENSBURG                                                            UNDETERMINED     UNDETERMINED
     102 S HOLDEN ST., WARRENSBURG,
     MO, 64093
2.183 THE CITY OF WATKINSVILLE                                                           UNDETERMINED     UNDETERMINED
     191 VFW DRIVE, WATKINSVILLE , GA,
     30677
2.184 THE CITY OF WEBB CITY                                                              UNDETERMINED     UNDETERMINED
     200 S. MAIN STREET, WEBB CITY, MO,
     64870
2.185 THE CITY OF WICHITA                                                                UNDETERMINED     UNDETERMINED
     455 N MAIN, CITY HALL, 12TH FLOOR,
     WICHITA, KS, 67202
2.186 THE CITY OF WINCHESTER                                                             UNDETERMINED     UNDETERMINED
     32 WALL STREET, WINCHESTER, KY,
     40392
2.187 THE CITY OF WINSTON SALEM                                                          UNDETERMINED     UNDETERMINED
     101 N MAIN STREET SUITE 244,
     WINSTON SALEM, NC, 27101
2.188 THE CITY OF WINTER GARDEN                                                          UNDETERMINED     UNDETERMINED
     300 W PLANT STREET, WINTER
     GARDEN, FL, 34787
2.189 THE CITY OF WOODSTOCK                                                              UNDETERMINED     UNDETERMINED
     12453 HWY 92, WOODSTOCK, GA,
     30188


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2.190 THE TOWN OF BEDFORD                                                                UNDETERMINED     UNDETERMINED
    215 EAST MAIN STREET, BEDFORD,
    VA, 24523
2.191 THE TOWN OF CLARKSVILLE                                                            UNDETERMINED     UNDETERMINED
    2000 BROADWAY STREET,
    CLARKSVILLE, IN, 47129
2.192 THE TOWN OF CLAYTON                                                                UNDETERMINED     UNDETERMINED
    111 E SECOND STREET, CLAYTON,
    NC, 27520
2.193 THE TOWN OF FLOWER MOUND                                                           UNDETERMINED     UNDETERMINED
    2121 CROSS TIMBERS ROAD,
    FLOWER MOUND, TX, 75028
2.194 THE TOWN OF FOREST CITY                                                            UNDETERMINED     UNDETERMINED
    128 N. POWELL STREET, FOREST
    CITY, NC, 28043
2.195 THE TOWN OF HOLLY SPRINGS                                                          UNDETERMINED     UNDETERMINED
    128 S. MAIN ST., HOLLY SPRINGS, NC,
    27540
2.196 THE TOWN OF MATTHEWS                                                               UNDETERMINED     UNDETERMINED
    232 MATTHEWS STATION ST.,
    MATTHEWS, NC, 28105
2.197 THE TOWN OF PINEVILLE                                                              UNDETERMINED     UNDETERMINED
    505 MAIN STREET, PINEVILLE , NC,
    28134
2.198 THE TOWN OF WAKE FOREST                                                            UNDETERMINED     UNDETERMINED
    301 S. BROOKS ST, WAKE FOREST,
    NC, 27587
2.199 THE TOWN OF WEAVERVILLE                                                            UNDETERMINED     UNDETERMINED
    30 SOUTH MAIN STREET,
    WEAVERVILLE, NC, 28787
2.200 THE VILLAGE OF ADDISON                                                             UNDETERMINED     UNDETERMINED
    1 FRIENDSHIP PLAZA, ADDISON, IL,
    60101
2.201 THE VILLAGE OF CAROL STREAM                                                        UNDETERMINED     UNDETERMINED
    500 N GARY AVE, CAROL STREAM, IL,
    60188
2.202 THE VILLAGE OF GLEN CARBON                                                         UNDETERMINED     UNDETERMINED
    151 N. MAIN STREET , GLEN CARBON,
    IL, 62034
2.203 THE VILLAGE OF GLEN ELLYN                                                          UNDETERMINED     UNDETERMINED
    535 DUANE STREET, GLEN ELLYN, IL,
    60137
2.204 THE VILLAGE OF ROSELLE                                                             UNDETERMINED     UNDETERMINED
    31 S. PROSPECT ST., ROSELLE, IL,
    60172
2.205 THE VILLAGE OF SAUKVILLE                                                           UNDETERMINED     UNDETERMINED



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    639 E GREEN BAY AVENUE,
    SAUKVILLE, WI, 53080
2.206 THE VILLAGE OF VILLA PARK                                                          UNDETERMINED     UNDETERMINED
    20 S ARDMORE AVENUE, VILLA PARK,
    IL, 60181
2.207 TOWN OF ARLINGTON                                                                  UNDETERMINED     UNDETERMINED
    5854 AIRLINE RD. , PO BOX 507,
    ARLINGTON, TN, 38002
2.208 TOWN OF BLUFFTON                                                                   UNDETERMINED     UNDETERMINED
    20 BRIDGE STREET, PO BOX 386,
    BLUFFTON, SC, 29910
2.209 TOWN OF LITTLE ELM                                                                 UNDETERMINED     UNDETERMINED
    100 W. ELDORADO PARKWAY, LUTTLE
    ELM, TX, 75068
2.210 TOWN OF MOUNT PLEASANT                                                             UNDETERMINED     UNDETERMINED
    MUNICIPAL COMPLEX, 100 ANN
    EDWARDS LANE, MOUNT PLEASANT,
    SC, 29464
2.211 TOWN OF PROSPER                                                                    UNDETERMINED     UNDETERMINED
    250 W. FIRST STREET, PROSPER, TX,
    75078
2.212 TOWN PF WALTERBORO                                                                 UNDETERMINED     UNDETERMINED
    242 HAMPTON STREET,
    WALTERBORO, SC, 29488
2.213 UNIVERSAL CITY                                                                     UNDETERMINED     UNDETERMINED
    2150 UNIVERSITY CITY BOULEVARD,
    UNIVERSAL CITY, TX, 78148
2.214 UTAH DEPARTMENT OF REVENUE                                                         UNDETERMINED     UNDETERMINED
    210 NORTH 1950 WEST, , SALT LAKE
    CITY, UT, 84134
2.215 VILLAGE OF BOILINGBROOK                                                            UNDETERMINED     UNDETERMINED
    FINANCE DEPARTMENT, 375 W.
    BRIARCLIFF ROAD, BOILINGBROOK,
    IL, 60440
2.216 VIRGINIA DEPARTMENT OF REVENUE                                                     UNDETERMINED     UNDETERMINED
    P.O. BOX 1115, RICHMOND, VA, 23218-
    1115
2.217 WISCONSIN DEPARTMENT OF                                                            UNDETERMINED     UNDETERMINED
    REVENUE
    CUSTOMER SERVICE BUREAU, P.O.
    BOX 8949, MADISON, WI, 53708-8949
2.218 WISCONSIN DEPT OF REVENUE                                                          UNDETERMINED     UNDETERMINED
    PO BOX 8902, , MADISON, WI, 53708-
    8902
2.219 WISCONSIN DEPT OF REVENUE                                                          UNDETERMINED     UNDETERMINED
    UNCLAIMED PROPERTY MS 3-UP,
    2135 RIMROCK ROAD, MADISON, WI,


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 Including Zip Code                           Incurred And
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     53713
2.220 WISCONSIN DEPT OF REVENUE                                                               UNDETERMINED     UNDETERMINED
     WI SALES & USE TAX, PO BOX 3028,
     MILWAUKEE, WI, 53201-3028




2. Total: All Creditors with PRIORITY Unsecured Claims                              UNDETERMINED        UNDETERMINED




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3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with
   nonpriority unsecured claims, fill out and attach the Additional Page of Part 2.



 Creditor's Name, Mailing Address            Date Claim Was          C-U-D         Basis for Claim        Offset        Amount of
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3.1 600 WILLOW PROP LLC                                                           REAL PROPERTY                            $20,687.04
    WALNUT SUNSET HOLDING                                                         LEASE
    COMPANY, LLC P.O. BOX 7842
    LITTLE ROCK, AR 72217
3.2 A & I DISTRIBUTORS                                                            TRADE                                       $633.93
    900 1ST AVE N
    BILLINGS, MT 59101
3.3 A PLUS GARAGE DOORS                                                           TRADE                                     $1,760.00
    8763 SANDY PARKWAY
    SANDY, UT 84070
3.4 A.C.S. INC.                                                                   TRADE                                     $1,530.47
    4223 SOUTH WILSON RD.
    ELIZABETHTOWN, KY 42701
3.5 ABC SECURITY                                                                  TRADE                                       $283.50
    111 LAURA LANE
    JULIETTE, GA 31046
3.6 ABDU MUKTAR                                                                   WORKERS'                             UNDETERMINED
    ATTN: PLAINTIFF'S COUNSEL: JD                                                 COMPENSATION &
    SILVA, 9307 BROADWAY, STE 303,                                                GENERAL
    PEARLAND, TX 77584                                                            LITIGATION
3.7 ACCURACY BACKFLOW                                                             TRADE                                     $1,467.84
    PO BOX 6832
    MCKINNEY, TX 75071
3.8 ACE ON SITE WELDING, LLC                                                      TRADE                                       $912.90
    55 PARADISE CIRCLE
    MAYFLOWER, AR 72106
3.9 ADAM BARTLEY: BARTMART II, LLC                                                REAL PROPERTY                            $12,736.36
    JASON A. BARTLEY, MANAGER 110                                                 LEASE
    SURRY PATH COURT WINSTON-
    SALEM, NC 27104
3.10 ADDIGY INC                                                                   TRADE                                     $1,296.55
     7315 SW 87TH AVE STE 200
     MIAMI, FL 33173
3.11 ADT SECURITY SERVICES                                                        TRADE                                     $5,517.79
     PO BOX 371878
     PITTSBURGH, PA 15250-7878
3.12 ADVANCED COMPRESSED AIR                                                      TRADE                                       $629.51
     SOLUTIONS
     9421 FM 2920 RD


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Including Zip Code                     Incurred And                                                    Claim
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    BLDG 23
    TOMBALL, TX 77375
3.13 ADVANCED FIRE & SECURITY                                             TRADE                            $625.85
    PO BOX 668370
    POMPANO BEACH, FL 33066
3.14 AFFORDABLE ROOTER SERVICE,                                           TRADE                           $1,012.50
    LLC
    513 HAYDEN CREEK DR.
    BRYANT, AR 72022
3.15 AIM OF LOUISIANA                                                     TRADE                            $381.69
    3804 NORTH NONA ST.
    NORTH LITTLE ROCK, AR 72118
3.16 AIR CAPITAL EQUIPMENT, INC.                                          TRADE                            $157.40
    806 EAST BOSTON
    WICHITA, KS 67211-3313
3.17 AIR POWER EQUIPMENT CO, INC.                                         TRADE                           $1,997.57
    703 NORTH VILLA AVE.
    OKLAHOMA CITY, OK 73107
3.18 AIR-AD PROMOTIONS, INC.                                              TRADE                           $2,631.50
    PO BOX 202066
    ARLINGTON, TX 76006
3.19 AIRLIFT DOORS, INC                                                   TRADE                          $33,272.26
    400 HWY 55 W
    MAPLE LAKE, MN 55358
3.20 ALAMO CRYSTAL CLEAR WATER &                                          TRADE                            $425.00
    ICE
    2350 EAST 1ST SUITE C
    ALAMOGORDO, NM 88310
3.21 AMERICAN BOILER INSPECTION                                           TRADE                             $80.00
    SERVICE INC
    12800 SADDLESEAT PLACE
    RICHMOND, VA 23233-7687
3.22 AMPEST EXTERMINATING &                                               TRADE                           $1,494.00
    WILDLIFE CONTROL
    1020 W FULLERTON AVE.
    #C
    ADDISON, IL 60101
3.23 ANDREA SHANNON                                                       WORKERS'                    UNDETERMINED
    ATTN: PLAINTIFF COUNSEL: BAHE,                                        COMPENSATION &
    COOK, CANTLEY, & NEFZGER PLC                                          GENERAL
    1041 GOSS AVE                                                         LITIGATION
    LOUISVILLE, KY 40217
3.24 ANGELO GRIMES                                                        ADMINISTRATIVE              UNDETERMINED
    [REDACTED ADDRESS]                                                    AGENCY
                                                                          PROCEEDING
3.25 ANGELO WATER SERVICE CO                                              TRADE                            $636.41
    1007 N CHADBOURNE
    SAN ANGELO, TX 76903

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3.26 AQUALIS                                                             TRADE                            $273.00
    NEW RESTORATION AND
    RECOVERY SERVICES
    P.O. BOX 670612
    DALLAS, TX 75267-0612
3.27 ARCADIAN SERVICES LLC                                               TRADE                          $13,631.65
    3109 NORTHINGTON CRT
    FLORENCE, AL 35630
3.28 ARCON SOLUTIONS INC                                                 TRADE                          $25,323.75
    1284 CORPORATE CENTER DR
    #175
    EAGAN, MN 55121
3.29 ARKANSAS FACILITY SERVICES                                          TRADE                            $391.25
    200 EXETER CIRCLE
    FORT SMITH, AR 72908
3.30 ARTHUR DE LA CRUZ MARTINEZ                                          WORKERS'                    UNDETERMINED
    [REDACTED ADDRESS]                                                   COMPENSATION &
                                                                         GENERAL
                                                                         LITIGATION
3.31 ASCEND TECHNOLOGIES LLC                                             TRADE                         $217,843.12
    200 WEST ADAMS STREET, SUITE
    1600
    CHICAGO, IL 60606
3.32 ASHEVILLE FIRE PROTECTION CO                                        TRADE                            $103.75
    INC
    PO BOX 6798
    ASHEVILLE, NC 28816
3.33 ASHEVILLE RADIO GROUP                                               TRADE                            $200.00
    1190 PATTON AVE
    ASHEVILLE, NC 28806
3.34 ATLAS FIRE PROTECTION, LLC                                          TRADE                            $431.69
    PO BOX 713
    ATHENS, TN 37371
3.35 AUDACY OPERATIONS, INC.                                             TRADE                            $122.11
    9111 E. DOUGLAS
    SUITE 130
    WICHITA, KS 67207
3.36 AURORA SIGN CO.                                                     TRADE                           $1,934.97
    30W196 CALUMET AVE W
    WARRENVILLE, IL 60555
3.37 AUTOWASH SERVICES, LLC                                              TRADE                           $5,825.54
    2925 114TH STREET
    GRAND PRAIRIE, TX 75050
3.38 BACKFLOW SPECIALTY CO., INC.                                        TRADE                           $1,054.43
    P.O. BOX 12162
    KNOXVILLE, TN 37912
3.39 BACS INC                                                            TRADE                            $679.50
    2153 N MAIN ST
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Including Zip Code                    Incurred And                                                    Claim
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   SUMMERVILLE, SC 29486
3.40 BAKER WASH SERVICES                                                 TRADE                           $3,913.61
   5431 GREGG ST
   DALLAS, TX 75235
3.41 BATES ELECTRIC                                                      TRADE                            $680.50
   PO BOX 100
   IMPERIAL, MO 63052
3.42 BEACH PEST SERVICE LLC                                              TRADE                            $100.00
   415 79TH AVE N
   MYRTLE BEACH, SC 29572
3.43 BEST PEST CONTROL, LLC                                              TRADE                             $32.63
   P.O. BOX 45
   REDFIELD, AR 72132
3.44 BIO PLUMBING LLC                                                    TRADE                           $5,448.00
   1834 TURKEY PEN LANE
   LENIOR CITY, TN 37772
3.45 BIZZY BEE EXTERMINATORS                                             TRADE                             $80.00
   30 OXFORD BUSINESS PARKWAY
   OXFORD, GA 30054
3.46 BOWLES HEATING & COOLING                                            TRADE                            $215.29
   2616 D S BRYANT BLVD
   SAN ANGELO, TX 76903
3.47 BRANNON CROSSING                                                    TRADE                            $583.00
   COMMERCIAL & OFFICE PARK
   838 E. HIGH ST. #119
   LEXINGTON, KY 40502
3.48 BRIER CREEK ELEMENTARY PTA                                          TRADE                            $731.32
   9801 BRIER CREEK PKWY
   RALEIGH, NC 27617
3.49 BROADSTONE ZCW PORTFOLIO,                                           TRADE                           $1,661.84
   LLC
   800 CLINTON SQUARE
   ROCHESTER, NY 14604
3.50 BROADSTONE ZCW PORTFOLIO,                                           REAL PROPERTY                 $209,355.80
   LLC                                                                   LEASE
   ATTN: PORTFOLIO MANAGER 800
   CLINTON SQUIARE ROCHESTER
   NY 14604
3.51 BUG EXPRESS PEST CONTROL                                            TRADE                            $357.22
   2210 AUSTIN
   SAN ANGELO, TX 76903
3.52 BUG-A-WAY PEST CONTROL LLC                                          TRADE                            $200.00
   7414 E 32ND ST.
   JOPLIN, MO 64804
3.53 CALVIN COPELAND                                                     ADMINISTRATIVE              UNDETERMINED
   [REDACTED ADDRESS]                                                    AGENCY
                                                                         PROCEEDING


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3.54 CANDELARIA VILLEGAS                                                   WORKERS'                    UNDETERMINED
    ATTN: PLAINTIFF'S COUNSEL:                                             COMPENSATION &
    JUSTIN HURST 518 OUACHITA                                              GENERAL
    AVENUE                                                                 LITIGATION
    HOT SPRINGS, AR 71901
3.55 CANOPY PROMOTIONS                                                     TRADE                           $8,650.00
    2728 ANNA STEELE LANE
    BIRMINGHAM, AL 35216
3.56 CAPITAL BUSINESS LEASING, LLC.                                        TRADE                           $1,303.52
    P.O. BOX 3855
    LITTLE ROCK, AR 72203-3855
3.57 CAPITAL TECHNOLOGY GROUP                                              TRADE                           $2,567.80
    PO BOX 3855
    LITTLE ROCK, AR 72203
3.58 CAR W, LLC                                                            REAL PROPERTY                  $23,011.52
    C\O TIM CONLEY 1016 DIAMOND                                            LEASE
    HEAD WAY PALM BEACH
    GARDENS, FL 33418
3.59 CARDLYTICS INC                                                        TRADE                          $51,298.35
    675 PONCE DE LEON AVE NE
    STE 4100
    ATLANTA, GA 30308
3.60 CAROLINA FOREST ACE                                                   TRADE                            $125.09
    2148 OAKHEART RD
    MYRTLE BEACH, SC 29579
3.61 CARWASH SERVICES & SUPPLIES                                           TRADE                           $1,322.18
    13757 ST CHARLES ROCK ROAD
    BRIDGETON, MO 63044
3.62 CAUBLED UP SERVICES LLC                                               TRADE                          $19,950.00
    145 CARTER AVE
    LOUISVILLE, KY 40229
3.63 CCH INCORPORATED                                                      TRADE                          $30,581.50
    PO BOX 4307
    CAROL STREAM, IL 60197-4307
3.64 CDW DIRECT                                                            TRADE                           $1,756.08
    200 N MILWAUKEE AVENUE
    VERNON HILLS, IL 60061
3.65 CENTRAL LAUNDRY EQUIPMENT                                             TRADE                           $1,223.52
    PO BOX 324
    WARD, AR 72176
3.66 CHAPMAN HEATING & COOLING                                             TRADE                           $3,897.37
    1209 TRUMAN PARK DR.
    LOUISVILLE, KY 40245
3.67 CHINDEN & LINDER CAM                                                  TRADE                           $2,599.77
    350 N. 9TH STREET
    SUITE 200
    BOISE, ID 83702


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3.68 CHRISTINE LABRENZ, AS JOINT                                           REAL PROPERTY                  $27,336.08
    TENANTS WITH RIGHTS OF                                                 LEASE
    SURVIVORSHIP
    ATTN: WILLIAM GIFFEN AND
    CHRISTINE LABRENZ AS
    COMMUNITY PROPERTY 77
    MADRONE AVE, PESCADERO, CA,
    94060
3.69 CINTAS CORPORATION                                                    TRADE                           $2,291.36
    PO BOX 630803
    CINCINNATI, OH 45263-0803
3.70 CISION US, INC.                                                       TRADE                           $5,363.78
    12051 INDIAN CREEK COURT
    BELTSVILLE, MD 20705
3.71 CITADEL ELECTRIC LLC                                                  TRADE                           $4,424.02
    PO BOX 2676
    BLUFFTON, SC 29910
3.72 CITY FIRE, INC.                                                       TRADE                            $149.80
    5708 SW 25TH ST
    HOLLYWOOD, FL 33023
3.73 CITY OF CHICAGO                                                       ADMINISTRATIVE              UNDETERMINED
    DEPARTMENT OF FINANCE                                                  AGENCY
    121 N. LASALLE STREET 7TH                                              PROCEEDING
    FLOOR
    CHICAGO, IL 60602
3.74 CITY OF CHICAGO                                                       ADMINISTRATIVE              UNDETERMINED
    DEPARTMENT OF FINANCE                                                  AGENCY
    121 N. LASALLE STREET 7TH                                              PROCEEDING
    FLOOR
    CHICAGO, IL 60602
3.75 CITY OF LEWISVILLE                                                    TRADE                             $50.00
    151 W CHURCH ST
    LEWISVILLE, TX 75057
3.76 CITY OF LOGANVILLE                                                    TRADE                             $75.00
    OCCUPATIONAL TAX OFFICE
    4303 LAWRENCEVILLE RD
    LOGANVILLE, GA 30052
3.77 CITY OF NORTHLAKE                                                     TRADE                            $200.00
    55 E NORTH AVE
    NORTHLAKE, IL 60164
3.78 CLARK ELECTRICAL SERVICE, INC.                                        TRADE                           $1,363.00
    370 FARMERS RD.
    FINCASTLE, VA 24090
3.79 CLEAN AIR TECHNOLOGIES INC.                                           TRADE                          $16,989.50
    O/A EUROVAC
    44 MILVAN DRIVE
    NORTH YORK, ON M9L 1Z3
    CANADA


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3.80 CLEAN WORLD DISTRIBUTION,                                           TRADE                           $1,923.94
   INC.
   2156 CHENAULT DR
   CARROLLTON, TX 75006
3.81 COASTLINE ELECTRIC, INC.                                            TRADE                            $100.00
   PO BOX 2928
   MURRELLS INLET, SC 29576
3.82 COGENCYGLOBAL                                                       TRADE                           $4,252.75
   600 SOUTH SECOND ST., STE. 404
   SPRINGFIELD, IL 62704
3.83 COMMERCIAL DUE DILIGENCE                                            TRADE                          $10,400.00
   SERVICES
   ACCOUNTS RECEIVABLE DEPT.
   PO BOX 677858
   DALLAS, TX 75267-7858
3.84 COMMERCIAL GLASS AND METAL                                          TRADE                           $1,753.00
   615 W 10TH ST
   JOPLIN, MO 64801
3.85 COMPRESSED AIR SYSTEMS LLC.                                         TRADE                           $1,260.81
   600 S. 2ND AVE
   MANSFIELD, TX 76063
3.86 CONCUR                                                              TRADE                          $46,052.24
   601 108TH AVE NE
   STE 1000
   BELLEVUE, WA 98004
3.87 CONSOLIDATED ADMIN SERVICES                                         TRADE                           $1,064.50
   P.O. BOX 1513
   CABOT, AR 72023
3.88 CONSTANGY, BROOKS, SMITH &                                          TRADE                            $407.00
   PROPHETE, LLP.
   8470 FALLS OF NEUSE RD. SUITE
   202
   RALEIGH, NC 27615
3.89 CONSTRUCTION SAFETY                                                 TRADE                            $307.09
   PRODUCTS
   PO BOX 65266
   SHREVEPORT, LA 71136
3.90 COOKS HEATING & COOLING, INC                                        TRADE                            $314.05
   PO BOX 190
   RURAL HALL, NC 27045
3.91 CORCENTRIC PAYMENTS, LLC                                            TRADE                           $2,200.00
   62861 COLLECTIONS CENTER
   DRIVE
   CHICAGO, IL 60693
3.92 COUNTRY AIRE COMMONS RET                                            TRADE                           $1,239.34
   POND
   CONTINENTAL PROPERTIES CO.
   INC.

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    W134 N8675 EXECUTIVE PKWY
    MENOMONEE FALLS, WI 53051
3.93 CREATIVE PLANNING, LLC                                               TRADE                          $10,000.00
    DEPT: LOCKTON RETIREMENT
    SERVICES
    BOX 952032
    ST. LOUIS, MO 63195-2032
3.94 CRESTWOOD ASSOCIATES, LLC                                            TRADE                          $25,216.36
    L-4012
    COLUMBUS, OH 43260-4012
3.95 CULLIGAN                                                             TRADE                           $3,337.78
    PO BOX 77043
    MINNEAPOLIS, MN 55480-7743
3.96 CYARK SILOAM, LLC                                                    REAL PROPERTY                  $27,418.56
    ATTN: ELIZABETH YOUNG 1404                                            LEASE
    JEAN ST., SPRINGDALE, AR 72762
3.97 CYNTHIA ROMERO                                                       WORKERS'                    UNDETERMINED
    [REDACTED ADDRESS]                                                    COMPENSATION &
                                                                          GENERAL
                                                                          LITIGATION
3.98 D & I ELECTRONICS, INC.                                              TRADE                           $2,063.55
    24802 CATON FARM ROAD
    PLAINFIELD, IL 60586
3.99 D & J PLUMBING                                                       TRADE                            $350.00
    PO BOX 375
    COMMERCE, GA 30529
3.100 DAKOTA PLAINS MECHANICAL                                            TRADE                            $240.00
     CORPORATION
     315 27 CIR S
     FARGO, ND 58103
3.101 DANNY DAVIS ELECTRICAL                                              TRADE                            $574.00
     CONTRACTORS; INC.
     111 EVERETT AVE
     MARYVILLE, TN 37804
3.102 DARNEL, INC.                                                        TRADE                           $1,302.14
     1809 AIRPORT RD
     MONROE, NC 28110
3.103 DATAMAX INC.                                                        TRADE                           $1,388.81
     PO BOX 2235
     ST. LOUIS, MO 63109
3.104 DEFINITY PEST SERVICES, LLC                                         TRADE                             $97.42
     P.O. BOX 744253
     DALLAS, TX 75374
3.105 DH PACE COMPANY INC                                                 TRADE                           $7,367.38
     1901 E. 119TH STREET
     OLATHE, KS 66061
3.106 DK LAWN DETAILING LLC                                               TRADE                           $1,350.00


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     4697 N TUMBLEWEED PL
     BOISE, ID 83713
3.107 DOMO, INC.                                                         TRADE                          $35,109.91
     772 E. UTAH VALLEY DR.
     AMERICAN FORK, UT 84003-9773
3.108 DOROTHY ELLIS                                                      WORKERS'                    UNDETERMINED
     ATTN: PLAINTIFF'S COUNSEL:                                          COMPENSATION &
     ZACHARY TOBINN, 150 SOUTH                                           GENERAL
     BELLWOOD DRIVE,                                                     LITIGATION
     EAST ALTON, IL 62024
3.109 DRB SYSTEMS LLC                                                    TRADE                          $59,072.63
     3245 PICKLE RD
     AKRON, OH 44312
3.110 DURASERV CORP                                                      TRADE                           $4,016.45
     P. O . BOX 840602
     DALLAS, TX 75284
3.111 DYER'S PLUMBING                                                    TRADE                           $3,789.41
     233 S. HAMILTON ST.
     EDEN, NC 27288
3.112 E. H. CONSTRUCT, INC.                                              TRADE                          $18,280.00
     1188 E BLUE LICK RD
     SHEPHERDSVILLE, KY 40165
3.113 EDAFIO TECHNOLOGIES, LLC                                           TRADE                         $136,989.58
     5400 NORTHSHORE DR
     NORTH LITTLE ROCK, AR 72118
3.114 EDWINA EDWARDS                                                     WORKERS'                    UNDETERMINED
     ATTN: PLAINTIFF'S COUNSEL:                                          COMPENSATION &
     BRADLEY BONVILLE, 2971 WEST                                         GENERAL
     MONTAGUE AVE., STE 201,                                             LITIGATION
     NORTH CHARLESTON, SC 29418
3.115 ELECTRICRAFT, INC.                                                 TRADE                           $6,046.09
     1218 E 18TH ST N
     WICHITA, KS 67214
3.116 ELITE PLUMBING AND DRAIN                                           TRADE                           $2,500.00
     CLEANING
     16540 110TH AVE SOUTH
     BARNESVILLE, MN 56514
3.117 ELVIS SERVICE COMPANY                                              TRADE                          $11,225.00
     2200 EXECUTIVE AVE
     MYRTLE BEACH, SC 29577
3.118 EMBARK CONSULTING, LLC                                             TRADE                         $147,207.38
     333 1ST AVE
     DALLAS, TX 75226
3.119 EMC SECURITY                                                       TRADE                            $120.00
     55 SATELLITE BLVD NW
     SUWANEE, GA 30024
3.120 EMPLOYERS EDGE                                                     TRADE                           $3,188.93


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    4076 PAYSPHERE CIRCLE
    CHICAGO, IL 60674-4076
3.121 ENERGY PETROLEUM CO                                                  TRADE                           $5,613.53
    2130 KIENLEN AVE
    ST. LOUIS, MO 63121-5505
3.122 EVANS DISTRIBUTING COMPANY                                           TRADE                          $23,728.14
    3218 JENNY LIND
    FORT SMITH, AR 72901
3.123 EXPRESS CARWASH                                                      TRADE                          $67,379.15
    951 LOCUST HILL CR
    BELTON, MO 64012
3.124 EXPWASH RE PORTFOLIO                                                 REAL PROPERTY                 $119,812.25
    ATTN: HILLARY HAI 47 HULFISH                                           LEASE
    STREET, SUITE # 210 PRINCETON,
    NJ 08542
3.125 F.M. HAMMAD IRREVOCABLE                                              REAL PROPERTY                  $20,957.66
    TRUST                                                                  LEASE
    4729 LENNON AVE. ARLINGTON,
    TEXAS 76016
3.126 FACILITY SOLUTIONS GROUP, INC                                        TRADE                            $941.78
    4401 WESTGATE BLVD. STE 310
    AUSTIN, TX 78745
3.127 FEDEX                                                                TRADE                          $34,439.40
    P.O. BOX 660481
    DALLAS, TX 75266-0481
3.128 FINANCIAL SYSTEMS CORP                                               TRADE                           $1,148.84
    N70W25156 INDIAN GRASS LANE
    UNIT H
    SUSSEX, WI 53089
3.129 FLETCHER ELECTRIC SERVICE,                                           TRADE                           $1,379.76
    INC
    221 E CENTRAL AVE
    LAKE WALES, FL 33853
3.130 FOSTER FUELS, INC.                                                   TRADE                           $1,063.14
    PO BOX 190
    BROOKNEAL, VA 24528
3.131 FOWLER PROPERTY                                                      REAL PROPERTY                  $14,531.22
    INVESTMENT                                                             LEASE
    2201 FRANCISCO DR, #140-584 EL
    DORADO HILLS, CA 95762
3.132 FROST OIL COMPANY                                                    TRADE                          $11,323.59
    PO BOX 5632
    VAN BUREN, AR 72956
3.133 FULLSCOPE PEST CONTROL                                               TRADE                            $326.14
    14222 OLD HWY 59N
    SPLENDORA, TX 77327




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3.134 FVR SUBSIDIARY OP LP                                                REAL PROPERTY                  $14,781.25
    C/O NORTH AMERICAN                                                    LEASE
    DEVELOPMENT GROUP 2718
    FAIRMOUNT STREET DALLAS,
    TEXAS 75201 AND CENTRECORP
    MANAGEMENT SERVICES LLLP
    4400 A NORTH FREEWAY, SUITE
    900 HOUSTON, TEXAS 77022 AND
    CENTRECORP MANAGEMENT
    SERVICES LLLP 2851 JOHN
    STREET, SUITE 1 MARKHAM
    ONTARIO, L3R 5R7 ATTENTION:
    EXECUTIVE VICE PRESIDENT
3.135 GBH BRENTWOOD BOULEVARD,                                            REAL PROPERTY                   $4,026.38
    LLC                                                                   LEASE
    ATTN: ANTHONY M. ZIRILLE, ESQ.
    127 W. BERRY STREET, SUITE 300
    FORT WAYNE, IN 46802
3.136 GBH PAGE AVENUE, LLC                                                REAL PROPERTY                  $11,934.41
    ATTN: ANTHONY M. ZIRILLE, ESQ.                                        LEASE
    127 W. BERRY STREET, SUITE 300
    FORT WAYNE, IN 46802
3.137 GBH SOUTHERN MANOR DRIVE,                                           REAL PROPERTY                  $11,638.40
    LLC                                                                   LEASE
    ATTN: ANTHONY M. ZIRILLE, ESQ.
    127 W. BERRY STREET, SUITE 300
    FORT WAYNE, IN 46802
3.138 GBH TESSON FERRY, LLC                                               REAL PROPERTY                  $11,526.25
    ATTN: ANTHONY M. ZIRILLE, ESQ.                                        LEASE
    127 W. BERRY STREET, SUITE 300
    FORT WAYNE, IN 46802
3.139 GENE DINKENS                                                        SEVERANCE                     $346,153.80
    [REDACTED ADDRESS]
3.140 GENEX SERVICES, LLC                                                 TRADE                           $1,275.00
    PO BOX 88026
    CHICAGO, IL 60680
3.141 GERALDINE WINNING                                                   WORKERS'                    UNDETERMINED
    ATTN: PLAINTIFF'S COUNSEL:                                            COMPENSATION &
    RANGELEY BAILEY, PO BOX 1871,                                         GENERAL
    FLORENCE, SC 29503                                                    LITIGATION
3.142 GERMANTOWN CENTER LLC                                               TRADE                           $1,180.33
    2241 S PEORIA ST, STE 200
    AURORA, CO 80014
3.143 GETTY LEASING, INC.                                                 REAL PROPERTY                 $297,852.30
    ATTN: MARK OLEAR TWO                                                  LEASE
    JERICHO PLAZA, SUITE 110, WING
    C HERICHO, NY 11753
3.144 GRAINGER                                                            TRADE                            $101.02
    PO BOX 419267

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    KANSAS CITY, MO 64141-6267
3.145 GRANITE TELECOMMUNICATIONS                                         TRADE                          $83,494.90
    1 HERITAGE DR
    QUINCY, MA 02171
3.146 GREAT WATER ENGINEERING,                                           TRADE                            $500.00
    INC.
    5112 BUR OAK CR.
    RALEIGH, NC 27612
3.147 GREATER LOUISVILLE INC                                             TRADE                           $5,581.00
    101 S 5TH STREET, SUITE 2300
    LOUISVILLE, KY 40202
3.148 GREEN T LANDSCAPING INC                                            TRADE                            $259.00
    1600 MOUNTAIN ST
    AURORA, IL 60505
3.149 GREENSPOON MARDER LLP                                              TRADE                           $3,154.00
    ATTN: A/R
    TRADE CENTRE SOUTH, SUITE
    700
    FORT LAUDERDALE, FL 33309
3.150 GUSKE ELECTRIC, INC.                                               TRADE                           $3,819.73
    2004 WAVERLY COURT
    SHEBOYGAN, WI 53083
3.151 H&K PUMP SALES AND SERVICE,                                        TRADE                          $14,146.11
    INC
    1910 SOUTH LAMAR ST
    DALLAS, TX 75215
3.152 HAMPEL OIL                                                         TRADE                           $2,298.05
    3000 N SYLVANIA AVE
    FORT WORTH, TX 76111
3.153 HART FUELING SERVICES                                              TRADE                          $14,529.78
    16 CROZERVILLE RD
    ASTON, PA 19014
3.154 HAYNES HEATING & COOLING                                           TRADE                           $1,203.12
    P.O. BOX 16589
    ASHEVILLE, NC 28816
3.155 HEARTLAND EXTERMINATING,                                           TRADE                            $222.56
    INC.
    PO BOX 1266
    SEBRING, FL 33871
3.156 HELMSMAN MANAGEMENT                                                TRADE                          $11,930.21
    SERVICES, LLC
    PO BOX 91012
    CHICAGO, IL 60680-1110
3.157 HERITAGE-CRYSTAL CLEAN LLC                                         TRADE                          $13,923.72
    2000 CENTER DRIVE
    SUITE EAST C300
    HOFFMAN ESTATES, IL 60192


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3.158 HERO DIGITAL, LLC                                                    TRADE                         $100,000.00
    1 N DEARBORN ST
    STE 725
    CHICAGO, IL 60602
3.159 HI-TECH INTEGRATED SYSTEMS                                           TRADE                            $682.00
    INC
    20 FORE RD
    ASHEVILLE, NC 28806
3.160 HOSE & RUBBER SUPPLY, INC.                                           TRADE                          $15,258.17
    PO BOX 158
    RANDOLPH, UT 84064
3.161 HOSER                                                                TRADE                            $337.51
    1132 CURTIS ST.
    MONROE, NC 28112
3.162 HYDROZ ENERGY SERVICES, LLC                                          TRADE                           $6,300.00
    319 HINES XING
    BULLARD, TX 75757
3.163 I DREAM OF JENNIE COM, LLC                                           TRADE                             $34.76
    6834 CANTRELL RD
    SUITE 1114
    LITTLE ROCK, AR 72207
3.164 IDAHO ELECTRIC SIGNS                                                 TRADE                           $1,759.02
    6528 SUPPLY WAY
    BOISE, ID 83716
3.165 IDAHO SPRINGS WATER CO                                               TRADE                           $6,267.86
    8095 E EXECUTIVE AVE STE A
    NAMPA, ID 83687
3.166 ILLINOIS OFFICE OF STATE FIRE                                        TRADE                            $380.00
    MARSHAL
    PO BOX 3331
    SPRINGFIELD, IL 62708
3.167 IMPACT SIGNS INC                                                     TRADE                           $5,240.00
    26 E BURLINGTON AVE
    LAGRANGE, IL 60525
3.168 INDUSTRIAL PROCESS                                                   TRADE                           $3,202.50
    EQUIPMENT GROUP (IPEG)
    6823 HAZELWOOD AVE
    ST. LOUIS, MO 63134
3.169 INNOVATIVE CONTROL SYSTEMS,                                          TRADE                         $110,176.70
    INC.
    81 HIGHLAND AVE
    SUITE 300
    BETHLEHEM, PA 18017
3.170 INSTAKEY SECURITY SYSTEMS                                            TRADE                          $11,829.68
    7456 W 5TH AVE
    LAKEWOOD, CO 80226
3.171 INTERTECH MECHANICAL                                                 TRADE                           $1,073.34
    SERVICES
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     5836 FERN VALLEY ROAD
     LOUSIVILLE, KY 40228
3.172 INTUIT                                                             TRADE                            $105.00
     2700 COAST AVE
     MOUNTAIN VIEW, CA 94043
3.173 J-KO COMPANY                                                       TRADE                            $354.76
     200 BUSINESS PARK WAY ST D
     ROYAL PALM BEACH, FL 33411
3.174 J. F. AHERN CO                                                     TRADE                            $151.39
     855 MORRIS STREET
     FOND DU LAC, WI 54935
3.175 JAIME SERRANO                                                      WORKERS'                    UNDETERMINED
     [REDACTED ADDRESS]                                                  COMPENSATION &
                                                                         GENERAL
                                                                         LITIGATION
3.176 JAMES WAMBLE/DNA MIRACLE                                           REAL PROPERTY                  $19,551.77
     PROPERTIES LLC                                                      LEASE
     224 BRAMERTON COURT
     FRANKLIN, TN 37069
3.177 JASMIN M. JOHNSON                                                  WORKERS'                    UNDETERMINED
     [REDACTED ADDRESS]                                                  COMPENSATION &
                                                                         GENERAL
                                                                         LITIGATION
3.178 JB5117 POPLAR, LLC                                                 REAL PROPERTY                  $20,346.79
     1400 W. MARKHAM, SUITE 202                                          LEASE
     LITTLE ROCK, AR 72201
3.179 JEANETTA BOWLING                                                   WORKERS'                    UNDETERMINED
     ATTN: PLAINTIFF'S COUNSEL:                                          COMPENSATION &
     MARC HELLMUELLER, 904                                               GENERAL
     MINOMA AVENUE,                                                      LITIGATION
     LOUISVILLE, KY 40217
3.180 JEMCO, INC                                                         TRADE                            $288.58
     7101 JOHN RALSTON RD,
     HOUSTON, TX 77044
3.181 JF PETROLEUM GROUP                                                 TRADE                           $4,060.18
     P.O. BOX 676045
     DALLAS, TX 75267
3.182 JMIS KENTUCKY, LLC                                                 TRADE                          $43,496.90
     1090 CTR DR
     PARK CITY, UT 84098
3.183 JOSE ANTONIO LUCENA                                                WORKERS'                    UNDETERMINED
     ATTN: PLAINTIFF'S COUNSEL:                                          COMPENSATION &
     KEVIN BROWN, 20 NORTH                                               GENERAL
     ORANGE AVE., STE 1600,                                              LITIGATION
     ORLANDO, FL 32801
3.184 JOSEPH CAMPBELL                                                    REAL PROPERTY                   $7,314.00
     2221 LANE ROAD GREENSBORO,                                          LEASE
     NC 27408

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3.185 KAREEM RICHARDS                                                     TRADE                           $1,500.00
    627 GRAYSON LN.
    SEGUIN, TX 78155
3.186 KEITH A. DOYLE                                                      WORKERS'                    UNDETERMINED
    [REDACTED ADDRESS]                                                    COMPENSATION &
                                                                          GENERAL
                                                                          LITIGATION
3.187 KEN NEYER PLUMBING                                                  TRADE                            $225.00
    4895 ST ROUTE 128
    CLEVES, OH 45002
3.188 KIMBERLY A. RING                                                    WORKERS'                    UNDETERMINED
    [REDACTED ADDRESS]                                                    COMPENSATION &
                                                                          GENERAL
                                                                          LITIGATION
3.189 KITE REALTY GROUP                                                   TRADE                            $500.00
    30 S MERIDIAN ST
    STE 1100
    INDIANAPOLIS, IN 46204
3.190 KLEEN-RITE CORPORATION                                              TRADE                          $12,587.29
    257 S. 9TH ST.
    PO BOX 886
    COLUMBIA, PA 17512
3.191 KORE INSURANCE HOLDINGS INC                                         TRADE                           $8,904.95
    354 EISENHOWER PKWY
    LIVINGSTON, NJ 07039
3.192 KUBERA FINANCIAL GROUP, INC                                         REAL PROPERTY                  $20,687.04
    P. O. BOX 7842 LITTLE ROCK, AR                                        LEASE
    7221 7
3.193 L & J LANDSCAPING                                                   TRADE                           $2,550.00
    3100 DICK POND, SUITE E
    MYRTLE BEACH, SC 29588
3.194 LAKELAND LANDSCAPE SERVICE                                          TRADE                            $108.31
    4141 VIEBAHN ST
    MANITOWOC, WI 54220
3.195 LE ENGINEERING WASH                                                 TRADE                           $3,840.00
    SYSTEMS LLC
    6801 BAKER BLVD
    RICHLAND HILLS, TX 76118
3.196 LEA ELECTRIC LLC                                                    TRADE                           $3,379.59
    2201 E COMMERCIAL ST
    MERIDIAN, ID 83642
3.197 LEARFIELD COMMUNICATIONS,                                           TRADE                          $17,105.25
    LLC
    P.O. BOX 843038
    KANSAS CITY, MO 64184-3038
3.198 LEGACY 4 PLUMBING                                                   TRADE                           $1,225.00
    2746 BROCE DR
    SUITE 116
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    NORMAN, OK 73072
3.199 LEWIS SYSTEMS & SERVICE, INC.                                        TRADE                           $4,297.62
    3702 BOREN DRIVE
    GREENSBORO, NC 27407
3.200 LITTLE ROCK FALSE ALARM                                              TRADE                            $200.00
    REDUCTION PROGRAM
    701 W ORMSBY AVE
    STE 001
    LOUISVILLE, KY 40203
3.201 LLOYD'S ELECTRIC SERVICE, INC.                                       TRADE                           $1,923.26
    PO BOX 52306
    KNOXVILLE, TN 37950
3.202 LORENA HERNANDEZ MEJIA                                               WORKERS'                    UNDETERMINED
    ATTN: PLAINTIFF'S COUNSEL:                                             COMPENSATION &
    MARC HELLMUELLER, 904                                                  GENERAL
    MINOMA AVENUE,                                                         LITIGATION
    LOUISVILLE, KY 40217
3.203 LOVETT PUMP AND REPAIR                                               TRADE                           $7,967.94
    5661 AUTUMN GLEN COVE
    BARTLETT, TN 38134
3.204 LUCKY PENNY CO LLC                                                   TRADE                          $29,150.00
    221 RIDGE RD.
    MALVERN, AR 72104
3.205 M & M ELECTRIC MOTOR REPAIR,                                         TRADE                            $856.08
    LLC
    213 GEORGIA ST # Y
    CLOVIS, NM 88101
3.206 MAGNA IV COMMUNICATIONS                                              TRADE                            $337.75
    2401 COMMERCIAL LANE
    LITTLE ROCK, AR 72206-2509
3.207 MALSTROM ELECTRIC                                                    TRADE                            $595.00
    12375 COUNTY HWY 17
    DETROIT LAKES, MN 56501
3.208 MARGIE HURDLE                                                        WORKERS'                    UNDETERMINED
    ATTN: PLAINTIFF'S COUNSEL:                                             COMPENSATION &
    BRYAN ARMSTRONG, 401 W. MAIN                                           GENERAL
    STREET, SUITE 1900                                                     LITIGATION
    LOUISVILLE, KY 40202
3.209 MARMIC FIRE & SAFETY                                                 TRADE                            $133.38
    PO BOX 1939
    LOWELL, AR 72745
3.210 MASTER ROOTER SERVICE, LLC                                           TRADE                          $14,614.88
    280 N BALTIC PL
    MERIDIAN, ID 83642
3.211 MATHIS APARTMENTS, INC.                                              REAL PROPERTY                  $19,740.75
    2633 MORNING DOVE LANE                                                 LEASE
    CHARLESTON, SC 29414


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3.212 MAX SAMUEL, ABIGAIL TOLIVAR                                         WORKERS'                    UNDETERMINED
    ATTN: MAX SAMUEL & ABIGAIL                                            COMPENSATION &
    TOLIVAR 2219 ROCKFORD LN APT                                          GENERAL
    1,                                                                    LITIGATION
    LOUISVILLE, KY 40216
3.213 MCCARTNEY PLUMBING                                                  TRADE                           $1,690.00
    3970 S. OLD HWY 94 S
    SAINT CHARLES, MO 63304
3.214 MCS COMMERCIAL SERVICES,                                            TRADE                         $408,205.83
    LLC
    350 HIGHLAND DR.
    SUITE 100
    LEWISVILLE, TX 75067
3.215 MEDICAL REALTY COMPANY, INC.                                        REAL PROPERTY                  $14,123.64
    ATTN: ANNE BRODERICK 1226                                             LEASE
    GLEN OAKS DRIVE WEST DES
    MOINES, IA 50266
3.216 MEDLINS PLUMBING SERVICE LLC                                        TRADE                            $412.91
    48 JUDITH LEE LANE
    ROXBORO, NC 27573
3.217 MEIJER CORPORATE                                                    TRADE                           $9,675.00
    2929 WALKER AVE, NW
    GRAND RAPIDS, MI 49544
3.218 MELINDA DAVIS                                                       WORKERS'                    UNDETERMINED
    ATTN: PLAINTIFF'S COUNSEL:                                            COMPENSATION &
    ZOHRA MAVANI, 600 NORTH                                               GENERAL
    PEARL, STE 2205,                                                      LITIGATION
    DALLAS, TX 75201
3.219 META-TECH SYSTEMS LLC                                               TRADE                            $975.00
    P.O. BOX 1504
    MEMPHIS, TN 38018
3.220 MICHA MOTTALE                                                       REAL PROPERTY                  $23,408.22
    ATTN: PORTFOLIO MANAGER 800                                           LEASE
    CLINTON SQUIARE ROCHESTER
    NY 14604
3.221 MICHAELS KEYS INC.                                                  TRADE                           $2,240.40
    4003 COLLEYVILLE BLVD.
    COLLEYVILLE, TX 76034
3.222 MISSION MECHANICAL, INC                                             TRADE                            $350.00
    1816 4TH AVENUE
    WEST FARGO, ND 58078
3.223 MISSOURI DEPARTMENT OF                                              TRADE                            $120.00
    PUBLIC SAFETY
    DIVISION OF FIRE SAFETY
    PO BOX 1421
    JEFFERSON CITY, MO 65102
3.224 MOBILE WELDING TECH, LLC                                            TRADE                           $1,191.10
    2401 US HWY 70 EAST

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     DURHAM, NC 27703
3.225 MODERN MECHANICAL HVAC LLC                                         TRADE                            $626.35
     1544 MECHANICAL BLVD
     GARNER, NC 27529
3.226 MOHAMED MERABET                                                    REAL PROPERTY                  $24,434.35
     11071 MARIN STREET CORAL                                            LEASE
     GABLES, FL 33156
3.227 MOTION & FLOW CONTROL                                              TRADE                            $123.82
     PRODUCTS INC
     10822 W TOLLER DR SUITE 300
     LITTLETON, CO 80127
3.228 MOUNTAIN GLACIER, LLC                                              TRADE                            $102.71
     PO BOX 3652
     EVANSVILLE, IN 47735
3.229 MR. ELECTRIC                                                       TRADE                           $2,545.00
     119 NW HILLERY ST
     BURLESON, TX 76028
3.230 MR. FOAMER, LLC                                                    TRADE                           $1,969.44
     P.O. BOX 734527
     CHICAGO, IL 60673-4527
3.231 MULLIN PLUMBING, INC.                                              TRADE                          $16,560.34
     118 S. ELM PLACE
     BROKEN ARROW, OK 74012
3.232 MY SECURITY COMPANY                                                TRADE                             $98.89
     484 POE FARM ROAD
     PERRYVILLE, AR 72126
3.233 NATIONAL CARWASH SOLUTIONS                                         TRADE                          $74,668.08
     INC
     ATTN JESSE WURTH
     1500 SE 37TH STREET
     GRIMES, IA 50111
3.234 NATIONAL REGISTERED AGENTS,                                        TRADE                           $8,391.52
     INC
     PO BOX 4349
     CAROL STREAM, IL 60197-4349
3.235 NATIONAL STREET TEAMS                                              TRADE                           $4,000.00
     4400 N. SCOTTSDALE RD STE 9-
     363
     SCOTTSDALE, AZ 85251
3.236 NATIVE AIR, INC.                                                   TRADE                           $1,486.48
     114 W. 1ST ST.
     LOWELL, NC 28098
3.237 NC EXPRESS SERVICES, LLC                                           TRADE                            $978.09
     4809 LANDOVER ARBOR PLACE
     RALEIGH, NC 27616
3.238 NELSON SANITATION & RENTAL                                         TRADE                           $6,732.50
     INC


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     PO BOX 85
     RICE, MN 56367
3.239 NIGHTINGGALE PINEVILLE, LLC                                        REAL PROPERTY                  $17,079.41
     P.O. BOX 17080 JONESBORO,                                           LEASE
     ARKANSAS 72403
3.240 NM WEST SUNSET, LLC                                                REAL PROPERTY                  $14,123.64
     PAULA STEINMETZ 1567                                                LEASE
     SYCAMORE CANYON ROAD
     SANTA BARBARA, CA 93108
3.241 NM ZIPS ST CHARLES, LLC                                            REAL PROPERTY                  $11,221.71
     1968 SHAWNEE MISSION                                                LEASE
     PARKWAY, SUITE 200 MISSION
     WOODS, KANSAS 66205
3.242 NM ZIPS, LLC                                                       REAL PROPERTY                  $28,008.52
     ATTN: TOM MURRAY 1968                                               LEASE
     SHAWNEE MISSION PARKWAY,
     SUITE 200 MISSION WOODS,
     KANSAS 66205 C/O POLSINELLI
     PC ATTN: MIKE FISHER 900 W.
     48TH PLACE, SUITE 900 KANSAS
     CITY, MISSOURI 64112
3.243 NORCO                                                              TRADE                            $590.48
     PO BOX 35144
     SEATLE, WA 98124
3.244 NORTH CAROLINA DEPARTMENT                                          TRADE                            $100.00
     OF LABOR
     BOILER SAFETY BUREAU
     1101 MAIL SERVICE CENTER
     RALEIGH, NC 27699-1101
3.245 NORTHLAND WELDING                                                  TRADE                            $465.00
     1190 RANDOLPH RD.
     DETROIT LAKES, MN 56501
3.246 NORTHSIDE SECURITY, INC                                            TRADE                             $65.98
     1815 PROGRESS WAY
     CLARKSVILLE, IN 47129
3.247 NOZZLE NOLEN INC                                                   TRADE                            $697.38
     3975 COCONUT RD
     LAKE WORTH, FL 33461
3.248 NRAL, INC                                                          TRADE                            $200.00
     76 9TH AVE STE 7
     NEW YORK, NY 10011
3.249 OCCUP HEALTH CENTERS OF                                            TRADE                            $400.00
     NORTH CAROLINA
     4104 SURLES CT
     STE 11
     DURHAM, NC 27703
3.250 OFFICE OF THE STATE FIRE                                           TRADE                            $120.00
     MARSHALL

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     BOILER SAFETY
     800 SW JACKSON, STE. 104
     TOPEKA, KS 66612-1216
3.251 OIL EQUIPMENT COMPANY INC.                                         TRADE                           $7,794.10
     4701 LIEN ROAD
     MADISON, WI 53704
3.252 OKLAHOMA MAINTENANCE                                               TRADE                           $1,325.00
     SERVICES
     2293 COUNTY ROAD 1222
     BLANCHARD, OK 73010
3.253 ONE CLICK VIRTUAL SUPPORT                                          TRADE                          $33,006.80
     ONE CLICK VIRTUAL SUPPORT HQ
     QUEZON CITY, 1127
     PHILIPPINES
3.254 OPTEC DISPLAYS INC.                                                TRADE                            $195.00
     1700 DE SOTO PLACE
     ONTARIO, CA 91761
3.255 ORKIN, LLC                                                         TRADE                           $1,578.95
     130 11TH ST. SW
     HICKORY, NC 28602-2638
3.256 ORLANDO ACE HARDWARE                                               TRADE                           $1,472.89
     PO BOX DRAWER 770099
     WINTER GARDEN, FL 34777-0099
3.257 OVERHEAD DOOR COMPANY                                              TRADE                           $1,123.39
     6215 E. KELLOGG DRIVE
     WICHITA, KS 67218
3.258 OWEN WATER CONDITIONING,                                           TRADE                           $1,131.20
     INC.
     108 TROY COURT
     VINE GROVE, KY 40175
3.259 PALETZ ROOFING &                                                   TRADE                          $21,798.00
     INSPECTIONS, INC.
     10428 STATE, RD 84 SUITE # 7
     DAVIE, FL 33324
3.260 PATRICK CULLEN                                                     REAL PROPERTY                   $7,619.10
     PATRICK CULLEN 136 COWPER                                           LEASE
     STREET PALO ALTO, CALIFORNIA
     94301
3.261 PATTON'S INC.                                                      TRADE                            $953.15
     DEPT 2227
     PO BOX 122227
     DALLAS, TX 75312-2227
3.262 PECO CAR WASH SYSTEMS                                              TRADE                             $85.71
     244 REX BOULEVARD
     AUBURN HILLS, MI 48326
3.263 PENNZ ELECTRIC COMPANY, LLC                                        TRADE                           $4,327.83
     PO BOX 4001
     ROSWELL, NM 88202

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3.264 PEPES LANDSCAPING INC                                               TRADE                           $4,000.00
    6547 S HIGH BLUFF DR
    WEST VALLEY, UT 84118
3.265 PETROLEUM RESOURCES LLC                                             TRADE                           $2,797.40
    11564 E CARIBBEAN LN
    SCOTTSDALE, AZ 85255
3.266 PHILLIP WHITE PLUMBING, LLC                                         TRADE                            $278.20
    1631 LANE RD
    MT.HOLLY, NC 28120
3.267 PHILLIPS AIR COMPRESSOR, INC                                        TRADE                           $5,633.29
    5946 S. WESTERN AVE.
    CHICAGO, IL 60636
3.268 PIONEER COMMUNICATIONS                                              TRADE                            $270.00
    PO BOX 1220
    COOKEVILLE, TN 38503-1220
3.269 PITNEY BOWES                                                        TRADE                            $706.12
    PO BOX 981022
    BOSTON, MA 02298-1022
3.270 PLACENTIA PM, LLC                                                   REAL PROPERTY                  $25,209.22
    ATTN: ALBERT KHANZADEH 517                                            LEASE
    17TH STREET, HUNTINGTON
    BEACH, CA 92648
3.271 PLAYFLY LLC C/O SHOCKER                                             TRADE                           $6,250.00
    SPORTS PROPERTIES
    PO BOX 743049
    LOS ANGELES, CA 90074-3049
3.272 PLEASANT CROSSING PROPERTY                                          TRADE                            $397.44
    OWNERS ASSOCIATION
    1400 KIRK ROAD, SUITE 110
    LITTLE ROCK, AR 72223
3.273 POWER EQUIPMENT COMPANY                                             TRADE                            $674.97
    PO BOX 22077
    MEMPHIS, TN 38122
3.274 PREFERRED BUSINESS                                                  TRADE                            $882.57
    SOLUTIONS
    1701 W WALNUT HILL LN
    IRVING, TX 75038
3.275 PRESTIGE PEST CONTROL                                               TRADE                             $45.00
    104-A US 80 W
    POOLER, GA 31322
3.276 PRIMAX PROPERTIES, LLC                                              REAL PROPERTY                  $10,313.83
    C/O MARIE MCLUCAS, 1100 E                                             LEASE
    MOREHEAD STREET,
    CHARLOTTE, NC 28204




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3.277 PRIMERA TOWNE SQUARE II, LLC                                         REAL PROPERTY                  $24,870.50
     ATTN: RYAN CLUCK, CFO 8400                                            LEASE
     BELLEVIEW DR SUITE 125,
     PLANO, TX 75024
3.278 PRO CLEAN OF LAKE WORTH,                                             REAL PROPERTY                  $18,290.25
     INC.                                                                  LEASE
     C/O GENE MIRVIS 19464 39TH AVE
     MIAMI, FL
3.279 PRO TECH                                                             TRADE                           $8,258.94
     1702 S. HIGHWAY 121, STE 406
     LEWISVILLE, TX 75067
3.280 PROCESS & POWER INC                                                  TRADE                          $11,558.69
     1721 CORPORATE AVE
     MEMPHIS, TN 38132
3.281 PURCLEAN                                                             TRADE                           $2,181.44
     3315 ORANGE GROVE AVE.
     NORTH HIGHLANDS, CA 95660
3.282 PYE BARKER FIRE & SAFTEY LLC                                         TRADE                            $115.87
     PO BOX 735358
     DALLAS, TX 75373
3.283 QAT                                                                  TRADE                           $2,555.37
     301 W LUCAS ST
     FLORENCE, SC 29501
3.284 QUALITY BACKFLOW TESTING,                                            TRADE                           $1,078.80
     INC.
     PO BOX 175
     WESTERN SPRINGS, IL 60558
3.285 QUENCH USA, INC                                                      TRADE                          $12,754.18
     630 ALLENDALE ROAD, SUITE 200
     KING OF PRUSSIA, PA 19406
3.286 QUICKSUMP                                                            TRADE                           $4,721.50
     628 E 250 S
     HEBER CITY, UT 84032
3.287 RANDALL ESCAVATING                                                   TRADE                          $18,602.80
     533 2ND ST SE
     GLYNDON, MN 56547
3.288 RASINSKI TOTAL DOOR SERVICE,                                         TRADE                           $1,397.58
     LLC
     4744 MOREHOUSE DR
     PEQUOT LAKES, MN 56472
3.289 REALTY INCOME CORPORATION                                            TRADE                           $1,538.56
     PO BOX 103128
     ATTN: PORTFOLIO MANAGEMENT
     PASADENA, CA 91189
3.290 REBIZ LLC                                                            TRADE                          $20,640.00
     1925 ST. CLAIR 2ND FLOOR
     CLEVELAND, OH 44114


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3.291 RED RIVER LANDSCAPE                                                 TRADE                           $2,385.00
     SERVICES
     530 S MAPLE ST.
     WINCHESTER, KY 40391
3.292 RED RIVER OIL CO LLC                                                TRADE                           $1,425.47
     700 PLUM STREET
     TEXARKANA, TX 75501
3.293 RED ROCK SERVICE AND SUPPLY                                         TRADE                           $8,383.85
     DBA PAXTON DISTRIBUTING
     PO BOX 153
     PRATTSVILLE, AR 72129
3.294 REDDI INDUSTRIES                                                    TRADE                          $12,687.77
     6205 E. KELLOGG DR.
     WICHITA, KS 67218
3.295 REDDI OVERHEAD DOOR                                                 TRADE                           $2,334.55
     6215 E. KELLOGG DRIVE
     WICHITA, KS 67218
3.296 REDDI SERVICES, INC                                                 TRADE                           $2,400.00
     6205 E. KELLOGG DR.
     WICHITA, KS 67218
3.297 REGIONS PEST LLC.                                                   TRADE                           $1,291.07
     11625 CUSTER RD
     FRISCO, TX 75035
3.298 RIDGE ENERGY HOLDINGS, LLC                                          TRADE                           $2,783.75
     853 BRDWAY
     STE 1120
     NEW YORK, NY 10003
3.299 RITA KIDD                                                           WORKERS'                    UNDETERMINED
     [REDACTED ADDRESS]                                                   COMPENSATION &
                                                                          GENERAL
                                                                          LITIGATION
3.300 ROANOKE LANDSCAPES                                                  TRADE                            $155.00
     183 SHANE LANE
     FINCASTLE, VA 24090
3.301 ROANOKE ZIPS LLC                                                    REAL PROPERTY                  $18,852.57
     1721 BESLEY RD. VIENNA, VA                                           LEASE
     22182
3.302 ROBERTS ENVIRONMENTAL                                               TRADE                           $1,394.85
     CONTROL CORP
     8500 185TH ST
     TINLEY PARK, IL 60487
3.303 ROBINSON GLASS, INC                                                 TRADE                           $1,203.00
     7240 EAST 46TH ST
     TULSA, OK 74145
3.304 ROCKET PROPERTIES MIDVALE,                                          REAL PROPERTY                  $37,142.28
     LLC                                                                  LEASE
     C/O ROCKET EXPRESS LLC ATTN:
     JOE AND JANET RUSSEL 1205 E.
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    WARM SPRINGS AVE BOISE, ID,
    83712 C/O HOLLAND & HART
    ATTN: JACQUELINE N. WALTON
    800 WEST MAIN STREET, SUITE
    1750 BOISE, ID, 83702
3.305 ROGERS ELECTRICAL                                                  TRADE                            $195.00
    CONTRACTORS, INC.
    7448A PINE FOREST RD.
    PENSACOLA, FL 32526
3.306 ROGERS MACHINERY COMPANY,                                          TRADE                           $1,196.93
    INC.
    14650 SW 72ND AVENUE
    PORTLAND, OR 97224
3.307 RON WHITES AIR COMPRESSORS                                         TRADE                           $7,200.68
    SALES INC
    4019 S MURRAY AVE
    ANDERSON, SC 29624
3.308 ROPER ELECTRIC CO., INC.                                           TRADE                            $805.00
    PO BOX 3566
    SHREVEPORT, LA 71133
3.309 ROSE LAW FIRM                                                      TRADE                           $6,669.00
    120 EAST FOURTH STREET
    LITTLE ROCK, AR 72201-2893
3.310 ROTO-ROOTER PLUMBING &                                             TRADE                           $3,313.58
    DRAIN SERVICE
    4600 MARSALIS ST.
    FORT WORTH, TX 76117
3.311 ROYCE INDUSTRIES L.C.                                              TRADE                            $275.63
    1355 W 8040 S
    WEST JORDAN, UT 84088
3.312 RTS ORCHARDS, LLC                                                  REAL PROPERTY                  $17,957.73
    4831 CALLOWAY DRIVE, SUITE 102                                       LEASE
    BAKERSFIELD, CALIFORNIA 93
    312
3.313 RYAN LLC                                                           TRADE                          $24,290.29
    P.O. BOX 848351
    DALLAS, TX 75284-8351
3.314 RYNO LLC                                                           TRADE                           $1,379.07
    P. O. BOX 973
    ROYSE CITY, TX 75189
3.315 SALESFORCE, INC.                                                   TRADE                           $3,077.76
    P.O. BOX 203141
    DALLAS, TX 75320-3141
3.316 SAPPHIRE LAWNCARE &                                                TRADE                           $3,797.50
    GENERAL CONTRACTING
    14827 CAVE SWALLOW
    SAN ANTONIO, TX 78253
3.317 SCR NORTHERN DIVISION                                              TRADE                           $7,596.05

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    604 LINCOLN AVE. NE
    ST. CLOUD, MN 56304
3.318 SEABERG SOLAR SALT                                                 TRADE                           $2,976.60
    36160 COUNTY ROAD 66
    CROSSLAKE, MN 56442
3.319 SECURITY CENTRAL                                                   TRADE                             $800.04
    PO BOX 5759
    STATESVILLE, NC 28687
3.320 SECURITY LOCK AND KEY, INC.                                        TRADE                             $306.16
    3736 FRANKLIN RD SW
    ROANOKE, VA 24014
3.321 SECURITY SYSTEMS, INC.                                             TRADE                             $578.76
    PO BOX 1120
    RADCLIFF, KY 40159
3.322 SHADOW EQUIPMENT                                                   TRADE                         $129,583.67
    590 KILDEER DR.
    BOLINGBROOK, IL 60440
3.323 SHAW BROS. WELDING                                                 TRADE                              $81.19
    1105 E BELKNAP
    FORT WORTH, TX 76102
3.324 SHAWN MCGAVOCK                                                     WORKERS'                    UNDETERMINED
    ATTN: PLAINTIFF'S COUNSEL:                                           COMPENSATION &
    CORNELIUS KEARNS, 223 SOUTH                                          GENERAL
    5TH ST., STE 230                                                     LITIGATION
    LOUISVILLE, KY 40202
3.325 SHELTON'S WATER, INC.                                              TRADE                             $573.73
    2708 E RANDOL MILL RD
    ARLINGTON, TX 76011
3.326 SHRED-IT USA                                                       TRADE                             $121.83
    28883 NETWORK PLACE
    CHICAGO, IL 60673-1288
3.327 SIMPLICITY LANDSCAPE &                                             TRADE                          $14,028.83
    DESIGN
    3104 GILMORE TRACE
    LEXINGTON, KY 40511
3.328 SIMPSON ELECTRIC CO., INC.                                         TRADE                           $1,132.70
    10 LYNNWOOD DR
    LITTLE ROCK, AR 72206
3.329 SKYLINE EQUIPMENT, LLC                                             TRADE                             $724.57
    6525 CUNNINGHAM RD
    BUILDING C
    HOUSTON, TX 77041
3.330 SLAM MARKETING, LLC                                                TRADE                             $250.00
    619 HAYWOOD RD
    ASHEVILLE, NC 28806
3.331 SONNY'S ENTERPRISES, LLC                                           TRADE                        $1,118,065.51
    5870 HIATUS RD


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     TAMARAC, FL 33321
3.332 SOUTH GROVE PLAZA                                                  TRADE                           $4,320.00
     7562 MOUNTAIN GROVE DRIVE
     KNOXVILLE, TN 37920
3.333 STALEY ELECTRIC LLC                                                TRADE                           $3,101.77
     3400 J.E. DAVIS DR
     LITTLE ROCK, AR 72209
3.334 STEINWORKS WELDING AND                                             TRADE                           $4,013.52
     MECHANICAL
     2633 NORTH ST.
     GRANITE CITY, IL 62040
3.335 STEP SAVER INC                                                     TRADE                            $366.65
     1917 WEST 2425 SOUTH
     WOODS CROSS, UT 84087
3.336 STEPSAVER, INC                                                     TRADE                            $258.03
     1917 WEST 2425 SOUTH
     WOODS CROSS, UT 84087
3.337 STOP FIRE SALES & SERVICE                                          TRADE                             $87.00
     PO BOX 11416
     PENSACOLA, FL 32524-1416
3.338 STORE CAPITAL ACQUISITIONS,                                        TRADE                           $4,314.71
     LLC.
     8377 E. HARTFORD DRIVE,
     SUITE 100
     SCOTTSDALE, AZ 85255
3.339 STORMWATER SOLUTIONS USA,                                          TRADE                           $1,120.00
     INC
     PO BOX 22153
     KNOXVILLE, TN 37933
3.340 STRAIGHT UP ELECTRICAL TX                                          TRADE                          $12,404.06
     LLC
     1845 PRECINCT LINE ROAD,
     SUITE 216
     HURST, TX 76054
3.341 STRIPE, INC                                                        TRADE                         $126,661.70
     354 OYSTER POINT BLVD
     SOUTH SAN FRANCISCO, CA
     94080
3.342 STURDIVANT'S MECHANICAL LLC                                        TRADE                             $87.60
     PO BOX 226
     SPRINGDALE, AR 72765-0226
3.343 SUMMITMEDIA LLC                                                    TRADE                            $750.00
     612 S. 4TH STREET
     SUITE 100
     LOUISVILLE, KY 40202
3.344 SUN COAST HYDRAULIC ELECT                                          TRADE                           $3,905.49
     MFG INC.
     4130 NORTH CANAL STREET

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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims


 Creditor's Name, Mailing Address      Date Claim Was        C-U-D          Basis for Claim   Offset   Amount of
Including Zip Code                      Incurred And                                                    Claim
                                       Account Number

     JACKSONVILLE, FL 32209
3.345 SUPERIOR ENVIRONMENTAL                                               TRADE                            $300.00
     SOLUTIONS
     PO BOX 3004
     SUMMERVILLE, SC 29484
3.346 TALENTCARE, LLC                                                      TRADE                          $30,016.50
     1108 LAVACA STREET, SUITE 110-
     111
     AUSTIN, TX 78701
3.347 TAMBOURINE                                                           TRADE                          $12,400.00
     100 W. CYPRESS CREEK RD.
     SUITE 550
     FORT LAUDERDALE, FL 33309
3.348 TANGO ANALYTICS, LLC                                                 TRADE                          $10,334.25
     9797 ROMBAUER RD.
     SUITE 450
     DALLAS, TX 75019
3.349 TENNESSEE B&E UNIT                                                   TRADE                            $315.00
     220 FRENCH LANDING DRIVE
     2ND FLOOR
     NASHVILLE, TN 37243
3.350 TERMINIX                                                             TRADE                           $1,076.28
     PO BOX 2627
     COLUMBIA, SC 29202
3.351 THOROGOOD COOLING AND                                                TRADE                            $170.00
     HEATING
     P. O. BOX 51
     JEFFERSON, GA 30549
3.352 TIERPOINT, LLC                                                       TRADE                            $262.35
     PO BOX 82670
     LINCOLN, NE 68501-2670
3.353 TIERRA ENVIRONMENTAL                                                 TRADE                          $11,094.00
     SERVICES, INC.
     3821 INDIANAPOLIS BLVD.
     EAST CHICAGO, IN 46312
3.354 TITAN PLUMBING PROS                                                  TRADE                            $525.00
     1922 CHOATE PKWY
     SUITE 141
     CELINA, TX 75009
3.355 TJH CONSTRUCTION                                                     TRADE                            $884.00
     222 TINGLEY ST.
     SAN FRANCISCO, CA 94112
3.356 TOTAL FIRE & SAFETY INC.                                             TRADE                            $745.46
     PO BOX 1939
     LOWELL, AR 72745
3.357 TOWN & COUNTRY PLUMBING,                                             TRADE                            $252.45
     LLC
     1201 N DIXIELAND ST

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Including Zip Code                       Incurred And                                                    Claim
                                        Account Number

     ROGERS, AR 72756
3.358 TOWNLEY CENTER COUNCIL OF                                             TRADE                            $686.17
     OWNERS, INC.
     1255 PROVIDENCE PLACE PKWY
     SUITE 250
     LEXINGTON, KY 40511
3.359 TSS, INC.                                                             TRADE                           $6,587.51
     21000 HOOVER RD.
     WARREN, MI 48089
3.360 TWEETON REFRIGERATION, INC                                            TRADE                           $4,035.74
     1106 8TH ST SE
     DETRIOT LAKES, MN 56501
3.361 UK KIDS CAR WASH LLC                                                  REAL PROPERTY                  $20,274.74
     C/O MR. JAMES M. COFFEY III 466                                        LEASE
     RIVER STREET NORWELL, MA
     02061
3.362 UNITED ELECTRIC CO. INC.                                              TRADE                           $6,603.93
     PO BOX 32160
     DEPARTMENT #165
     LOUISVILLE, KY 40232
3.363 UNITED SURVEILLANCE ASSOC,                                            TRADE                            $180.00
     INC
     153 HIGHTOWER TRAIL
     OXFORD, GA 30054
3.364 VACUTECH LLC                                                          TRADE                            $857.73
     1350 HI TECH DRIVE
     SHERIDAN, WY 82801
3.365 VAUGHAN INDUSTRIES, INC                                               TRADE                           $7,112.32
     8490 LYNDON ST
     DETROIT, MI 48238
3.366 VELOCITY WATER WORKS, LLC                                             TRADE                            $321.93
     100 E KELSO RD
     KAUKAUNA, WI 54130
3.367 VICTORY PLUMBING LLC                                                  TRADE                           $7,608.47
     PO BOX 13349
     MAUMELLE, AR 72113
3.368 VINES RESTORATION, PLUMBING                                           TRADE                          $32,001.78
     & HVAC
     489 MYRTLE RIDGE DR
     CONWAY, SC 29526
3.369 VORTEX DOORS, LLC                                                     TRADE                           $1,643.78
     LOCKBOX SERVICES 846952, 3440
     FLAIR DRIVE
     EL MONTE, CA 91731
3.370 WASHIFY SERVICES LLC                                                  TRADE                            $771.34
     16 SCONTICUT NECK RD #386
     FAIRHAVEN, MA 02719


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 Creditor's Name, Mailing Address      Date Claim Was       C-U-D          Basis for Claim   Offset   Amount of
Including Zip Code                      Incurred And                                                   Claim
                                       Account Number

3.371 WATER SPECIALTIES, INC.                                             TRADE                           $5,157.60
     4118 SOUTH 500 WEST
     MURRAY, UT 84123
3.372 WEBB CREEK PS                                                       TRADE                            $700.00
     285 BRIDGE ROAD
     ELLENBORO, NC 28040
3.373 WELCOMEMAT SOLUTIONS LLC                                            TRADE                            $589.45
     540 DEVALL DRIVE
     STE 301
     AUBURN, AL 36832
3.374 WEST TECH BOILER WORKS, INC.                                        TRADE                           $3,677.70
     PO BOX 44206
     BOISE, ID 83711
3.375 WESTLAKE HARDWARE INC                                               TRADE                           $2,972.83
     P O BOX 219370
     KANSAS, MO 64121
3.376 WILL LACKEY'S THE GOAT, INC                                         TRADE                           $1,280.00
     4914 LUNA POINT
     HICKORY, NC 28601
3.377 WINDER HIGHWAY, LLC (4040)                                          REAL PROPERTY                  $18,457.47
     C/O GENE MIRVIS 19464 39TH                                           LEASE
     AVENUE MIAMI, FL 33160
3.378 WINDY HILL WATER PARK, INC                                          REAL PROPERTY                   $7,350.00
     C/O CARROLL ROGERS 306                                               LEASE
     OCEAN VIEW DR. MYRTLE BEACH,
     SC 49272
3.379 WORRY FREE SALT SERVICE, INC.                                       TRADE                          $29,034.49
     407 N. HIGHLAND AVENUE
     ELMHURST, IL 60126
3.380 WOVEN BRANDS LLC                                                    TRADE                          $44,000.00
     6304 GUILFORD AVE, STE A
     INDIANAPOLIS, IN 46220
3.381 YARDSTARS LAWN CARE                                                 TRADE                            $819.28
     4941 RELLEUM
     CINCINNATI, OH 45238
3.382 YEXT, INC                                                           TRADE                          $74,189.93
     61 9TH AVE
     NEW YORK, NY 10011
3.383 YORK PLUMBING & MECHANICAL,                                         TRADE                             $95.00
     INC.
     PO BOX 471886
     TULSA, OK 74147
3.384 ZEKE'S WELDING AND REPAIR                                           TRADE                            $507.38
     LLC
     14945 330TH AVE
     DETROIT LAKES, MN 56501
3.385 ZENDESK, INC.                                                       TRADE                          $22,721.25

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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:     List All Creditors with NONPRIORITY Unsecured Claims


  Creditor's Name, Mailing Address      Date Claim Was         C-U-D          Basis for Claim   Offset     Amount of
 Including Zip Code                      Incurred And                                                       Claim
                                        Account Number

     989 MARKET ST.
     SAN FRANCISCO, CA 94103
3.386 ZIPS CONWAY, LLC                                                       REAL PROPERTY                    $27,794.79
     ATTN: DAN MICHAEL, ANTHONY                                              LEASE
     ZIRILLE, BRETT OVERMAN,
     GEORGE HUBER C/O EQUITY
     INVESTMENT GROUP, INC. 127 W.
     BERRY STREET, SUITE 300 FORT
     WAYNE, IN, 46802
3.387 ZIPS JETT 1, LLC                                                       REAL PROPERTY                    $29,533.12
     ATTN: ANTHONY M. ZIRILLE, DAN                                           LEASE
     MICHAEL, GEORGE HUBER 127 W.
     BERRY STREET, SUITE 300 FORT
     WAYNE, IN 46802
3.388 ZIPS JETT 2, LLC                                                       REAL PROPERTY                    $29,533.12
     ATTN: ANTHONY M. ZIRILLE, DAN                                           LEASE
     MICHAEL, GEORGE HUBER 127 W.
     BERRY STREET, SUITE 300 FORT
     WAYNE, IN 46802
3.389 ZIPS PATTERSON STREET, LLC                                             REAL PROPERTY                    $45,838.97
     ATTN: ANTHONY M. ZIRILLE, DAN                                           LEASE
     MICHAEL, GEORGE HUBER 127 W.
     BERRY STREET, SUITE 300 FORT
     WAYNE, IN 46802
3.390 ZIPS ROSWELL I, LLC; AND ZIPS                                          REAL PROPERTY                    $11,782.79
     ROSWELL II, LLC                                                         LEASE
     ATTN: ANTHONY M. ZIRILLE, DAN
     MICHAEL, GEORGE HUBER 127 W.
     BERRY STREET, SUITE 300 FORT
     WAYNE, IN 46802
3.391 ZIPS ROSWELL I, LLC; AND ZIPS                                          REAL PROPERTY                    $21,882.33
     ROSWELL II, LLC                                                         LEASE
     ATTN: DAN MICHAEL, ANTHONY
     ZIRILLE, BRETT OVERMAN,
     GEORGE HUBER C/O EQUITY
     INVESTMENT GROUP, INC. 127 W.
     BERRY STREET, SUITE 300 FORT
     WAYNE, IN, 46802
3.392 ZRE DIXIE OUTPARCEL, LLC                                               ACCESS                            $2,122.73
     127 WEST BERRY STREET SUITE                                             EASTMENT
     300 FORT WAYNE, INDIANA 46802                                           AGREEMENT
3.393 ZRE PENSACOLA, LLC                                                     REAL PROPERTY                    $25,153.25
     127 WEST BERRY STREET SUITE                                             LEASE
     300 FORT WAYNE, INDIANA 46802




3. Total: All Creditors with NONPRIORITY Unsecured Claims                                $6,145,892.44 + UNDETERMINED




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Schedule E/F: Creditors Who Have Unsecured Claims
    Part 3:     List Others to Be Notified About Unsecured Claims




4. List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be
   listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors.



 Creditor's Name, Mailing Address Including             On which line in Part 1 or Part 2 is the             Last 4 digits of
 Zip Code                                               related creditor (if any) listed?                    account number for
                                                                                                             this entity




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims




5. Add the amounts of priority and nonpriority unsecured claims.




5a. Total claims from Part 1
                                                                                                  $0.00
                                                                                          + UNDETERMINED




5b. Total claims from Part 2
                                                                                          $6,145,892.44
                                                                                          + UNDETERMINED




5c. Total of Parts 1 and 2                                                                $6,145,892.44
    Lines 5a + 5b = 5c.                                                                   + UNDETERMINED




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 Fill in this information to identify the case and this filing:

 Debtor Name:                                         Zips Car Wash, LLC

 United States Bankruptcy Court:         the Northern District of Texas Dallas Division

 Case Number (if known):                               25-80069-11 (MVL)




Form 206G

Schedule G: Executory Contracts and Unexpired Leases
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

   Part 1:


1. Does the debtor have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
             Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).

2. List all contracts and unexpired leases



 Nature of the Debtor's Interest                                  Expiration Date            Contract ID           Co-Debtor                      Name                                  Address



2.1 PURCHASE AND SALE AGREEMENT                                                                                                   3005 JUSTIN ROAD LLC                    ATTN: JAMES BENTON
                                                                                                                                                                          4420 VILLA DR
                                                                                                                                                                          FLOWER MOUND, TX 75028
2.2 PURCHASE AND SALE AGREEMENT                                                                                                   4 SEASONS CARWASH                       C/O NATHAN PIERSON
                                                                                                                                  MOORHEAD LLC                            15016 N 49TH ST
                                                                                                                                                                          SCOTTSDALE, AZ 85254
2.3 LEASE AGREEMENT DATED MARCH 9, 2018, AS                                                                                       4040 WINDER HIGHWAY, LLC                C/O GENE MIRVIS 19464 39TH
    AMENDED                                                                                                                                                               AVENUE MIAMI, FL 33160
2.4 PLATFORM SOFTWARE AND SERVICES                                                                                                AMP MEMBERSHIPS LLC                     ATTN: GENERAL COUNSEL
    AGREEMENT                                                                                                                                                             7005 E 46TH AVE DR
                                                                                                                                                                          UNIT B
                                                                                                                                                                          DENVER, CO 80216


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   Part 1:


 Nature of the Debtor's Interest                  Expiration Date   Contract ID         Co-Debtor               Name                             Address



2.5 SERVICE LETTER AGREEMENT WITH TERMS &                                                           ARMANINO LLP                     ATTN: GENERAL COUNSEL
   CONDITIONS                                                                                                                        PO BOX 206700
                                                                                                                                     DALLAS, TX 75320
2.6 PURCHASE AND SALE AGREEMENT                                                                     ARNOLD SCOTT HAMRE               ATTN: GENERAL COUNSEL
                                                                                                                                     2037 WB CLARK RD
                                                                                                                                     CREEDMOOR, NC 27522
2.7 SERVICE AGREEMENT                                                                               ARTESIAN WATER                   ATTN: GENERAL COUNSEL
                                                                                                                                     2214 PADDOCK WAY
                                                                                                                                     STE 150
                                                                                                                                     GRAND PRAIRIE, TX 75050
2.8 SERVICES CONTRACT                                                                               ASCEND TECHNOLOGIES LLC          ATTN: GENERAL COUNSEL
                                                                                                    D/B/A EDAFIO TECHNOLOGY          1000 W MARKHAM ST
                                                                                                    PARTNERS                         STE 110
                                                                                                                                     LITTLE ROCK, AR 72201
2.9 EMPLOYMENT AGREEMENT                                                                            ASHISH PAREEK                    8400 BELLEVIEW DR.,
                                                                                                                                     SUITE 210
                                                                                                                                     PLANO, TX 75024
2.10 COMPENSATION AGREEMENT                                                                         ASHISH PAREEK                    8400 BELLEVIEW DR.,
                                                                                                                                     SUITE 210
                                                                                                                                     PLANO, TX 75024
2.11 CONSULTING AGREEMENT                                                                           ATLANTIC STREET CAPITAL          ATTN: BRYAN BEVIN
                                                                                                    ADVISORS INC                     16415 ADDISON RD
                                                                                                                                     STE 655
                                                                                                                                     ADDISON, TX 75001
2.12 RESTATED LEASE DATED DECEMBER 29, 2016, AS                                                     B&C GRAND STRAND                 ATTN: LEASE ADMINISTRATION P.O.
    AMENDED                                                                                         PROPERTIES, LLC                  BOX 7577 MYRTLE BEACH, SOUTH
                                                                                                                                     CAROLINA 29572
2.13 CPC CHEMICAL AGREEMENT, AS AMENDED                                                             BAKER EQUIPMENT & SUPPLY INC ATTN: GENERAL COUNSEL
                                                                                                                                 8912 CHANCELLOR ROW
                                                                                                                                 DALLAS, TX 75247

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2.14 LEASE AGREEMENT DATED JANUARY 17, 2020, AS                                                     BARTMART II, LLC              P.O. BOX 7842
    AMENDED
2.15 COMPENSATION AGREEMENT                                                                         BASEM AYBEF                   8400 BELLEVIEW DR.,
                                                                                                                                  SUITE 210
                                                                                                                                  PLANO, TX 75024
2.16 LEASE DATED AUGUST 28, 2018, AS AMENDED                                                        BBR OIL IX, LLC               ATTN:BRIAN COOK 2769 PARKERS
                                                                                                                                  LANDING RD., MOUNT PLEASANT,
                                                                                                                                  SC 29466
2.17 PURCHASE AND SALE AGREEMENT                                                                    BIG WAVE XPRESS INC           ATTN: JIM WORTHAN
                                                                                                                                  905 S WHITE SANDS BLVD
                                                                                                                                  ALAMOGORDO, NM 88310
2.18 ASSET PURCHASE AND SALE AGREEMENT                                                              BLANTON COMMERCIAL            ATTN: R DANIEL BLANTON, JR
                                                                                                    DEVELOPMENT LLC               1526 MONTE SANO AVE
                                                                                                                                  AUGUSTA, GA 30904
2.19 LAND AND BUILDING LEASE AGREEMENT DATED                                                        BLVY PARTNERS CLTZ TYVOLA,    ATTN: CYNTHIA M. DALY 1901 MAIN
    MAY 2, 2019, AS AMENDED                                                                         LLC                           STREET LAKE COMO, NJ 07719
2.20 LAND AND BUILDING LEASE AGREEMENT DATED                                                        BLVY PARTNERS CLTZ            ATTN: CYNTHIA M. DALY 1901 MAIN
    MAY 2, 2019, AS AMENDED                                                                         WILKINSON, LLC                STREET LAKE COMO, NJ 07719
2.21 RESTATED MASTER LEASE AGREEMENT DATED                                                          BROADSTONE ZCW PORTFOLIO,     ATTN: PORTFOLIO MANAGER 800
    OCTOBER 24, 2023, AS AMENDED                                                                    LLC                           CLINTON SQUIARE ROCHESTER NY
                                                                                                                                  14604
2.22 MASTER LEASE AGREEMENT DATED DECEMBER                                                          BROADSTONE ZCW PORTFOLIO,     ATTN: PORTFOLIO MANAGER 800
    27, 2017, AS AMENDED                                                                            LLC                           CLINTON SQUIARE ROCHESTER NY
                                                                                                                                  14604
2.23 MASTER LEASE AGREEMENT DATED JULY 17,                                                          BROADSTONE ZCW PORTFOLIO,     ATTN: PORTFOLIO MANAGER 800
    2018, AS AMENDED                                                                                LLC                           CLINTON SQUIARE ROCHESTER NY
                                                                                                                                  14604
2.24 MARKETING AND SPONSORSHIP AGREEMENT                                                            BRONCO SPORTS PROPERTIES      ATTN: GENERAL COUNSEL
                                                                                                    LLC


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   Part 1:


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                                                                                                                               C/O LEARFIELD COMMUNICATIONS
                                                                                                                               LLC
                                                                                                                               PO BOX 843038
                                                                                                                               KANSAS CITY, MO 64184
2.25 SIGN LICENSE AGREEMENT                                                                       CANEY HOLDINGS LLC           ATTN: ASSET MANAGER
                                                                                                                               PO BOX 34584
                                                                                                                               HOUSTON, TX 77234
2.26 LEASE AGREEMENT DATED DECEMBER 13, 2018,                                                     CAR W, LLC                   LITTLE ROCK, AR 72217
    AS AMENDED
2.27 PURCHASE AND SALE AGREEMENT, AS AMENDED                                                      CAR WASH ASSOCIATES OF ST    ATTN: JOHN SHULLMAN
                                                                                                  PETERS LLC                   1701 WEST HILLSBORO BLVD
                                                                                                                               STE 104
                                                                                                                               DEERFIELD BEACH, FL 33442
2.28 CUSTOMER SERVICE AGREEMENT                                                                   CAROLINA WASTE & RECYCLING   ATTN: GENERAL COUNSEL
                                                                                                  LLC                          4285 PACE ST
                                                                                                                               NORTH CHARLESTON, SC 29405
2.29 PURCHASE AND SALE AGREEMENT                                                                  CCW GSO INC                  ATTN: JOSH MOORE
                                                                                                                               1124 CEDAR FARM TRL
                                                                                                                               FUQUAY-VARINA, NC 27526
2.30 PURCHASE AGREEMENT - BROADWAY PA                                                             CHANDLER SIGNS LLC           ATTN: GENERAL COUNSEL
                                                                                                                               14201 SOVEREIGN RD
                                                                                                                               STE 101
                                                                                                                               FORT WORTH, TX 76155
2.31 PURCHASE AGREEMENT - GREG LAG SIGN PA                                                        CHANDLER SIGNS LLC           ATTN: GENERAL COUNSEL
                                                                                                                               14201 SOVEREIGN RD
                                                                                                                               STE 101
                                                                                                                               FORT WORTH, TX 76155
2.32 PURCHASE AGREEMENT - LIMESTONE SIGN PA                                                       CHANDLER SIGNS LLC           ATTN: GENERAL COUNSEL
                                                                                                                               14201 SOVEREIGN RD
                                                                                                                               STE 101


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                                                                                                                                   FORT WORTH, TX 76155
2.33 PURCHASE AGREEMENT - NEW CIRCLE SIGN PA                                                      CHANDLER SIGNS LLC               ATTN: GENERAL COUNSEL
                                                                                                                                   14201 SOVEREIGN RD
                                                                                                                                   STE 101
                                                                                                                                   FORT WORTH, TX 76155
2.34 PURCHASE AGREEMENT - 8250 PINELLAS DR                                                        CHANDLER SIGNS LLC               ATTN: GENERAL COUNSEL
    BLUFFTON, SC                                                                                                                   14201 SOVEREIGN RD
                                                                                                                                   STE 101
                                                                                                                                   FORT WORTH, TX 76155
2.35 PURCHASE AGREEMENT - RICHMOND ROAD SIGN                                                      CHANDLER SIGNS LLC               ATTN: GENERAL COUNSEL
    PA                                                                                                                             14201 SOVEREIGN RD
                                                                                                                                   STE 101
                                                                                                                                   FORT WORTH, TX 76155
2.36 DISPLAY LEASE AGREEMENT                                                                      CHANDLER SIGNS LLC               ATTN: GENERAL COUNSEL
                                                                                                                                   14201 SOVEREIGN RD
                                                                                                                                   STE 101
                                                                                                                                   FORT WORTH, TX 76155
2.37 PURCHASE AGREEMENT - SHARKEY SIGN PA                                                         CHANDLER SIGNS LLC               ATTN: GENERAL COUNSEL
                                                                                                                                   14201 SOVEREIGN RD
                                                                                                                                   STE 101
                                                                                                                                   FORT WORTH, TX 76155
2.38 MASTER SERVICES AGREEMENT                                                                    CHANDLER SIGNS LLC AND           ATTN: GENERAL COUNSEL
                                                                                                  PATTISON SIGN GROUP INC          520 WEST SUMMIT HILL DR
                                                                                                                                   UNIT 702
                                                                                                                                   KNOXVILLE, TN 37902
2.39 SAFETY AND EFFICIENCY AGREEMENT                                                              CHAPMAN HEATING AND              ATTN: GENERAL COUNSEL
                                                                                                  COOLING                          1209 TRUMAN PARK DR
                                                                                                                                   LOUISVILLE, KY 40245
2.40 SAFETY AND EFFICIENCY AGREEMENT                                                              CHAPMAN HEATING AND              ATTN: GENERAL COUNSEL
                                                                                                  COOLING


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   Part 1:


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                                                                                                                               A DIVISION OF CHAPMAN
                                                                                                                               ENGINEERING
                                                                                                                               1209 TRUMAN PARK DR
                                                                                                                               LOUISVILLE, KY 40245
2.41 SAFETY AND EFFICIENCY AGREEMENT -                                                            CHAPMAN HEATING AND          ATTN: GENERAL COUNSEL
    BRECKENRIDGE                                                                                  COOLING                      A DIVISION OF CHAPMAN
                                                                                                                               ENGINEERING
                                                                                                                               1209 TRUMAN PARK DR
                                                                                                                               LOUISVILLE, KY 40245
2.42 SAFETY AND EFFICIENCY AGREEMENT - CANE                                                       CHAPMAN HEATING AND          ATTN: GENERAL COUNSEL
    RUN                                                                                           COOLING                      A DIVISION OF CHAPMAN
                                                                                                                               ENGINEERING
                                                                                                                               1209 TRUMAN PARK DR
                                                                                                                               LOUISVILLE, KY 40245
2.43 SAFETY AND EFFICIENCY AGREEMENT -                                                            CHAPMAN HEATING AND          ATTN: GENERAL COUNSEL
    CLARKSVILLE                                                                                   COOLING                      A DIVISION OF CHAPMAN
                                                                                                                               ENGINEERING
                                                                                                                               1209 TRUMAN PARK DR
                                                                                                                               LOUISVILLE, KY 40245
2.44 SIGNED ORDER AGREEMENT                                                                       CHATMETER INC                ATTN: GENERAL COUNSEL
                                                                                                                               225 BROADWAY
                                                                                                                               STE 2200
                                                                                                                               SAN DIEGO, CA 92101
2.45 ASSET PURCHASE AGREEMENT                                                                     CHICAGO TITLE INSURANCE      ATTN: TOM MEIER
                                                                                                  COMPANY                      10 SOUTH LASALLE ST
                                                                                                                               STE 3100
                                                                                                                               CHICAGO, IL 60603
2.46 SERVICE ORDER                                                                                CISION US INC                ATTN: GENERAL COUNSEL
                                                                                                                               300 S RIVERSIDE PLAZA
                                                                                                                               CHICAGO, IL 60606



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2.47 PURCHASE AND SALES AGREEMENT                                                                  CLEAN GUYS LLC                ATTN: WILLIAM MERCKEL
                                                                                                                                 790 MILLSHORE DR
                                                                                                                                 CHULUOTA, FL 32766
2.48 CPC CHEMICAL AGREEMENT, AS AMENDED                                                            CLEANING SYSTEMS INC          ATTN: GENERAL COUNSEL
                                                                                                                                 PO BOX 5606
                                                                                                                                 DE PERE, WI 54115
2.49 SIGNED ORDER AGREEMENT                                                                        CONCUR TECHNOLOGIES INC       ATTN: GENERAL COUNSEL
                                                                                                                                 601 108TH AVE NE
                                                                                                                                 STE 1000
                                                                                                                                 BELLEVUE, WA 98004
2.50 SERVICES AGREEMENT IN SEPTEMBER 7TH 2021,                                                     CORCENTRIC PAYMENT LLC        ATTN: GENERAL COUNSEL
    AS AMENDED                                                                                                                   62861 COLLECTIONS CENTER DR
                                                                                                                                 CHICAGO, IL 60693
2.51 LEASE AGREEMENT DATED DECEMBER 8, 2021,                                                       COUNTY ORCHARD ESTATES,       ATTENTION: DAVID BURTON 277 LA
    AS AMENDED                                                                                     INC.                          COLINA DRIVE, REDLANDS, CA
                                                                                                                                 92374
2.52 LEASE AGREEMENT DATED DECEMBER 8, 2021,                                                       COUNTY ORCHARD ESTATES,       ATTENTION: DAVID BURTON 277 LA
    AS AMENDED                                                                                     INC.                          COLINA DRIVE, REDLANDS, CA
                                                                                                                                 92374
2.53 PROFESSIONAL SERVICE AGREEMENT                                                                CRESTWOOD ASSOCIATES LLC      ATTN: GENERAL COUNSEL
                                                                                                                                 1501 E WOODFIELD RD
                                                                                                                                 STE 113E
                                                                                                                                 SCHAUMBURG, IL 60173
2.54 LEASE AGREEMENT DATED MAY 25, 2021, AS                                                        CYARK SILOAM LLC              ATTN: ELIZABETH YOUNG 1404
    AMENDED                                                                                                                      JEAN ST., SPRINGDALE, AR 72762
2.55 MASTER SERVICES AGREEMENT                                                                     CYBERGUARD COMPLIANCE, LLP    6720 N. HAULAPAI WAY SUITE 145-
                                                                                                                                 306
                                                                                                                                 LAS VEGAS, NV 89149
2.56 COMPENSATION AGREEMENT                                                                        CYRIAC THOMAS                 8400 BELLEVIEW DR.,
                                                                                                                                 SUITE 210

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                                                                                                                                 PLANO, TX 75024
2.57 COMPENSATION AGREEMENT                                                                       DAVID MILLER                   8400 BELLEVIEW DR.,
                                                                                                                                 SUITE 210
                                                                                                                                 PLANO, TX 75024
2.58 EMPLOYMENT AGREEMENT                                                                         DAVID MILLER                   8400 BELLEVIEW DR.,
                                                                                                                                 SUITE 210
                                                                                                                                 PLANO, TX 75024
2.59 LETTER AGREEMENT RE: SPONSORSHIP AND                                                         DBH OKC LLC                    ATTN: GENERAL COUNSEL
    ADVERTISING                                                                                                                  2 MICKEY MANTLE DR
                                                                                                                                 OKLAHOMA CITY, OK 73104
2.60 ENGAGEMENT AGREEMENT                                                                         DELOITTE & TOUCHE LLP          ATTN: GENERAL COUNSEL
                                                                                                                                 2200 ROSS AVE
                                                                                                                                 STE #1600
                                                                                                                                 DALLAS, TX 75201
2.61 LEASE AGREEMENT DATED APRIL 15, 2019, AS                                                     DNA MIRACLE PROPERTIES, LLC    224 BRAMERTON COURT FRANKLIN,
    AMENDED                                                                                                                      TN 37069
2.62 SERVICE ORDER                                                                                DOMO INC                       ATTN: FINANCE DEPARTMENT
                                                                                                                                 802 E 1050 S
                                                                                                                                 AMERICAN FORK, UT 84003
2.63 SUBSCRIPTION SERVICE ORDER ARGREEMENT                                                        DOMO INC                       ATTN: FINANCE DEPARTMENT
                                                                                                                                 802 E 1050 S
                                                                                                                                 AMERICAN FORK, UT 84003
2.64 PURCHASE AND SALE AGREEMENT                                                                  DXO CONSULTING LLC             ATTN: KENT MCKERN
                                                                                                                                 212 PENINSULA CT
                                                                                                                                 GRANBURY, TX 76048
2.65 SALES ORDER AGREEMENT                                                                        ECO-TECH LLC                   ATTN: GENERAL COUNSEL
                                                                                                                                 PO BOX 36557
                                                                                                                                 LOUISVILLE, KY 40233
2.66 PURCHASE AND SALES AGREEMENT                                                                 EMKO PROPERTIES, INC.          590 KILDEER DR.


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                                                                                                                                  BOLINGBROOK, IL 60440
2.67 RESTATED MASTER LEASE AGREEMENT DATED                                                        EXP WASH RE PORTFOLIO           ATTN: HILLARY HAI 47 HULFISH
    SEPTEMBER 29, 2017, AS AMENDED                                                                OWNER I, LLC                    STREET, SUITE # 210 PRINCETON,
                                                                                                                                  NJ 08542
2.68 LEASE AGREEMENT DATED SEPTEMBER 9, 2019,                                                     F.M. HAMMAD IRREVOCABLE         4729 LENNON AVE. ARLINGTON,
    AS AMENDED                                                                                    TRUST                           TEXAS 76016
2.69 PURCHASE AND SALE AGREEMENT                                                                  FAST LANE CAR WASH              ATTN: GENERAL COUNSEL
                                                                                                                                  169 STATE RD # 1
                                                                                                                                  BENSALEM, PA 19020
2.70 PURCHASE AND SALE AGREEMENT                                                                  FAST TRAC CAR WASH 3 LLC        ATTN: MARK HOUSTON
                                                                                                                                  5678 HARBORMIST DR
                                                                                                                                  POWDER SPRINGS, GA 30127
2.71 U.S. CORPORATE ACCOUNT PROGRAM                                                               FEDEX OFFICE AND PRINT          ATTN: GENERAL COUNSEL
    AGREEMENT                                                                                     SERVICES INC                    7900 LEGACY DR
                                                                                                                                  PLANO, TX 75024
2.72 PURCHASE AND SALE AGREEMENT                                                                  FIRE STATION EXPRESS CAR        ATTN: WALTER TAMBKE
                                                                                                  WASH LLC                        1741 ATLANTA HWY
                                                                                                                                  BOGART, GA 30622
2.73 PURCHASE AND SALE AGREEMENT                                                                  FND LLC                         ATTN: HAROLD D HOFFMAN, JR
                                                                                                                                  PO BOX 2550
                                                                                                                                  COVINGTON, GA 30015
2.74 PURCHASE AND SALE AGREEMENT                                                                  FOUR SEASONS CARWASH            C/O NATHAN PIERSON
                                                                                                  ALEXANDRIA LLC                  15016 N 49TH ST
                                                                                                                                  SCOTTSDALE, AZ 85254
2.75 PURCHASE AND SALE AGREEMENT                                                                  FOUR SEASONS CARWASH            C/O NATHAN PIERSON
                                                                                                  BAXTER LLC                      15016 N 49TH ST
                                                                                                                                  SCOTTSDALE, AZ 85254
2.76 RESTATED LEASE AGREEMENT DATED                                                               FOWLER PROPERTY                 2201 FRANCISCO DR, #140-584 EL
    NOVEMBER 8, 2023, AS AMENDED                                                                  INVESTMENTS, LP                 DORADO HILLS, CA 95762


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2.77 ASSET PURCHASE AGREEMENT                                                                       FSA DEVELOPMENT GA2 LLC        ATTN: MANAGER
                                                                                                                                   44 FAITH DR
                                                                                                                                   JEFFERSON, GA 30549
2.78 ASSET PURCHASE AGREEMENT                                                                       FSA DEVELOPMENT GA4 LLC        ATTN: GENERAL COUNSEL
                                                                                                                                   44 FAITH DR
                                                                                                                                   JEFFERSON, GA 30549
2.79 DEED OF LEASE DATED NOVEMBER 15, 2018, AS                                                      FSC ZCW LYNCHBURG VA, LLC      ATTN: CYNTHIA M. DALY 1901 MAIN
    AMENDED                                                                                                                        STREET LAKE COMO, NJ 07719
2.80 DEED OF LEASE DATED NOVEMBER 15, 2018, AS                                                      FSC ZCW ROANOKE VA, LLC        ATTN: CYNTHIA M. DALY 1901 MAIN
    AMENDED                                                                                                                        STREET LAKE COMO, NJ 07719
2.81 ENERGY SAVINGS AGREEMENT, AS AMENDED                                                           FUTURE ENERGY SOLUTIONS        ATTN: GENERAL COUNSEL
                                                                                                    CONTRACTS NO 1 LLLP            PROSPECT PARK
                                                                                                                                   5400 NW 35TH AVE
                                                                                                                                   FORT LAUDERDALE, FL 33309
2.82 ENERGY SAVINGS AGREEMENT, AS AMENDED                                                           FUTURE ENERGY SOLUTIONS        ATTN: GENERAL COUNSEL
                                                                                                    MAINTENANCE LLC                PROSPECT PARK
                                                                                                                                   5400 NW 35TH AVE
                                                                                                                                   FORT LAUDERDALE, FL 33309
2.83 LEASE AGREEMENT DATED MARCH 14, 2019, AS                                                       GBH BRENTWOOD BOULEVARD,       ATTN: ANTHONY M. ZIRILLE, ESQ.
    AMENDED                                                                                         LLC                            127 W. BERRY STREET, SUITE 300
                                                                                                                                   FORT WAYNE, IN 46802
2.84 LEASE AGREEMENT DATED MARCH 14, 2019, AS                                                       GBH PAGE AVENUE, LLC           ATTN: ANTHONY M. ZIRILLE, ESQ.
    AMENDED                                                                                                                        127 W. BERRY STREET, SUITE 300
                                                                                                                                   FORT WAYNE, IN 46802
2.85 LEASE AGREEMENT DATED MARCH 14, 2019, AS                                                       GBH SOUTHERN MANOR DRIVE,      ATTN: ANTHONY M. ZIRILLE, ESQ.
    AMENDED                                                                                         LLC                            127 W. BERRY STREET, SUITE 300
                                                                                                                                   FORT WAYNE, IN 46802
2.86 LEASE AGREEMENT DATED MARCH 14, 2019, AS                                                       GBH TESSON FERRY, LLC          ATTN: ANTHONY M. ZIRILLE, ESQ.
    AMENDED                                                                                                                        127 W. BERRY STREET, SUITE 300
                                                                                                                                   FORT WAYNE, IN 46802

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2.87 SEVERANCE AGREEMENT, WAIVER AND RELEASE                                                       GENE DINKENS                 [REDACTED ADDRESS]
    OF CLAIMS
2.88 LAND AND BUILDING LEASE AGREEMENT DATED                                                       GETTY LEASING, INC.          ATTN: MARK OLEAR TWO JERICHO
    OCTOBER 22, 2019, AS AMENDED                                                                                                PLAZA, SUITE 110, WING C
                                                                                                                                HERICHO, NY 11753
2.89 LAND AND BUILDING LEASE AGREEMENT DATED                                                       GETTY LEASING, INC.          ATTN: MARK OLEAR TWO JERICHO
    JULY 19, 2019, AS AMENDED                                                                                                   PLAZA, SUITE 110, WING C
                                                                                                                                HERICHO, NY 11753
2.90 LAND AND BUILDING LEASE AGREEMENT DATED                                                       GETTY LEASING, INC.          ATTN: MARK OLEAR TWO JERICHO
    OCTOBER 22, 2019, AS AMENDED                                                                                                PLAZA, SUITE 110, WING C
                                                                                                                                HERICHO, NY 11753
2.91 LAND AND BUILDING LEASE AGREEMENT DATED                                                       GETTY LEASING, INC.          ATTN: MARK OLEAR TWO JERICHO
    OCTOBER 31, 2019, AS AMENDED                                                                                                PLAZA, SUITE 110, WING C
                                                                                                                                HERICHO, NY 11753
2.92 LAND AND BUILDING LEASE AGREEMENT DATED                                                       GETTY LEASING, INC.          ATTN: MARK OLEAR TWO JERICHO
    DECEMBER 16, 2019, AS AMENDED                                                                                               PLAZA, SUITE 110, WING C
                                                                                                                                HERICHO, NY 11753
2.93 LAND AND BUILDING LEASE AGREEMENT DATED                                                       GETTY LEASING, INC.          ATTN: MARK OLEAR TWO JERICHO
    FEBRUARY 14, 2020, AS AMENDED                                                                                               PLAZA, SUITE 110, WING C
                                                                                                                                HERICHO, NY 11753
2.94 LAND AND BUILDING LEASE AGREEMENT DATED                                                       GETTY LEASING, INC.          ATTN: MARK OLEAR TWO JERICHO
    MARCH 13, 2020, AS AMENDED                                                                                                  PLAZA, SUITE 110, WING C
                                                                                                                                HERICHO, NY 11753
2.95 LAND AND BUILDING LEASE AGREEMENT DATED                                                       GETTY LEASING, INC.          ATTN: MARK OLEAR TWO JERICHO
    JULY 23, 2020, AS AMENDED                                                                                                   PLAZA, SUITE 110, WING C
                                                                                                                                HERICHO, NY 11753
2.96 LAND AND BUILDING LEASE AGREEMENT DATED                                                       GETTY LEASING, INC.          ATTN: MARK OLEAR TWO JERICHO
    JUNE 12, 2020, AS AMENDED                                                                                                   PLAZA, SUITE 110, WING C
                                                                                                                                HERICHO, NY 11753


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2.97 LAND AND BUILDING LEASE AGREEMENT DATED                                                       GETTY LEASING, INC.             ATTN: MARK OLEAR TWO JERICHO
    SEPTEMBER 11, 2020, AS AMENDED                                                                                                 PLAZA, SUITE 110, WING C
                                                                                                                                   HERICHO, NY 11753
2.98 LAND AND BUILDING LEASE AGREEMENT DATED                                                       GETTY LEASING, INC.             ATTN: MARK OLEAR TWO JERICHO
    DECEMBER 11, 2020, AS AMENDED                                                                                                  PLAZA, SUITE 110, WING C
                                                                                                                                   HERICHO, NY 11753
2.99 LAND AND BUILDING LEASE AGREEMENT DATED                                                       GETTY LEASING, INC.             ATTN: MARK OLEAR TWO JERICHO
    FEBRUARY 26, 2021, AS AMENDED                                                                                                  PLAZA, SUITE 110, WING C
                                                                                                                                   HERICHO, NY 11753
2.100 EMPLOYMENT AGREEMENT                                                                         GIL CASTRO                      8400 BELLEVIEW DR.,
                                                                                                                                   SUITE 210
                                                                                                                                   PLANO, TX 75024
2.101 COMPENSATION AGREEMENT                                                                       GIL CASTRO                      8400 BELLEVIEW DR.,
                                                                                                                                   SUITE 210
                                                                                                                                   PLANO, TX 75024
2.102 PURCHASE AND SALE AGREEMENT                                                                  GOLIAD EXPRESS LLC              ATTN: JAMES BENTON
                                                                                                                                   4420 VILLA DR
                                                                                                                                   FLOWER MOUND, TX 75028
2.103 PURCHASE AND SALE AGREEMENT                                                                  GRIFFIN WOLF GROUP LLC          ATTN: JOHNNY L GRIFFIN
                                                                                                                                   7228 S TURKEY CREEK RD
                                                                                                                                   MORRISON, CO 80465
2.104 PROFESSIONAL SERVICE AGREEMENT                                                               HERO DIGITAL LLC                ATTN: GENERAL COUNSEL
                                                                                                                                   1 N DEARBORN ST
                                                                                                                                   STE 725
                                                                                                                                   CHICAGO, IL 60602
2.105 OUTPARCEL LEASE AGREEMENT DATED APRIL                                                        INGLES MARKETS,                 ATTN: REAL ESTATE DEPARTMENT
     20, 2018, AS AMENDED                                                                          INCORPORATED                    P.O.BOX 6676 ASHEVILLE, NC 28816
2.106 OUTPARCEL LEASE AGREEMENT DATED APRIL                                                        INGLES MARKETS,                 ATTN: REAL ESTATE DEPARTMENT
     20, 2018, AS AMENDED                                                                          INCORPORATED                    P.O.BOX 6676 ASHEVILLE, NC 28816


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2.107 OUTPARCEL LEASE AGREEMENT DATED APRIL                                                         INGLES MARKETS,                   ATTN: REAL ESTATE DEPARTMENT
     20, 2018, AS AMENDED                                                                           INCORPORATED                      P.O.BOX 6676 ASHEVILLE, NC 28816
2.108 OUTPARCEL LEASE AGREEMENT DATED APRIL                                                         INGLES MARKETS,                   ATTN: REAL ESTATE DEPARTMENT
     20, 2018, AS AMENDED                                                                           INCORPORATED                      P.O.BOX 6676 ASHEVILLE, NC 28816
2.109 LAND AND BUILDING LEASE AGREEMENT, AS                                                         JB DEVELOPMENT, INC.              590 KILDEER DR.
     AMENDED                                                                                                                          BOLINGBROOK, IL 60440
2.110 LEASE AGREEMENT DATED DECEMBER 23, 2015,                                                      JB5117 POPLAR, LLC                1400 W. MARKHAM, SUITE 202
     AS AMENDED                                                                                                                       LITTLE ROCK, AR 72201
2.111 LICENSE AGREEMENT, AS AMENDED                                                                 JET BRITE CAR WASH, INC.          590 KILDEER DR.
                                                                                                                                      BOLINGBROOK, IL 60440
2.112 PURCHASE AND SALE AGREEMENT, AS                                                               JET BRITE CAR WASH, INC.          590 KILDEER DR.
     AMENDED                                                                                                                          BOLINGBROOK, IL 60440
2.113 ATHLETICS + CAMPUS SPONSORSHIP                                                                JMIS KENTUCKY LLC                 ATTN: CONTRACT MANAGER
     AGREEMENT, AS AMENDED                                                                                                            C/O UK SPORTS & CAMPUS
                                                                                                                                      MARKETING
                                                                                                                                      546 E MAIN ST, 1ST FLOOR
                                                                                                                                      LEXINGTON, KY 40508
2.114 PURCHASE AND SALES AGREEMENT                                                                  JOPLIN CAR WASH LLC               ATTN: CHRIS MICHAEL
                                                                                                                                      951 LOCUST HILL CIR
                                                                                                                                      BELTON, MO 64012
2.115 LEASE AGREEMENT DATED FEBRUARY 1, 2015,                                                       JOSEPH H. CAMPBELL                2221 LANE ROAD GREENSBORO,
     AS AMENDED                                                                                                                       NC 27408
2.116 PURCHASE AND SALE AGREEMENT                                                                   JOSHUA GARTH AND                  ATTN: GENERAL COUNSEL
                                                                                                    CHRISTOPHER ERICKSON              222 S 15TH ST
                                                                                                                                      STE 1404S
                                                                                                                                      OMAHA, NE 68102
2.117 STORAGE UNIT RENTAL AGREEMENT                                                                 KO STORAGE OF DETROIT LAKES ATTN: GENERAL COUNSEL
                                                                                                                                18550 US-59
                                                                                                                                DETROIT LAKES, MN 56501


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2.118 LEASE AGREEMENT DATED MARCH 8, 2018, AS                                                        KUBERA FINANCIAL GROUP, INC.;   P. O. BOX 7842 LITTLE ROCK, AR
     AMENDED                                                                                         AND KALIDINDI FAMILY            7221 7
                                                                                                     HOLDINGS, LLC
2.119 MARKETING AND SPONSORSHIP AGREEMENT                                                            LEARFIELD SPORTS LLC            C/O LEARFIELD COMMUNICATIONS
                                                                                                                                     LLC
                                                                                                                                     PO BOX 843038
                                                                                                                                     KANSAS CITY, MO 64184
2.120 PURCHASE AND SALE AGREEMENT                                                                    LIGHTNING MCCLEAN MLK INC       ATTN: TOMMY DALTON BROGDEN,
                                                                                                                                     JR, PRESIDENT
                                                                                                                                     4107 RANGE RD
                                                                                                                                     STEM, NC 27581
2.121 LEASE AGREEMENT DATED OCTOBER 14, 2015,                                                        LOEHR INVESTMENTS, INC          ATTN: ANGELA MANCHE BURTELOW
     AS AMENDED                                                                                                                      15455 MANCHESTER ROAD #3986
                                                                                                                                     BALLWIN, MO 63022
2.122 PURCHASE AND SALES AGREEMENT                                                                   MACWIL LLC                      ATTN: HAWN MCGILLEN
                                                                                                                                     7745 E WAYLON DR
                                                                                                                                     WINSLOW, IN 47598
2.123 EMPLOYMENT AGREEMENT                                                                           MARK YOUNGWORTH                 8400 BELLEVIEW DR.,
                                                                                                                                     SUITE 210
                                                                                                                                     PLANO, TX 75024
2.124 LEASE AGREEMENT DATED AUGUST 28, 2019, AS                                                      MATHIS APARTMENTS               2633 MORNING DOVE LANE
     AMENDED                                                                                                                         CHARLESTON, SC 29414
2.125 MASTER SERVICE AGREEMENT                                                                       MCS COMMERCIAL LLC              ATTN: ANDREW NOLAN, PRESIDENT
                                                                                                                                     350 HIGHLAND DR
                                                                                                                                     STE 100
                                                                                                                                     LEWISVILLE, TX 75067
2.126 RESTATED MASTER LAND AND BUILDING LEASE                                                        MDC COAST 16, LLC               ATTN: LEGAL DEPARTMENT 11995
     AGREEMENT DATED DECEMBER 23, 2020, AS                                                                                           EL CAMINO REAL SAN DIEGO CA
     AMENDED                                                                                                                         92130



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2.127 LEASE AGREEMENT DATED DECEMBER 28, 2018,                                                      MDC COAST 20, LLC              ATTN: LEGAL DEPARTMENT 11995
     AS AMENDED                                                                                                                    EL CAMINO REAL SAN DIEGO CA
                                                                                                                                   92130
2.128 MASTER LAND AND BUILDING LEASE                                                                MDC COAST 7, LLC               ATTN: LEGAL DEPARTMENT 11995
     AGREEMENT DATED SEPTEMBER 21, 2017, AS                                                                                        EL CAMINO REAL SAN DIEGO CA
     AMENDED                                                                                                                       92130
2.129 MASTER LAND AND BUILDING LEASE                                                                MDC NC1, LP; REALTY INCOME     ATTN: LEGAL DEPARTMENT 11995
     AGREEMENT DATED DECEMBER 15, 2022, AS                                                          ILLINOIS PROPERTIES 1, LLC; AND EL CAMINO REAL SAN DIEGO CA
     AMENDED                                                                                        MDC COAST 26, LLC               92130
2.130 MASTER LAND AND BUILDING LEASE                                                                MDC NC2, LP                    ATTN: LEGAL DEPARTMENT 11995
     AGREEMENT DATED MARCH 28, 2019, AS                                                                                            EL CAMINO REAL SAN DIEGO CA
     AMENDED                                                                                                                       92130
2.131 MASTER LAND AND BUILDING LEASE                                                                MDC NC2, LP                    ATTN: LEGAL DEPARTMENT 11995
     AGREEMENT DATED APRIL 25, 2019, AS                                                                                            EL CAMINO REAL SAN DIEGO CA
     AMENDED                                                                                                                       92130
2.132 MASTER LAND AND BUILDING LEASE                                                                MDC NC2, LP; AND REALTY        ATTN: LEGAL DEPARTMENT 11995
     AGREEMENT DATED MAY 18, 2022, AS AMENDED                                                       INCOME PROPERTIES 21, LLC      EL CAMINO REAL SAN DIEGO CA
                                                                                                                                   92130
2.133 LEASE AGREEMENT DATED APRIL 13, 2018, AS                                                      MEDICAL REALTY COMPANY, INC.   ATTN: ANNE BRODERICK 1226 GLEN
     AMENDED                                                                                                                       OAKS DRIVE WEST DES MOINES, IA
                                                                                                                                   50266
2.134 RESTATED MASTER LEASE AGREEMENT DATED                                                         MICHA MOTTALE, AS TRUSTEE OF ATTN: PORTFOLIO MANAGER 800
     OCTOBER 24, 2023, AS AMENDED                                                                   THE MICHA MOTTALE TRUST OF   CLINTON SQUIARE ROCHESTER NY
                                                                                                    2023                         14604
2.135 COMPENSATION AGREEMENT                                                                        MICHAEL JARED                  8400 BELLEVIEW DR.,
                                                                                                                                   SUITE 210
                                                                                                                                   PLANO, TX 75024
2.136 COMPENSATION AGREEMENT                                                                        MICHELE GLOOR                  8400 BELLEVIEW DR.,
                                                                                                                                   SUITE 210
                                                                                                                                   PLANO, TX 75024

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2.137 LAND AND BUILDING LEASE AGREEMENT DATED                                                       MIKI PROPERTIES LLC – ROSELLE ATTN: DAVID DALESANDRO,
     APRIL 17, 2024, AS AMENDED                                                                                                     PRESIDENT 590 KILDEER DRIVE
                                                                                                                                    BOLINGBROOK, ILLINOIS 60440
2.138 PURCHASE AND SALE AGREEMENT, AS                                                               MIKI PROPERTIES, LLC            590 KILDEER DR.
     AMENDED                                                                                                                        BOLINGBROOK, IL 60440
2.139 PURCHASE AND SALES AGREEMENT                                                                  MIKI PROPERTIES, LLC - GRAND    590 KILDEER DR.
                                                                                                                                    BOLINGBROOK, IL 60440
2.140 PURCHASE AND SALES AGREEMENT                                                                  MIKI PROPERTIES, LLC -          590 KILDEER DR.
                                                                                                    NORTHLAKE                       BOLINGBROOK, IL 60440
2.141 PURCHASE AND SALES AGREEMENT                                                                  MIKI PROPERTIES, LLC - ROSELLE 590 KILDEER DR.
                                                                                                                                   BOLINGBROOK, IL 60440
2.142 LAND AND BUILDING LEASE AGREEMENT                                                             MIKI PROPERTIES, LLC - ROSELLE 590 KILDEER DR.
                                                                                                                                   BOLINGBROOK, IL 60440
2.143 PURCHASE AND SALES AGREEMENT                                                                  MIKI PROPERTIES, LLC - WEBER    590 KILDEER DR.
                                                                                                                                    BOLINGBROOK, IL 60440
2.144 PURCHASE AND SALE AGREEMENT, AS                                                               MILLER BLAKEWELL LLC            ATTN: TOM MILLER
     AMENDED                                                                                                                        1834 LEXINGTON AVE
                                                                                                                                    ALLEN, TX 75013
2.145 PURCHASE AND SALE AGREEMENT                                                                   MLR ROCKMART LLC                ATTN: MARK HOUSTON
                                                                                                                                    5678 HARBORMIST DR
                                                                                                                                    POWDER SPRINGS, GA 30127
2.146 RESTATED LEASE AGREEMENT DATED APRIL 28,                                                      MOHAMED MERABET AND YAMINA P.O. BOX 7577
     2023, AS AMENDED                                                                               SEBBAH
2.147 PURCHASE AND SALE AGREEMENT                                                                   MOKE PROPERTIES LLC             C/O NATHAN PIERSON
                                                                                                                                    15016 N 49TH ST
                                                                                                                                    SCOTTSDALE, AZ 85254
2.148 LEASE AGREEMENT DATED JULY 22, 2022, AS                                                       MOSES TUCKER PARTNERS           314 MAIN, LLC 341 MAIN STREET,
     AMENDED                                                                                                                        NORTH LITTLE ROCK, AR 72201


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2.149 PURCHASE AND SALE AGREEMENT                                                                  MUSTARD SEED CHESTERFIELD        ATTN: GENERAL COUNSEL
                                                                                                   LLC                              4107 RANGE RD
                                                                                                                                    STEM, NC 27581
2.150 MASTER AGREEMENT FOR SECURITY SERVICES                                                       NESCTC SECURITY AGENCY LLC       ATTN: MICHAEL J MALLOY,
                                                                                                                                    PRESIDENT
                                                                                                                                    46 MOLTER ST
                                                                                                                                    CRANSTON, RI 02910
2.151 LAND AND BUILDING LEASE AGREEMENT DATED                                                      NIGHTINGALE PINEVILLE LLC        P.O. BOX 17080 JONESBORO,
     DECEMBER 11, 2020, AS AMENDED                                                                                                  ARKANSAS 72403
2.152 PURCHASE AND SALES AGREEMENT                                                                 NIMA PROPERTIES, INC.            590 KILDEER DR.
                                                                                                                                    BOLINGBROOK, IL 60440
2.153 PURCHASE AND SALE AGREEMENT                                                                  NLKH VENTURES 2 LLC              ATTN: ARSHAD NIAZ
                                                                                                                                    PO BOX 940044
                                                                                                                                    PLANO, TX 75094
2.154 PURCHASE AND SALE AGREEMENT                                                                  NLKH VENTURES CORPORATION        ATTN: ARSHAD NIAZ
                                                                                                                                    PO BOX 940044
                                                                                                                                    PLANO, TX 75094
2.155 LAND AND BUILDING LEASE AGREEMENT DATED                                                      NM ZIPS LLC                      ATTN: TOM MURRAY 1968 SHAWNEE
     DECEMBER 30, 2020, AS AMENDED                                                                                                  MISSION PARKWAY, SUITE 200
                                                                                                                                    MISSION WOODS, KANSAS 66205
                                                                                                                                    C/O POLSINELLI PC ATTN: MIKE
                                                                                                                                    FISHER 900 W. 48TH PLACE, SUITE
                                                                                                                                    900 KANSAS CITY, MISSOURI 64112
2.156 LAND AND BUILDING LEASE AGREEMENT DATED                                                      NM ZIPS ST. CHARLES LLC          1968 SHAWNEE MISSION PARKWAY,
     APRIL 9, 2019, AS AMENDED                                                                                                      SUITE 200 MISSION WOODS,
                                                                                                                                    KANSAS 66205
2.157 WASTE MANAGEMENT SERVICE AGREEMENT                                                           OLD SEVILLE WASTE EXPERTS        1388 COUNTRY CLUB RD
                                                                                                                                    GULF BREEZE, FL 32563
2.158 PURCHASE AND SALE AGREEMENT                                                                  OLYMPIC CAR WASH OF              ATTN: SCOTT BESCH
                                                                                                   SHAWNEE INC                      951 LOCUST HILL CIR

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Zips Car Wash, LLC                 Case 25-80069-mvl11    Doc 127 Filed 02/25/25 Entered 02/25/25 21:35:08                  Desc        Case Number: 25-80069-11 (MVL)
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                                                                                                                                   BELTON, MO 64012
2.159 SERVICE AGREEMENT                                                                            ONE CLICK VIRTUAL SUPPORT       ONE CLICK VIRTUAL SUPPORT
                                                                                                                                   HEADQUARTER
                                                                                                                                   QUEZON CITY, 1127
                                                                                                                                   PHILIPPINES
2.160 SIGN LOCATION LEASE                                                                          OUTFRONT MEDIA LLC              ATTN: GENERAL COUNSEL
                                                                                                                                   6767 N HANLEY RD
                                                                                                                                   ST LOUIS, MO 63134
2.161 GROUND LEASE DATED MAY 19, 2017, AS                                                          PATRICK M. CULLEN               PATRICK CULLEN 136 COWPER
     AMENDED                                                                                                                       STREET PALO ALTO, CALIFORNIA
                                                                                                                                   94301
2.162 SERVICE PROPOSAL FORM                                                                        PAYCOM PAYROLL LLC D/B/A        ATTN: GENERAL COUNSEL
                                                                                                   PAYCOM                          7501 W MEMORIAL RD
                                                                                                                                   OKLAHOMA CITY, OK 73142
2.163 RESTATED LEASE AGREEMENT DATED OCTOBER                                                       PLACENTIA PM, LLC               MYRTLE BEACH, SOUTH CAROLINA
     24, 2023, AS AMENDED                                                                                                          29572
2.164 SPONSORSHIP AGREEMENT                                                                        PLAYFLY SPORTS PROPERTIES       ATTN: RISK MANAGEMENT
                                                                                                   LLC                             22 CASSATT AVE
                                                                                                                                   BERWYN, PA 19312
2.165 LAND AND BUILDING LEASE AGREEMENT DATED                                                      POST CORPORATION                ATTN: CYNTHIA M. DALY 1901 MAIN
     OCTOBER 29, 2019, AS AMENDED                                                                                                  STREET LAKE COMO, NJ 07719
2.166 ASSET PURCHASE AND SALE AGREEMENT                                                            PRECISION VENTURES LLC          ATTN: ROBERT ALAN WILSON
                                                                                                                                   1387 AUGUSTA RD
                                                                                                                                   THOMSON, GA 30824
2.167 LAND AND BUILDING LEASE AGREEMENT DATED                                                      PRIMAX PROPERTIES, LLC          C/O MARIE MCLUCAS, 1100 E
     MAY 2, 2019, AS AMENDED                                                                                                       MOREHEAD STREET, CHARLOTTE,
                                                                                                                                   NC 28204
2.168 LEASE AGREEMENT DATED MAY 7, 2021, AS                                                        PRIMERA TOWNE SQUARE II, LLC    ATTN: RYAN CLUCK, CFO 8400
     AMENDED                                                                                                                       BELLEVIEW DR SUITE 125, PLANO,


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                                                                                                                                  TX 75024
2.169 LEASE AGREEMENT DATED DECEMBER 20, 2017,                                                      PRO CLEAN OF LAKE WORTH INC. C/O GENE MIRVIS 19464 39TH AVE
     AS AMENDED                                                                                                                   MIAMI, FL
2.170 RENTAL AGREEMENT                                                                              PUBLIC STORAGE                ATTN: GENERAL COUNSEL
                                                                                                                                  944 CREIGHTON RD
                                                                                                                                  PENSACOLA, FL 32504
2.171 PURCHASE AND SALE AGREEMENT                                                                   PUREWASHATX LLC               ATTN: JEFFREY R BETZING
                                                                                                                                  355 BITTERROOT LANE
                                                                                                                                  AUSTIN, TX 78737
2.172 MASTER LAND AND BUILDING LEASE                                                                REALTY INCOME PROPERTIES 17, ATTN: LEGAL DEPARTMENT 11995
     AGREEMENT DATED SEPTEMBER 1, 2022, AS                                                          LLC                          EL CAMINO REAL SAN DIEGO CA
     AMENDED                                                                                                                     92130
2.173 MASTER LAND AND BUILDING LEASE                                                                REALTY INCOME PROPERTIES 17, ATTN: LEGAL DEPARTMENT 11995
     AGREEMENT DATED OCTOBER 4, 2022, AS                                                            LLC                          EL CAMINO REAL SAN DIEGO CA
     AMENDED                                                                                                                     92130
2.174 MASTER LAND AND BUILDING LEASE                                                                REALTY INCOME PROPERTIES 17, ATTN: LEGAL DEPARTMENT 11995
     AGREEMENT DATED OCTOBER 18, 2022, AS                                                           LLC                          EL CAMINO REAL SAN DIEGO CA
     AMENDED                                                                                                                     92130
2.175 MASTER LAND AND BUILDING LEASE                                                                REALTY INCOME PROPERTIES 17, ATTN: LEGAL DEPARTMENT 11995
     AGREEMENT DATED NOVEMBER 15, 2022, AS                                                          LLC                          EL CAMINO REAL SAN DIEGO CA
     AMENDED                                                                                                                     92130
2.176 MASTER LAND AND BUILDING LEASE                                                                REALTY INCOME PROPERTIES 21, ATTN: LEGAL DEPARTMENT 11995
     AGREEMENT DATED JUNE 23, 2022, AS AMENDED                                                      LLC                          EL CAMINO REAL SAN DIEGO CA
                                                                                                                                 92130
2.177 RESTATED MASTER LAND AND BUILDING LEASE                                                       REALTY INCOME PROPERTIES 21, ATTN: LEGAL DEPARTMENT 11995
     AGREEMENT DATED MAY 12, 2022, AS AMENDED                                                       LLC; AND REALTY INCOME       EL CAMINO REAL SAN DIEGO CA
                                                                                                    PROPERTIES 30, LLC           92130
2.178 MASTER LAND AND BUILDING LEASE                                                                REALTY INCOME PROPERTIES 26, ATTN: LEGAL DEPARTMENT 11995
     AGREEMENT DATED MAY 16, 2019, AS AMENDED                                                       LLC                          EL CAMINO REAL SAN DIEGO CA


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                                                                                                                                 92130
2.179 MASTER LAND AND BUILDING LEASE                                                                REALTY INCOME PROPERTIES 26, ATTN: LEGAL DEPARTMENT 11995
     AGREEMENT DATED JUNE 17, 2019, AS AMENDED                                                      LLC                          EL CAMINO REAL SAN DIEGO CA
                                                                                                                                 92130
2.180 MASTER LAND AND BUILDING LEASE                                                                REALTY INCOME PROPERTIES 26, ATTN: LEGAL DEPARTMENT 11995
     AGREEMENT DATED MAY 21, 2019, AS AMENDED                                                       LLC                          EL CAMINO REAL SAN DIEGO CA
                                                                                                                                 92130
2.181 MASTER LAND AND BUILDING LEASE                                                                REALTY INCOME PROPERTIES 26, ATTN: LEGAL DEPARTMENT 11995
     AGREEMENT DATED MAY 30, 2019, AS AMENDED                                                       LLC                          EL CAMINO REAL SAN DIEGO CA
                                                                                                                                 92130
2.182 LEASE AGREEMENT DATED DECEMBER 28, 2018,                                                      REALTY INCOME PROPERTIES 29, ATTN: LEGAL DEPARTMENT 11995
     AS AMENDED                                                                                     LLC                          EL CAMINO REAL SAN DIEGO CA
                                                                                                                                 92130
2.183 MASTER LEASE AGREEMENT DATED DECEMBER                                                         REALTY INCOME PROPERTIES 29, ATTN: LEGAL DEPARTMENT 11995
     28, 2018, AS AMENDED                                                                           LLC                          EL CAMINO REAL SAN DIEGO CA
                                                                                                                                 92130
2.184 MASTER LAND AND BUILDING LEASE                                                                REALTY INCOME PROPERTIES 30, ATTN: LEGAL DEPARTMENT 11995
     AGREEMENT DATED JUNE 8, 2022, AS AMENDED                                                       LLC                          EL CAMINO REAL SAN DIEGO CA
                                                                                                                                 92130
2.185 MASTER LAND AND BUILDING LEASE                                                                REALTY INCOME PROPERTIES 30, ATTN: LEGAL DEPARTMENT 11995
     AGREEMENT DATED JUNE 16, 2022, AS AMENDED                                                      LLC                          EL CAMINO REAL SAN DIEGO CA
                                                                                                                                 92130
2.186 MASTER LAND AND BUILDING LEASE                                                                REALTY INCOME PROPERTIES 30, ATTN: LEGAL DEPARTMENT 11995
     AGREEMENT DATED JUNE 21, 2022, AS AMENDED                                                      LLC                          EL CAMINO REAL SAN DIEGO CA
                                                                                                                                 92130
2.187 MASTER LAND AND BUILDING LEASE                                                                REALTY INCOME PROPERTIES 30, ATTN: LEGAL DEPARTMENT 11995
     AGREEMENT DATED JULY 7, 2022, AS AMENDED                                                       LLC                          EL CAMINO REAL SAN DIEGO CA
                                                                                                                                 92130




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2.188 MASTER LAND AND BUILDING LEASE                                                                REALTY INCOME PROPERTIES 30, ATTN: LEGAL DEPARTMENT 11995
     AGREEMENT DATED AUGUST 16, 2022, AS                                                            LLC                          EL CAMINO REAL SAN DIEGO CA
     AMENDED                                                                                                                      92130
2.189 LAND AND BUILDING LEASE AGREEMENT DATED                                                       REALTY INCOME PROPERTIES 30, ATTN: LEGAL DEPARTMENT 11995
     JANUARY 30, 2023, AS AMENDED                                                                   LLC                           EL CAMINO REAL SAN DIEGO CA
                                                                                                                                  92130
2.190 EMPLOYMENT AGREEMENT                                                                          REBECCA LATACZ                8400 BELLEVIEW DR.,
                                                                                                                                  SUITE 210
                                                                                                                                  PLANO, TX 75024
2.191 COMPENSATION AGREEMENT                                                                        REBECCA LATACZ                8400 BELLEVIEW DR.,
                                                                                                                                  SUITE 210
                                                                                                                                  PLANO, TX 75024
2.192 LEASE AGREEMENT DATED APRIL 4, 2019, AS                                                       ROANOKE ZIPS LLC              1721 BESLEY RD. VIENNA, VA 22182
     AMENDED
2.193 FUNDRAISING ORGANIZER AND PROFESSIONAL                                                        ROCKET EXPRESS CAR WASH       ATTN: GENERAL COUNSEL
     SERVICES AGREEMENT                                                                                                           150 WEST 7200 SOUTH
                                                                                                                                  MIDVALE, UT 84047
2.194 PURCHASE AND SALES AGREEMENT                                                                  ROCKET EXPRESS LLC            ATTN: JOE RUSSELL AND JANET
                                                                                                                                  RUSSELL
                                                                                                                                  1205 E WARM SPRINGS AVE
                                                                                                                                  BOISE, ID 83712
2.195 PURCHASE AND SALES AGREEMENT                                                                  ROCKIN’ BUBBLES JOPLIN LLC    ATTN: CHRIS MICHAEL
                                                                                                                                  951 LOCUST HILL CIR
                                                                                                                                  BELTON, MO 64012
2.196 LEASE AGREEMENT DATED NOVEMBER 22, 2019,                                                      RTS ORCHARDS, LLC             4831 CALLOWAY DRIVE, SUITE 102
     AS AMENDED                                                                                                                   BAKERSFIELD, CALIFORNIA 93 312
2.197 RESTATED LEASE AGREEMENT DATED                                                                S.C.P. LLC                    8377 E. HARTFORD DRIVE, SUITE
     SEPTEMBER 11, 2018, AS AMENDED                                                                                               100 SCOTTSDALE, AZ 85255
2.198 SIGNED ORDER AGREEMENT Q-07320588                                                             SALESFORCE INC                ATTN: GENERAL COUNSEL


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                                                                                                                                 SALESFORCE TOWER
                                                                                                                                 415 MISSION ST, 3RD FLOOR
                                                                                                                                 SAN FRANCISCO, CA 94105
2.199 SIGNED ORDER AGREEMENT Q-06019891                                                            SALESFORCE INC                ATTN: GENERAL COUNSEL
                                                                                                                                 SALESFORCE TOWER
                                                                                                                                 415 MISSION ST, 3RD FLOOR
                                                                                                                                 SAN FRANCISCO, CA 94105
2.200 COMPENSATION AGREEMENT                                                                       SAMUEL FUENTES                8400 BELLEVIEW DR.,
                                                                                                                                 SUITE 210
                                                                                                                                 PLANO, TX 75024
2.201 RESTATED MASTER LEASE AGREEMENT DATED                                                        SCF RC FUNDING IV             ATTN: HILLARY HAI 47 HULFISH
     SEPTEMBER 29, 2017, AS AMENDED                                                                                              STREET, SUITE # 210 PRINCETON,
                                                                                                                                 NJ 08542
2.202 STORAGE SPACE LEASE AGREEMENT                                                                SECURE SPACE STORAGE          ATTN: GENERAL COUNSEL
                                                                                                                                 3519 NORTH SALEM RD
                                                                                                                                 FAYETTEVILLE, AR 72704
2.203 CPC CHEMICAL AGREEMENT, AS AMENDED                                                           SIMONIZ USA INC               ATTN: GENERAL COUNSEL
                                                                                                                                 201 BOSTON TPKE
                                                                                                                                 BOLTON, CT 06043
2.204 PREVENTATIVE MAINTENANCE AGREEMENT -                                                         SONNY'S CAR WASH SERVICES     ATTN: GENERAL COUNSEL
     BOWLING GREEN                                                                                                               5870 HIATUS RD
                                                                                                                                 TAMARAC, FL 33321
2.205 PREVENTATIVE MAINTENANCE AGREEMENT -                                                         SONNY'S CAR WASH SERVICES     ATTN: GENERAL COUNSEL
     OWENSBORO                                                                                                                   5870 HIATUS RD
                                                                                                                                 TAMARAC, FL 33321
2.206 MONTHLY PREVENTATIVE MAINTENANCE                                                             SONNY’S CARWASH SERVICES      ATTN: GENERAL COUNSEL
     SCHEME - BOWLING GREEN                                                                                                      2710 PEMBERTON DR
                                                                                                                                 APOPKA, FL 32703
2.207 MONTHLY PREVENTATIVE MAINTENANCE                                                             SONNY’S CARWASH SERVICES      ATTN: GENERAL COUNSEL
     SCHEME - OWENSBORO                                                                                                          2710 PEMBERTON DR

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                                                                                                                                APOPKA, FL 32703
2.208 CPC CHEMICAL AGREEMENT, AS AMENDED                                                           SONNY’S DIAMOND SHINE LLC    ATTN: GENERAL COUNSEL
                                                                                                                                9050 TYLER BLVD
                                                                                                                                MENTOR, OH 44060
2.209 LEASE AND SUBSCRIPTION AGREEMENT                                                             SONNY’S ENTERPRISES LLC      ATTN: GENERAL COUNSEL
                                                                                                                                5870 HIATUS RD
                                                                                                                                TAMARAC, FL 33321
2.210 LEASE AND SUBSCRIPTION AGREEMENT -                                                           SONNY’S ENTERPRISES LLC      ATTN: GENERAL COUNSEL
     COVINGTON                                                                                                                  5870 HIATUS RD
                                                                                                                                TAMARAC, FL 33321
2.211 LEASE AND SUBSCRIPTION AGREEMENT -                                                           SONNY’S ENTERPRISES LLC      ATTN: GENERAL COUNSEL
     FRISCO                                                                                                                     5870 HIATUS RD
                                                                                                                                TAMARAC, FL 33321
2.212 LEASE AND SUBSCRIPTION AGREEMENT -                                                           SONNY’S ENTERPRISES LLC      ATTN: GENERAL COUNSEL
     LEMMON                                                                                                                     5870 HIATUS RD
                                                                                                                                TAMARAC, FL 33321
2.213 LEASE AND SUBSCRIPTION AGREEMENT -                                                           SONNY’S ENTERPRISES LLC      ATTN: GENERAL COUNSEL
     LEWISVILLE                                                                                                                 5870 HIATUS RD
                                                                                                                                TAMARAC, FL 33321
2.214 LEASE AND SUBSCRIPTION AGREEMENT - ROSS                                                      SONNY’S ENTERPRISES LLC      ATTN: GENERAL COUNSEL
                                                                                                                                5870 HIATUS RD
                                                                                                                                TAMARAC, FL 33321
2.215 SERVICE AGREEMENT                                                                            SONNY’S ENTERPRISES LLC      ATTN: GENERAL COUNSEL
                                                                                                                                255 HAYWOOD ST
                                                                                                                                ASHVILLE, NC 28801
2.216 MASTER SERVICES AGREEMENT                                                                    SONNY’S ENTERPRISES LLC      ATTN: GENERAL COUNSEL
                                                                                                                                5605 HIATUS RD
                                                                                                                                TAMARAC, FL 33321




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2.217 RESTATED MASTER LEASE AGREEMENT DATED                                                        SPIRIT MASTER FUNDING X, LLC   ATTN: LEGAL DEPARTMENT 11995
     MARCH 29, 2017, AS AMENDED                                                                                                   EL CAMINO REAL SAN DIEGO CA
                                                                                                                                  92130
2.218 RESTATED MASTER LEASE AGREEMENT DATED                                                        SPIRIT REALTY, L.P.            ATTN: PROPERTY MANAGEMENT
     AUGUST 4, 2022, AS AMENDED                                                                                                   2727 N. HARWOOD STREET, SUITE
                                                                                                                                  300 DALLAS, TX 75201
2.219 PURCHASE AND SALE AGREEMENT                                                                  SSAA VENTURES 2                ATTN: ARSHAD NIAZ
                                                                                                   CORPORATION                    PO BOX 940044
                                                                                                                                  PLANO, TX 75094
2.220 PURCHASE AND SALE AGREEMENT                                                                  SSAA-TDYMB VENTURES            ATTN: ARSHAD NIAZ
                                                                                                   CORPORATION                    PO BOX 940044
                                                                                                                                  PLANO, TX 75094
2.221 STANDARD AGREEMENT                                                                           STERICYCLE INC                 ATTN: GENERAL COUNSEL
                                                                                                                                  2355 WAUKEGAN RD
                                                                                                                                  BANNOCKBUM, IL 60015
2.222 PURCHASE AND SALE AGREEMENT                                                                  STEWARD CW NEW CANEY OP CO ATTN: GENERAL COUNSEL
                                                                                                   LLC                        7315 PALMETTO SPRINGS TRAIL
                                                                                                                                  KATY, TX 77493
2.223 PURCHASE AND SALE AGREEMENT                                                                  STEWARD CW REAL ESTATE NEW ATTN: GENERAL COUNSEL
                                                                                                   CANEY LLC                      7315 PALMETTO SPRINGS TRAIL
                                                                                                                                  KATY, TX 774+3
2.224 PURCHASE AND SALE AGREEMENT                                                                  STORE CAPITAL ACQUISITIONS     ATTN: LORI MARKSON
                                                                                                   LLC                            8377 E HARTFORD DR
                                                                                                                                  STE 100
                                                                                                                                  SCOTTSDALE, AZ 85255
2.225 SERVICES FEE AGREEMENT                                                                       STRIPE INC                     ATTN: GENERAL COUNSEL
                                                                                                                                  354 OYSTER POINT BLVD
                                                                                                                                  SAN FRANCISCO, CA 94080
2.226 SUBSCRIPTION FEE AGREEMENT                                                                   STRIPE INC                     ATTN: GENERAL COUNSEL
                                                                                                                                  354 OYSTER POINT BLVD

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                                                                                                                                    SAN FRANCISCO, CA 94080
2.227 PURCHASE AND SALE AGREEMENT                                                                  SUPER SHINE CAR WASH LLC         ATTN: JOSLYN M STANFIELD
                                                                                                                                    3692 OLD RUCKERVILLE RD
                                                                                                                                    WINCHESTER, KY 40391
2.228 PURCHASE AND SALES AGREEMENT                                                                 SWSM ENTERPRISES LLC             ATTN: SHAWN MCGILLEN
                                                                                                                                    7745 E WAYLON DR
                                                                                                                                    WINSLOW, IN 47598
2.229 ORIGINAL SERVICE AGREEMENT                                                                   TALENTCARE LLC                   ATTN: GENERAL COUNSEL
                                                                                                                                    1108 LAVACA ST
                                                                                                                                    STE 110-111
                                                                                                                                    AUSTIN, TX 78701
2.230 UNIVERSAL SERVICE AGREEMENT                                                                  TALX CORPORATION, A PROVIDER 4076 PAYSPHERE CIRCLE
                                                                                                   OF EMPLOYERS EDGE SERVICES CHICAGO, IL 60674-4076
2.231 DIGITAL MARKETING SERVICES AGREEMENT                                                         TAMBOURINE                       ATTN: GENERAL COUNSEL
                                                                                                                                    100 W CYPRESS CREEK RD
                                                                                                                                    STE 550
                                                                                                                                    FORT LAUDERDALE, FL 33309
2.232 SUBSCRIPTION ORDER FORM, AS AMENDED                                                          TANGO ANALYTICS LLC              ATTN: GENERAL COUNSEL
                                                                                                                                    9797 ROMBAUER RD
                                                                                                                                    STE 450
                                                                                                                                    DALLAS, TX 75019
2.233 PURCHASE AND SALE AGREEMENT, AS                                                              TG MILLER & COMPANY LLC          ATTN: TOM MILLER
     AMENDED                                                                                                                        1834 LEXINGTON AVE
                                                                                                                                    ALLEN, TX 75013
2.234 LOCATION LEASE AGREEMENT                                                                     THE LAMAR COMPANIES              ATTN: GENERAL COUNSEL
                                                                                                                                    PO BOX 1900
                                                                                                                                    DUNCAN, SC 29334
2.235 RECIPROCAL NONDISCLOSURE AND CIVIL                                                           THE ZELLMAN GROUP LLC            ATTN: GENERAL COUNSEL
     RECOVERY SERVICES AGREEMENTS                                                                                                   2200 NORTHERN BLVD
                                                                                                                                    STE 103

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Zips Car Wash, LLC                 Case 25-80069-mvl11      Doc 127 Filed 02/25/25 Entered 02/25/25 21:35:08                 Desc          Case Number: 25-80069-11 (MVL)
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Schedule G: Executory Contracts and Unexpired Leases
   Part 1:


 Nature of the Debtor's Interest                  Expiration Date   Contract ID          Co-Debtor                Name                            Address



                                                                                                                                      GREENVALE, NY 11548
2.236 PURCHASE AND SALE AGREEMENT IN                                                                 TURBO JET INC                    ATTN: GENERAL COUNSEL
     DECEMBER 8TH 2021, AS AMENDED                                                                                                    1519 EXECUTIVE AVE
                                                                                                                                      MYRTLE BEACH, SC 29577
2.237 MASTER LAND AND BUILDING LEASE                                                                 UK KIDS CAR WASH, LLC            C/O MR. JAMES M. COFFEY III 466
     AGREEMENT DATED OCTOBER 4, 2023, AS                                                                                              RIVER STREET NORWELL, MA 02061
     AMENDED
2.238 MASTER AGREEMENT FOR SECURITY SERVICES                                                         VALENTINE MANUFACTURING LLC ATTN: GENERAL COUNSEL
                                                                                                                                 1813 W GLORIA SWITCH RD
                                                                                                                                      CARENCRO, LA 70520
2.239 LEASE AGREEMENT DATED AUGUST 21, 2018, AS                                                      VELVET MALVA, LLC                12445 NICHOLAS LANE ST. LOUIS,
     AMENDED                                                                                                                          MO 63131
2.240 COMPENSATION AGREEMENT                                                                         VINCE CINO                       8400 BELLEVIEW DR.,
                                                                                                                                      SUITE 210
                                                                                                                                      PLANO, TX 75024
2.241 LEASE AGREEMENT DATED MARCH 8, 2018, AS                                                        WALNUT SUNSET HOLDING            WALNUT SUNSET HOLDING
     AMENDED                                                                                         COMPANY, LLC; AND JAMES          COMPANY, LLC P.O. BOX 7842
                                                                                                     VINCENT HARKINS REVOCABLE        LITTLE ROCK, AR 72217
                                                                                                     TRUST DATED AS OF JUNE 1, 2007
2.242 PURCHASE AND SALES AGREEMENT                                                                   WASH & GO AVON PARK LLC          ATTN: GENERAL COUNSEL
                                                                                                                                      CLEAN GUYS LLC
                                                                                                                                      790 MILLSHORE DR
                                                                                                                                      CHULUOTA, FL 32766
2.243 PURCHASE AND SALES AGREEMENT                                                                   WASH & GO LAKE NONA LLC          ATTN: GENERAL COUNSEL
                                                                                                                                      CLEAN GUYS LLC
                                                                                                                                      790 MILLSHORE DR
                                                                                                                                      CHULUOTA, FL 32766
2.244 PURCHASE AND SALES AGREEMENT                                                                   WASH & GO LAKE WALES LLC         ATTN: GENERAL COUNSEL
                                                                                                                                      CLEAN GUYS LLC
                                                                                                                                      790 MILLSHORE DR

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                                                                                                                                    CHULUOTA, FL 32766
2.245 PURCHASE AND SALES AGREEMENT                                                                  WASH & GO OVIEDO LLC            ATTN: GENERAL COUNSEL
                                                                                                                                    CLEAN GUYS LLC
                                                                                                                                    790 MILLSHORE DR
                                                                                                                                    CHULUOTA, FL 32766
2.246 PURCHASE AND SALES AGREEMENT                                                                  WASH & GO WEST 192 LLC          ATTN: GENERAL COUNSEL
                                                                                                                                    CLEAN GUYS LLC
                                                                                                                                    790 MILLSHORE DR
                                                                                                                                    CHULUOTA, FL 32766
2.247 PURCHASE AND SALES AGREEMENT                                                                  WASH & GO WINTER GARDEN LLC ATTN: PRESTON L BOLT
                                                                                                                                    462 VALLEY STREAM DR
                                                                                                                                    GENEVA, FL 32732
2.248 COMMERCIAL LEASE                                                                              WASH WIZARD LLC                 ATTN: GENERAL COUNSEL
                                                                                                                                    2236 BRANCH CREEK DR
                                                                                                                                    MT PLEASANT, SC 29466
2.249 ASSIGNMENT OF LEASE AGREEMENT, AS                                                             WEB LUBRICATION INC             ATTN: BUTCH BARCLAY
     AMENDED                                                                                                                        11323 RODNEY PARHAM
                                                                                                                                    LITTLE ROCK, AR 72212
2.250 PURCHASE AND SALE AGREEMENT                                                                   WEBB CITY CAR WASH LLC          ATTN: CHRIS MICHAEL
                                                                                                                                    951 LOCUST HILL CIR
                                                                                                                                    BELTON, MO 64012
2.251 FUNDRAISING ORGANIZER AND PROFESSIONAL                                                        WELCOMEMAT SERVICES INC         ATTN: GENERAL COUNSEL
     SERVICES AGREEMENT                                                                                                             PO BOX 570807
                                                                                                                                    ATLANTA, GA 30357
2.252 MARKETING AGREEMENT AND STATEMENT OF                                                          WELCOMEMAT SOLUTIONS LLC        ATTN: GENERAL COUNSEL
     WORK ORIGINALLY DATED 5.15.23, AS AMENDED                                                                                      540 DEVALL DR
                                                                                                                                    STE 301
                                                                                                                                    AUBURN, AL 36832
2.253 SELF STORAGE RENTAL AGREEMENT                                                                 WESTPORT PROPERTIES INC /       ATTN: GENERAL COUNSEL
                                                                                                    WESTPORT BRAINERD SELF          16231 STATE HWY 371 N

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 Nature of the Debtor's Interest                 Expiration Date   Contract ID          Co-Debtor                Name                             Address



                                                                                                    STORAGE LLC D/B/A US STORAGE BRAINERD, MN 56401
                                                                                                    CENTERS
2.254 LEASE AGREEMENT DATED APRIL 12, 2018, AS                                                      WILLIAM GIFFEN AND CHRISTINE   ATTN: WILLIAM GIFFEN AND
     AMENDED                                                                                        LABRENZ AS JOINT TENANTS       CHRISTINE LABRENZ AS
                                                                                                    WITH RIGHTS OF SUVIVORSHIP     COMMUNITY PROPERTY 77
                                                                                                                                   MADRONE AVE, PESCADERO, CA,
                                                                                                                                   94060
2.255 LEASE DATED SEPTEMBER 15, 2017, AS                                                            WINDY HILL WATER PARK, INC.    C/O CARROLL ROGERS 306 OCEAN
     AMENDED                                                                                                                       VIEW DR. MYRTLE BEACH, SC 49272
2.256 PURCHASE AND SALE AGREEMENT                                                                   WORTHAN PROPERTIES LLC         ATTN: JIM WORTHAN
                                                                                                                                   905 S WHITE SANDS BLVD
                                                                                                                                   ALAMOGORDO, NM 88310
2.257 SUBSCRIPTION AGREEMENT                                                                        WOVEN BRANDS LLC               ATTN: GENERAL COUNSEL
                                                                                                                                   6304 GUILFORD AVE
                                                                                                                                   STE A
                                                                                                                                   INDIANAPOLIS, IN 46220
2.258 MASTER SUBSCRIPTION AGREEMENT                                                                 YEXT INC                       ATTN: GENERAL COUNSEL
                                                                                                                                   61 NINTH AVE
                                                                                                                                   NEW YORK, NY 10011
2.259 COMPENSATION AGREEMENT                                                                        ZACH MUEHL                     8400 BELLEVIEW DR.,
                                                                                                                                   SUITE 210
                                                                                                                                   PLANO, TX 75024
2.260 COMPENSATION AGREEMENT                                                                        ZAK HEMPHILL                   8400 BELLEVIEW DR.,
                                                                                                                                   SUITE 210
                                                                                                                                   PLANO, TX 75024
2.261 EMPLOYMENT AGREEMENT                                                                          ZAK HEMPHILL                   8400 BELLEVIEW DR.,
                                                                                                                                   SUITE 210
                                                                                                                                   PLANO, TX 75024
2.262 SERVICE ORDER FORM                                                                            ZENDESK                        ATTN: GENERAL COUNSEL
                                                                                                                                   989 MARKET ST

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   Part 1:


 Nature of the Debtor's Interest                  Expiration Date   Contract ID          Co-Debtor                Name                            Address



                                                                                                                                      SAN FRANCISCO, CA 94103
2.263 LEASE AGREEMENT DATED DECEMBER 29, 2016,                                                       ZIPS CONWAY, LLC                 ATTN: DAN MICHAEL, ANTHONY
     AS AMENDED                                                                                                                       ZIRILLE, BRETT OVERMAN,
                                                                                                                                      GEORGE HUBER C/O EQUITY
                                                                                                                                      INVESTMENT GROUP, INC. 127 W.
                                                                                                                                      BERRY STREET, SUITE 300 FORT
                                                                                                                                      WAYNE, IN, 46802
2.264 LEASE AGREEMENT DATED JANUARY 9, 2018, AS                                                      ZIPS JETT 1, LLC                 ATTN: ANTHONY M. ZIRILLE, DAN
     AMENDED                                                                                                                          MICHAEL, GEORGE HUBER 127 W.
                                                                                                                                      BERRY STREET, SUITE 300 FORT
                                                                                                                                      WAYNE, IN 46802
2.265 LEASE AGREEMENT DATED JANUARY 9, 2018, AS                                                      ZIPS JETT 2, LLC                 ATTN: ANTHONY M. ZIRILLE, DAN
     AMENDED                                                                                                                          MICHAEL, GEORGE HUBER 127 W.
                                                                                                                                      BERRY STREET, SUITE 300 FORT
                                                                                                                                      WAYNE, IN 46802
2.266 LEASE AGREEMENT DATED MAY 2, 2019, AS                                                          ZIPS PATTERSON STREET, LLC       ATTN: ANTHONY M. ZIRILLE, DAN
     AMENDED                                                                                                                          MICHAEL, GEORGE HUBER 127 W.
                                                                                                                                      BERRY STREET, SUITE 300 FORT
                                                                                                                                      WAYNE, IN 46802
2.267 LEASE AGREEMENT DATED FEBRUARY 10, 2020,                                                       ZIPS ROSWELL I, LLC; AND ZIPS    ATTN: DAN MICHAEL, ANTHONY
     AS AMENDED                                                                                      ROSWELL II, LLC                  ZIRILLE, BRETT OVERMAN,
                                                                                                                                      GEORGE HUBER C/O EQUITY
                                                                                                                                      INVESTMENT GROUP, INC. 127 W.
                                                                                                                                      BERRY STREET, SUITE 300 FORT
                                                                                                                                      WAYNE, IN, 46802
2.268 COMMERCIAL LEASE                                                                               ZOOM CARWASH                     ATTN: GENERAL COUNSEL
                                                                                                                                      3434 E HAMMER LN
                                                                                                                                      STOCKTON, CA 95212
2.269 ACCESS EASEMENT, AS AMENDED                                                                    ZRE DIXIE OUTPARCEL LLC          ATTN: GENERAL COUNSEL
                                                                                                                                      127 WEST BERRY ST
                                                                                                                                      STE 300

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Zips Car Wash, LLC                  Case 25-80069-mvl11    Doc 127 Filed 02/25/25 Entered 02/25/25 21:35:08                Desc        Case Number: 25-80069-11 (MVL)
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Schedule G: Executory Contracts and Unexpired Leases
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  Nature of the Debtor's Interest                Expiration Date   Contract ID          Co-Debtor               Name                          Address



                                                                                                                                  FORT WAYNE, IN 46802
2.270 LAND AND BUILDING LEASE AGREEMENT DATED                                                       ZRE OWENFIELD DRIVE, LLC      ATTN: ANTHONY M. ZIRILLE, DAN
     JANUARY 23, 2023, AS AMENDED                                                                                                 MICHAEL, GEORGE HUBER 127 W.
                                                                                                                                  BERRY STREET, SUITE 300 FORT
                                                                                                                                  WAYNE, IN 46802
2.271 LEASE AGREEMENT DATED NOVEMBER 25, 2019,                                                      ZRE PENSACOLA, LLC            127 WEST BERRY STREET SUITE
     AS AMENDED                                                                                                                   300 FORT WAYNE, INDIANA 46802




Total number of contracts                                                                                                                                     271




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 Fill in this information to identify the case and this filing:

 Debtor Name:                                        Zips Car Wash, LLC

 United States Bankruptcy Court:        the Northern District of Texas Dallas Division

 Case Number (if known):                              25-80069-11 (MVL)




Form 206H

Schedule H: Codebtors
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

   Part 1:


1. Does the debtor have any codebtors?
             No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this
             form.
             Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
   schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
   owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
   separately in Column 2.

 Codebtor Name and Mailing Address                                Creditor Name                                                  D - E/F - G




Term Loan Facility

2.1 ZIPS 2900 WADE HAMPTON, LLC                                  BRIGHTWOOD LOAN SERVICES LLC AS
    8400 BELLEVIEW DRIVE,                                        ADMINISTRATIVE AGENT
    SUITE 210,
    PLANO, TX 75024
2.2 ZIPS 3107 N. PLEASANTBURG, LLC                               BRIGHTWOOD LOAN SERVICES LLC AS
    8400 BELLEVIEW DRIVE,                                        ADMINISTRATIVE AGENT
    SUITE 210,
    PLANO, TX 75024
2.3 ZIPS 6050 WADE HAMPTON, LLC                                  BRIGHTWOOD LOAN SERVICES LLC AS
    8400 BELLEVIEW DRIVE,                                        ADMINISTRATIVE AGENT
    SUITE 210,
    PLANO, TX 75024
2.4 ZIPS OPERATING HOLDINGS, LLC                                 BRIGHTWOOD LOAN SERVICES LLC AS
    8400 BELLEVIEW DRIVE,                                        ADMINISTRATIVE AGENT
    SUITE 210,
    PLANO, TX 75024
2.5 ZIPS PORTFOLIO I, LLC                                        BRIGHTWOOD LOAN SERVICES LLC AS
    8400 BELLEVIEW DRIVE,                                        ADMINISTRATIVE AGENT
    SUITE 210,
    PLANO, TX 75024
2.6 ZIPS PORTFOLIO II, LLC                                       BRIGHTWOOD LOAN SERVICES LLC AS
    8400 BELLEVIEW DRIVE,                                        ADMINISTRATIVE AGENT
    SUITE 210,
    PLANO, TX 75024
2.7 ZIPS PORTFOLIO III, LLC                                      BRIGHTWOOD LOAN SERVICES LLC AS
    8400 BELLEVIEW DRIVE,                                        ADMINISTRATIVE AGENT

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Schedule H: Codebtors
   Part 1:


  Codebtor Name and Mailing Address                                        Creditor Name      D - E/F - G



   SUITE 210,
   PLANO, TX 75024
2.8 ZIPS PORTFOLIO IV, LLC                           BRIGHTWOOD LOAN SERVICES LLC AS
   8400 BELLEVIEW DRIVE,                             ADMINISTRATIVE AGENT
   SUITE 210,
   PLANO, TX 75024


Total Number of Co-Debtor / Creditor Rows                                                              8




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Zips CarCase   25-80069-mvl11
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 Fill in this information to identify the case and this filing:

 Debtor Name:                                            Zips Car Wash, LLC

 United States Bankruptcy Court:          the Northern District of Texas Dallas Division

 Case Number (if known):                                 25-80069-11 (MVL)




Form 206Sum

Summary of Assets and Liabilities for Non-Individuals
   Part 1:      Summary of Assets


1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)



1a. Real Property:                                                                                $47,429,694.89
    Copy line 88 from Schedule A/B                                                                 + UNDETERMINED




1b. Total personal property:                                                                     $123,413,094.43
    Copy line 91A from Schedule A/B                                                                + UNDETERMINED




1c. Total of all property:                                                                       $170,842,789.32
    Copy line 92 from Schedule A/B                                                                 + UNDETERMINED



   Part 2:      Summary of Liabilities




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                 $653,912,724.08
   Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


3a. Total claim amounts of priority unsecured claims:
                                                                                                           $0.00
    Copy the total claims from Part 1 from line 6a of Schedule E/F




3b. Total amount of claims of nonpriority amount of unsecured claims:                              $6,145,892.44
    Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F                + UNDETERMINED




4. Total liabilities                                                                             $660,058,616.52
   Lines 2 + 3a + 3b                                                                               + UNDETERMINED




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        Case 25-80069-mvl11                 Doc 127 Filed 02/25/25 Entered 02/25/25 21:35:08                                  Desc
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 Fill in this information to identify the case and this filing:

 Debtor Name:                               Zips Car Wash, LLC

 United States Bankruptcy Court:      THE NORTHERN DISTRICT OF TEXAS DALLAS
                                                    DIVISION

 Case Number (if known):                          25-80069-11 (MVL)




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership,
must sign and submit this form for the schedules of assets and liabilities, any other document that requires a
declaration that is not included in the document, and any amendments of those documents. This form must
state the individual's position or relationship to the debtor, the identity of the document, and the date.
Bankruptcy Rules 1008 and 9011.

Warning -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining
money or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571


Declaration and Signature


     I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
     partnership; or another individual serving as a representative of the debtor in this case.

     I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
     correct:



         Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
         Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         Schedule H: Codebtors (Official Form (206H)
         Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         Amended Schedule
         Other document that requires a declaration




     I declare under penalty of perjury that the foregoing is true and correct.


     Executed on: 02/25/2025




     Signature:      /s/ Kevin Nystrom                                     Kevin Nystrom, Chief Transformation Officer
                                                                           Name and Title




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